     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 1 of 205



 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Wednes day, June 28 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:31 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
       Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 2 of 205



 1                                I N D E X

 2
                             DIRECT       CROSS    REDIRECT   RECROSS
 3
     Christopher   Sakala    53,103
 4
     Raphael St. Louis       96           100       102       103
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23                                                            Page

24 Reporter's Certificate                                     205

25 Concordance                                                206




                                                                    Page   2
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 3 of 205



 1            THE COURT:    Counsel , when we recessed yesterday             ,

 2 we had some preliminary matters we needed to sort

 3 through before the jury come       s in at     10:00, so   I'm --

 4 let's first take up the question of the             Government's

 5 Exhibit    B- 4456 , which is the additional transcribed

 6 call of    April 26, 2004 , between      Paulette    Martin and

 7 Kevin Scott, the son of        Gwen Levi.

 8            I heard some preliminary arguments about this

 9 yesterday.      I said    I would take it under advisement.               I

10 have since received a letter       , that I assume counsel

11 have , from Ms. Johnston dated         June 27 , to which      she

12 attaches    various authorities    , which she contends would

13 permit the admissibility of this exhibit.

14            Who wishes to speak on this for the defense            ?

15            MR. HALL:     Your Honor,   I do.    I received a copy

16 of counsel's letter yesterday evening           , and I had an

17 opportunity this morning to look at the cases that

18 counsel has cited       , and I would suggest     to the Court

19 that a distinguishing feature of the majority of these

20 in which a statement is allowed to place             another

21 statement    in context concerns incidents where it is the

22 defendant's statement and somebody who is not a

23 co -conspirator.

24            In this particular case     , the situation that           I

25 find myself in is that my client is not a participant




                                                                  Page       3
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 4 of 205



 1 to the phone calls involving the phone call that's in

 2 question.

 3         THE COURT:      But why is that -- the statements                   in

 4 these phone calls by      Paulette       Martin admissible as the

 5 statements of a conspirator during the course of and in

 6 furtherance of the conspiracy        ?

 7         MR. HALL:      W ell , Your Honor, obviously her

 8 statement is ad missible,      and what counsel has argued is

 9 the entire call should come in           .   A nd what   I'm

10 suggesting to the     Court is , is that while it may be

11 able to co me in in reference to one individual here at

12 the table, it shouldn't come in -- should not b                  e

13 ad missible    as to my client , because my client is not a

14 participant to the phone call        , and I don't have an

15 opportunity to cross     -examine --

16         THE COURT:      T his is a statement of a          co-

17 conspirator.

18         MR. HALL:      E xcuse me , Your Honor ?

19         THE COURT:     This is a statement of a            co-

20 conspirator.

21         MR. HALL:      O ne of the two parties is a            co-

22 conspirator .    The other party is not a           co-conspirator .

23         THE COURT:     But the testimony of the other --

24 the transcription of the conversation of the other

25 party to the call is not being offered for the truth of




                                                                        Page    4
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 5 of 205



 1 what was said , and it is necessary to have that side of

 2 the conversation to put in context what's being said by

 3 Paulette     Martin ; isn't it ?

 4            MR. HALL:    W ell , Your Honor , I disagree that

 5 it's necessar il y not being offered for the truth.

 6            THE COURT:   What would you propose that           I do ,

 7 delete all of the references to          Mr. Scott and just play

 8 a conversation where       Paulette    Martin talks to herself         ?

 9            MR. HALL:    W ell , Your Honor --

10            THE COURT:   Otherwise    , it would make what

11 Paulette     Martin says during this phone call

12 nonsensical ; wouldn't it ?

13            MR. HALL:    I disagree    that it   necessarily makes

14 it nonsensical.     The fact remains that         I don't have an

15 opportunity to cross      -examine this other individual         , and

16 therefore , I suggest that his comments should not come

17 in.   Now,    I don't know if      Mr. Montemarano    has a

18 different take since it's his client's conversation

19 that would come in even under my suggestion of

20 redacting it.     The only other suggestion          I could give

21 the Court would be to give a limiting instruction that

22 that conversation comes in only in reference to               -- or

23 the I'll call it the non        -conspirator statement only

24 comes in for a limited purpose.

25            THE COURT:   Why would not what you're saying




                                                                  Page        5
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 6 of 205



 1 apply to a lot of other phone calls that we've been

 2 listening to ?

 3           MR. HALL:     W ell , Your Honor , it --      I would have

 4 to go back and look.      In many of the conversations          ,

 5 obviously , do involve      co-conspirator s.

 6           THE COURT:     I mean , they're not all between

 7 conspirators.    Some of these calls are between people

 8 who have not been charged with anything            .

 9           MR. HALL:     T here very well may be.         I'd have to

10 go back and look and see whether there are, but this is

11 the one   I've objected to because it specifically makes

12 reference to my client.

13           THE COURT:    My question is this     :      Assuming that

14 I share your concern that the jury needs to understand

15 and sort out what consideration they're supposed to

16 give to the statements made by parties to these

17 conversations, would it not be more appropriate for me

18 to give an instruction at the end of the case that

19 says, let's talk about these recordings?

20           Now, I'm instructing you that        insofar     as the

21 statement of a person charged to be a member of the

22 conspiracy is concerned, you may consider that

23 testimony for all purposes because it is ad              missible   as

24 a statement of a       co-conspirator   made ...

25           On the other hand    , with re spect to other parties




                                                                  Page      6
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 7 of 205



 1 of these conversations who are not charged as

 2 conspirator s in this case , you may consider that not

 3 for the truth of what is said but only              for the fact

 4 that it was said, and to place in context what the

 5 conspirator said.

 6            Now , why would that not be as a general

 7 instruction across the board rather than focusing on

 8 this one conversation because it --          I'd have to go ba ck

 9 through these three volumes to pull them out             , but there

10 are other conversations that have the same issue as

11 this one , if I remember correctly       , in the sense that

12 there are conversations with people who are not charged

13 with any criminal conduct at all or participation in

14 any conspiracy who are parties to conversation             s that

15 would be indistinguishable under the legal              principles

16 that we're talking about from this one          .

17            MR. HALL:    Your Honor, first of all       , I believe

18 you're correct.        I'm sure there are other conversations

19 which do not involve a       co-conspirator,        and I certainly

20 would not have -- well,       I won't endorse the exact

21 wording of the proposed instruction that you gave,                 I

22 certainly would have no problem with an instruction

23 being given at the end      , which is limiting to that

24 effect .

25            And hopefully before we got to the end of the




                                                                 Page     7
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 8 of 205



 1 case , we could come up with an instruction that would

 2 be acceptable to everyone       , because   I do think that that

 3 should be pointed out to the jury if that call is going

 4 to come in.

 5         THE COURT:     All right.      Mr. Sussman .

 6         MR. SUSSMAN :     Your Honor,     I don't   think that the

 7 methodology that you've suggested is really work               able

 8 for two reasons.    First of all     , as I understand         it, you

 9 don't have to be a charged conspirator to have your

10 statement be admissible     .

11         THE COURT:     C orrect.

12         MR. SUSSMAN :     So there are people who        had

13 conversations who are not charged in a conspiracy that

14 may be cooperators or whatever       , but are probably

15 co-conspirator s under 801 , whatever the provision is.

16         The second thing is      , I think a lot of us have

17 just not cared particularly about certain

18 conversations , and for that reason have not objected                 ,

19 and those conversations come in substantively.                 I don't

20 think the jury can parse out who are the conspirators                     ,

21 who are n't the co-conspirator s.        I think the only

22 workable way is if there is an objectionable phone call

23 is to deal with that on an individual basis and take

24 out whatever is the appropriate thing to take out.

25         THE COURT:     Well , my inclination --        I want to




                                                                  Page           8
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 9 of 205



 1 hear from anybody who wants to be heard on this, but my

 2 inclination is to say that the objection is not well

 3 taken for the reasons given by what          I've already said

 4 and what's in     Ms. Johnston's letter.

 5         What I'm really asking is if any kind of

 6 ex planatory    instruction advising the jurors of the

 7 basis upon which the transcribed calls have been

 8 admitted is appropriate, would that not be appropriate

 9 at the end of the case rather than at the time of a

10 specific phone call       , because the jury might be in a fog

11 as to why do you tell us this about that phone call but

12 not the other     ones.

13         Mr. Montemarano .

14         MR. MONTEMARANO :       T hank you , Your Honor .     S ince

15 it's my client's voice       , allegedly , in this call,      I

16 think my concern is a little different than those of

17 Mr. Hall , who I completely join his observations but                 I

18 would like to speak to a couple of the observations the

19 Court has made.

20         Initially , Your Honor has pointed to the

21 question of why this call as opposed to others taken

22 into its logical , and of course rather silly extension                   ,

23 that would suggest that because we have not objected to

24 a question by     Ms. Johnston we     are therefore conceding

25 that for the next month a       nd a half , the government can




                                                                Page         9
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 10 of 205



 1 ask leading questions.

 2          We make objections to those          matters    which we

 3 find objectionable.     For     millions     of reasons , other

 4 calls have not been objected to either by myself or by

 5 my brother counsel.     So the fact that we are objecting

 6 to this one as opposed to any other -- there was one

 7 shortly after this one yesterday when it was first

 8 sought to be introduced allegedly with a             Michael

 9 Jackson , rather distin ctive name , that we didn't object

10 to , and there are reasons for it          I'm not going share

11 wit h the Court or the government.            I will tell the

12 Court there are compelling reasons that             I did not.

13 That's my call.    That's why      I'm --

14          THE COURT:     N o, I'm not    tarring    and feathering

15 anybody for failure to object.       Don't        worry about that .

16          MR. MONTEMARANO :      I'm saying what this is not a

17 what's -good -for -the -goose , w hat's -good -for -the -gander

18 sort of analysis.       I am talking about this call         , and if

19 it's the only one      I ever objected to      , my argument is no

20 less applicable , I believe .

21          Secondly , I think that the         Court at the very

22 leas t, as a threshold issue      , has to require of the

23 government   some basis for its admissibility because the

24 one provide d to this     Court is disingenuous          and extreme .

25          THE COURT:    Why is it disingenuous        ?




                                                                  Page 10
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 11 of 205



 1           MR. MONTEMARANO :        I'm going       to ex plain that ,

 2 Your Honor.    To suggest that they want to bring in                   Mr.

 3 Scott -- we will assume it's           Mr. Scott talking        -- Mr.

 4 Scott 's verbiage to provide a context to                Ms. Martin's

 5 statements , which come in under 801               (d)(2) E, arguably ,

 6 as being a part of the conspiracy and                 even if I concede

 7 that part --    but I don't think the government has made

 8 out why they believe they are           co-conspirator        statements

 9 in the course of the conspiracy          , number one , because

10 they 've not made any showing that             Mr. Scott is a

11 co-conspirator,     although uncharged         .

12           But even if       Ms. Martin's statements were

13 admissible in and of themselves to suggest                  Mr. Scott

14 should come in to provide context is                , well , gee , I

15 wouldn't want to speak in a broad brush terms                 , but

16 almost laughable .          I t is sort of like saying       , judge ,

17 we 'd like to provide a dictionary to the jury                , but we

18 don't want to suggest that the definitions contained

19 therein   should be admissible for the truth.

20           How else are these things being brought before

21 the Court except for the truth of the comments therein

22 to provide context      .

23           THE COURT:        W hat would you    have me do ?     H ave

24 this recording and transcript edited to take out

25 everything that     Kevin Scott said ?




                                                                    Page 11
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 12 of 205



 1          MR. MONTEMARANO :       A bsolutely.    It cannot be any

 2 other way , because we cannot cross          -examine   Mr. Scott

 3 unless the government is proffer           ing that Mr. Scott will

 4 be taking the stand.     That    's the simple fact .        O kay?

 5 The fact is , if they don't believe that            Mr. Scott 's

 6 statements are use     able in   any way, shape or form

 7 regarding their truthfulness or to show the truth of

 8 Ms. Martin's statements, then they don't come in.

 9 The simple fact is there is no question that's how

10 they're seek ing to use them .           A nd because they're

11 seek ing to use them that way          , they can't come in.

12 It 's the   horse or the lemon     .     Th ey don't get it in

13 either way.

14          THE COURT:    A nybody else before        I hear from the

15 government ?

16          MR. MITCHELL:      L ast comment , Your Honor.          I want

17 to state the obvious.      You're asking         Mr. Montemarano ,

18 Mr. Hall what should you do        ?     How should you handle

19 this ?   Y ou instruct the government if they want the

20 call in , bring in     Mr. Scott .      It's simple.

21          THE COURT:     All right.        Ms. Johnston ?

22          MS. JOHNSTON:      Your Honor,       I sat here , and now

23 I've been -- the government has been called

24 "disingenuous " and raising laughable issues.           No

25 counsel sitting on that side of the room has cited a




                                                                   Page 12
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 13 of 205



 1 single case to support their position that the                Court

 2 should redact this conversation in some way, shape or

 3 form.

 4          We have provided the case -- the           Court with any

 5 number of cases say     ing that      this call is admitted in

 6 its entirety to place in context the statements made by

 7 Ms. Martin.    It would be nonsensical to play that call

 8 without the other side of the conversation.          It is

 9 clearly admissible under        Fourth    Circuit   authority,

10 First Circuit    authority , and Third Circuit         authority

11 that we've cited to the       Court in its entirety.

12          It is clear that it is a statement of             Ms. Martin

13 in furtherance of the conspiracy.            She is concerned.

14 She needs to know what's going on.         Her source of

15 heroin has disappeared and she's concerned             -- she now

16 knows she's been arrested       .     S he is concerned , as we've

17 heard Detective     Sakala   testify     about her concerns

18 previously , for another individual involve           d in the

19 drugs,   Mr. Echarte , when he got arrested         , to find out

20 was the person cooperating          , what's going on with that

21 case .   I t's a very real concern of people operating a

22 drug conspiracy .     S o the call is relevant in that way.

23 You can't play her conversation without his            .     It

24 doesn't make any sense to do that          , nor should we be

25 require d to bring in     Mr. Scott .




                                                                     Page 13
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 14 of 205



 1            These are    wonder ful proposals and thoughts of

 2 defense attorneys       , none of which are support      ed b y any

 3 legal authority , so I would ask the court to dismiss

 4 them.

 5            THE COURT:    Let me ask you this      .   The Crawford

 6 ruling essentially deals with          testimonial     statements.

 7            What's the government     's position as to whether

 8 what      Scott says is a    testimonial s tatement ?

 9            MS. JOHNSTON:    It is not testimon        ial, and we

10 cited for the     Court the     Third Circuit,    which addresses,

11 I think, this exact issue          in reference to wiretap

12 calls .     I n addition to that    , the more recent case

13 that's just come out        in the last week or two from the

14 Supreme     Court I can't recall the case.        There was a        911

15 call --

16            THE COURT:    That's    Davis v.   Washington .

17            MS. JOHNSTON:     -- as not being      testimonial,      and

18 I th ink that    is very akin      to what we have here,

19 something that is going on          in realtime   that is recorded

20 that is not done in terms of an investigation.

21            THE COURT:    What is your position as to whether

22 this call differs in any material respect from that of

23 other calls that are between a          co-conspirator,      whether

24 charged or not , on the one hand and somebody who is not

25 a co-conspirator ?




                                                                 Page 14
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 15 of 205



 1           MS. JOHNSTON:     Your Honor , I believe that a jury

 2 could find     Mr. Scott to be a     co-conspirator .       I think

 3 Mr. Sussman     correctly state d the law that whether the

 4 conspirator is charged or uncharged is immaterial                , and

 5 that if the     Court gives an instruction      , that it should

 6 not be couch ed in terms of people who are charged               .   If

 7 the jury finds somebody is a         co-conspirator,      they can

 8 use that -- those statements against everyone.

 9           THE COURT:    Let's just as    sume that either this

10 call or another call involves somebody who is             , by

11 anybody's imagination     , not a co -conspirator?

12           MS. JOHNSTON:    There will be one of those         , Your

13 Honor .

14           THE COURT:    I call up a car       -- I want to rent a

15 car and I call Hertz Rent -a-C ar , and it's a

16 conversation     between me and    Hertz Rent -a-C ar.

17           MS. JOHNSTON:     Your Honor , there is a call where

18 Ms. Dobie call s the Montgomery         County Detention      Center

19 try ing to get information in relation to             Ms. Levi .     So

20 that -- clearly , you have somebody who is not a member

21 of the    conspiracy being contacted      .   S o, there are a

22 couple of calls like      that.

23           I think the   Court can fashion an instruction

24 that says that calls have been admitted.         They are

25 statements     of members of the conspiracy       .    I f you find




                                                                 Page 15
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 16 of 205



 1 someone to be a member of the conspiracy             , you may

 2 consider that call as evidence against all members of

 3 the conspiracy.     In     the e vent that you determine

 4 somebody is not a member of the conspiracy, you can

 5 consider those portions       , their statements and the

 6 calls , only to put in context the conversations of

 7 people who are members of the conspiracy.

 8            THE COURT:     Okay.     All right.

 9            MS. JOHNSTON:    S o I think that can be couched            ,

10 but I don't think now is an appropriate time to do

11 that .   I think that would be confus        ing to the jury , and

12 I believe that there is evidence from which they could

13 conclude    Mr. Scott is a co-conspirator.

14            In fact , yesterday we played a call on            Page 36 4

15 where Mr. Scott talk s to Ms. Martin             about the   old man

16 still being in the apartment         , and Ms. Scott     [sic] asks

17 him -- Ms. Martin asks him whether           or not    Ms. Levi had

18 some of the clothes or items in there             , and he responds

19 he doesn't know.     He's not for sure.

20            So it is clear that       Mr. Scott, at least based on

21 the testimony of        Detective   Sakala , knew that       Ms. Martin

22 was -- he gave an opinion that           Ms. Martin was referring

23 to the heroin and drugs being in the apartment                .   So

24 there is an argument or basis from which the jury could

25 conclude that     Mr. Scott is assisting and is a knowing




                                                                     Page 16
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 17 of 205



 1 participant in this conspiracy.          So there is a basis

 2 for them to find that in terms of            Mr. Scott .

 3            THE COURT:   All right    .

 4            MR. MONTEMARANO:     V ery briefly , Your Honor.            I

 5 simply must point the       Court to fact that once         counsel

 6 depicted the government's position in rather broad

 7 term s, the government changed its position.               Ms.

 8 Johnston made my argument.

 9            She 's now provided a basis by which she thinks

10 Ms. Martin's statements are admissible.         Whether or not

11 I like it , she's made a showing and the            Court can rule

12 upon that.      I don't speak for any co-counsel because               ,

13 of course , it's my client , but arguably that is a basis

14 for th ose statements,      submission under 801      (d)(2) E,

15 although    I'm sure my brother counsel would disagree.                    I

16 understand that.

17            They 've now also stated that without my client                 ,

18 without these statements of          Mr. Scott, it makes no

19 sense .    T hey 're saying , Judge , they want      Mr. Scott 's

20 statements to come in to show their truthfulness                 , and

21 therefore the truthfulness of            Ms. Martin's statements.

22 They're trying to bootstrap them in.

23            Those are two very different situations          .     My

24 client's arguably come in because under the

25 co-conspirator     exception.       Mr. Scott 's cannot , by




                                                                    Page 17
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 18 of 205



 1 bootstrapping , and they have now agreed with counsel

 2 that the reason they're s         eek ing to bring them in is to

 3 demonstrate truthfulness.

 4           Lastly , because       I try to maintain a fair measure

 5 of credibility     with this Court , I have not         brought the

 6 word "Crawford " up.        My understanding of       Crawford is

 7 that it     is a privilege regarding cross-examination of

 8 statements prepared in anticipation of litigation                  ,

 9 police reports, statements to police officers,

10 etcetera .     A nd if they are not prepared in that

11 fashion , and I think the         Davis case makes that clear            ,

12 that's in essence       , an excited utterance in a 911 call                 .

13           But using the 911 call as an example          , I would

14 argue that this        Court could parse out statements of

15 questions posed.         You don't need those.     There are

16 answers .     W e know what that thing is      , like an add ress.

17 And as to other statements by the 911             operator,

18 coaxing, prodding       , whatever , would be inadmissible

19 because they would be going to show that this answer

20 necessarily is     truthful      in response to this question.

21           THE COURT:      All right.   Anything further        .

22           MR. SUSSMAN :      J ust briefly .   I disagree with           Ms.

23 Johnston as to methodology.            I think the question            as to

24 whether     Scott is    a co-conspirator    is a preliminary

25 question to the        Court .   I don't think it's     a jury




                                                                  Page 18
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 19 of 205



 1 question.

 2          THE COURT:    All right    .    Mr. Ward ?

 3          MR. WARD:     I adopt the arguments of my

 4 co-counsel ; however , I want to add this comment.          If

 5 the Court decides that it is appropriate to play this

 6 tape before the jury,       I respectfully suggest that it

 7 would be proper to instruct them          , either    -- I think

 8 preferably before the tape is played          , and certainly to

 9 do so then at the end of the case.

10          The reason    I say they ought to be instructed now

11 is because if this was a tape -- a case where there was

12 one tape being played or two tapes being played or even

13 three, here we have literally it seems like              hundreds .

14 Maybe it's just my viewpoint, but if the              Court waits

15 until the conclusion of this case          , which is weeks down

16 the road, the force of the         Court's instruction is going

17 to be totally lost in this mor          as of telephone calls.

18          So while    I do not concede the point,         I think if

19 the Court is going to allow the call in, it is

20 appropriate to give an instruction now before it comes

21 in , and I think --     I do also think an appropriate

22 instruction would be at the end of the case             , too.

23 Thank you , Your Honor .

24          THE COURT:     Ms. Johnston.

25          MS. JOHNSTON:      Your Honor , I would only suggest




                                                                Page 19
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 20 of 205



 1 to the     Court that the call be played now.             I don't

 2 think there's any reason to give a particular

 3 instruction, particularly in light of the fact that the

 4 Court and the jury could find that          Mr. Scott is a

 5 co-conspirator     based upon the previous call           , and the

 6 evidence     that 's already before them through           Detective

 7 Sakala     that established that he talked in code with                  Ms.

 8 Martin .

 9            They were concerned about what had happened at

10 Ms. Levi's house , he referred to as his mother              , that it

11 had been ransacked , that he could n't find anyone , that

12 they use d the code word of         "clothe s" to refer to the

13 drugs in the house, that they were traveling               , and that

14 now here he is calling -- speaking with her at least

15 one other time discussing with her what             Ms.

16 Levi's status is and how they're going to handle that

17 problem , that that would be sufficient evidence the

18 Court could make a preliminary finding as well as                   --

19 and the jury could find him to be a           co-conspirator .

20            Furthermore , I don't think any         of the cases that

21 we've cited require an instruction at the time that the

22 call was played , and that the         Court could address the

23 problem to the extent the law requires it in closing

24 instructions .

25            THE COURT:   All right    , Counsel .




                                                                  Page 20
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 21 of 205



 1            MR. MONTEMARANO :     Ms. Johnston has made a

 2 statement beyond what anything          I've been able to

 3 add ress, Your Honor.       I think    I need to address it.

 4 She's referred to       Detective   Sakala's testimony.

 5 Detective     Sakala has misidentified      Mr. Scott as Gwen

 6 Levi's son , which he's not.          Gwen Levi's son is       Craig

 7 Scott.

 8            MS. JOHNSTON:      Your Honor , she has more than one

 9 son .     I think the   Court know s that from the previous

10 trial .

11            THE COURT:    I don't know that to be the case,

12 Mr. Montemarano.

13            MR. MONTEMARANO:      I t's my understanding    , Your

14 Honor.

15            THE COURT:    I presided over the trial of her

16 son .

17            MR. MONTEMARANO:      W hen we've discussed this      , we

18 have seven reasonably competent attorneys here             .   N obody

19 has quarrelled with that interpretation when it's being

20 kicked around the table.

21            THE COURT:   Counsel , I am going to overrule the

22 objection.      I believe that the -- this call as with

23 many, many others is fully admissible on            Paulette

24 Martin because it's a statement by a           co-conspirator

25 during the course and in further         ance of the conspiracy        ,




                                                                  Page 21
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 22 of 205



 1 and it's    ad missible   as to her and as to all of her

 2 co-conspirator s.

 3            I further conclude that in the context of this

 4 call , and at least one previous call of           Mr. Scott, that

 5 he would at least arguably a         co-conspirator,     albeit

 6 uncharged .     B ut even if he were not , that his

 7 statements during this phone call are necessary to

 8 provide proper context to the statements made by

 9 Paulette    Martin.

10            It is clearly not     testimonial    in nature.    The

11 Supreme    Court decision in     Davis v . Washington     makes

12 this contrast.     The protections of       Crawford apply only

13 to testimonial     statements , and in the context of the

14 Crawford case what was excluded was evidence from an

15 interrogation which was directed solely at establishing

16 a past crime , whereas the call on that case           , the 9 /11

17 ca ll, was ordinarily designed primarily to describe

18 current circumstances requiring police            assistance,     and

19 the -- this is clearly not within the four corners of a

20 Crawford violation or       Davis v . Washington .

21            So I will admit it,     I will not give a special or

22 separate instruction at this time.             I will consider ,

23 however , giving instructions to the jury at the end of

24 the case as to the proper consideration by the jury of

25 the recorded conversations.




                                                                Page 22
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 23 of 205



 1           Now, we have another issue raise           d b y Mr. McKnett

 2 on Call No. B4786.         Mr. McKnett,     I will    be glad to hear

 3 you on that.

 4           MR. MCKNETT:      Your Honor, if     I could -- 4786 is

 5 a conversation between my client and            Ms. Martin in

 6 which Ms. Martin,        I think   -- venting might be an

 7 appropriate word here        -- is venting about a person

 8 named Estelle,     whom Ms. Martin believes has talked to

 9 police investigators concerning a murder.

10           THE COURT:     Maybe you can help me.       Who is

11 Estelle ?

12           MR. MCKNETT:      I'm not --

13           THE COURT:      I don't recall there being an

14 Estelle   mentioned in testimony prior to this.                I mean,

15 I'm not -- it's not perfect up here           , but I don't recall

16 hearing an     Estelle    mentioned.

17           MR. MCKNETT:      Estelle --     if I understand this

18 conversation correctly,          Estelle   is Estelle    Brim m,

19 who --

20           THE COURT:     Okay.

21           MR. MCKNETT:      -- m ay have been either the wife

22 or ex-wife of the person who was murdered              , who is    Steve

23 Brimm, who if the        Court may recall , is the father or

24 stepfather of     Nathan    King , who was one       of the

25 witnesses.




                                                                   Page 23
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 24 of 205



 1          THE COURT:     Okay.   All right.

 2          MR. MCKNETT :    She --

 3          MR. MONTEMARANO :      S he's King's mother.

 4          MR. MCKNETT :     Nathan    King.

 5          THE COURT:      Estelle    is Nathan    King's mother?

 6          MS. JOHNSTON:      Your Honor , if I could interrupt

 7 just a moment.    Back during one of the first few days

 8 of trial , Nathan     King testified as a cooperator.             Mr.

 9 King testified that his mother was           , indeed , Estelle

10 Brimm , that his father was         Steven   Bri mm , that   Steven

11 Brimm had been supplying cocaine to             Ms. Martin here ,

12 that he took over for his father after he               had a stroke,

13 that his -- he was arrested in          October of 2 00 3, and his

14 father was murdered in       November of 2003 .

15          MR. MONTEMARANO :      T hank you , Ms. Johnston.

16          MR. MCKNETT :    Thank you,     Your Honor .        A nd thank

17 you, Ms. Johnston.

18          Your Honor, the -- while not named specifically

19 -- not identified by name in this conversation, my

20 reading of the conversation is that the murder being

21 talked about is the murder of          Steven    Brimm , who died

22 under unclear circumstances,          I think is the best way to

23 say that.   There was initially a concern           .

24          THE   COURT:    H e was murdered in his driveway           , if

25 I remember correctly.




                                                                   Page 24
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 25 of 205



 1          MR. MCKNETT :    Shot in his     drive way.      There was

 2 initial concern     that it   may have been drug       -related.

 3 There was also concern that it may have been the nature

 4 of a domestic problem that led to his death.         My

 5 concern here,     Your Honor, is that the conversation

 6 relates to the murder of a government witness              , who may

 7 have been according to the government          , allegedly

 8 involved in drug dealing with         Ms. Martin.

 9          The conversation connects        Ms. Martin and my

10 client and several other people named in the

11 conversation who are also        co-conspirator s as possibly

12 involved in that murder that         Estelle   thought that.       She

13 told the police that and the police were investigating

14 that possibility.

15          That, as   I understand it, turned out to be

16 untrue , but the conversation raises the inference that

17 maybe one   -- at least one or maybe more of these

18 defendants were involved in the murder of another

19 person who was connected with this conspiracy.

20 There is no other evidence of that.        There is no proof

21 of that.

22          There will be no testimony to that effect.          But

23 that is , I think , highly inflammatory        , and I think the

24 Court needs to analyze the situation           in light of     Rule

25 403 , and I think what the       Court needs to do pursuant to




                                                                 Page 25
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 26 of 205



 1 403 is first analyze        and determine the probative value          ,

 2 if any , of this conversation.      The only probative value

 3 I can see in connection with this conspiracy case is

 4 that association amongst some of the members of the

 5 alleged conspiracy.

 6          Now, that    I don't think is a problem for the

 7 government    to prove with other evidence.       There are 48         1

 8 or 82 other conversations that the jury will hear that

 9 will establish the relationship at least to the extent

10 that the people know each other or know of each other.

11 The possible inflammatory        and unfair prejudicial value

12 of this evidence,      I think, is extreme.

13          As I said , we're talking about a murder of

14 someone who allegedly        was connected with this alleged

15 conspiracy.     I think the     Court has to balance those two

16 and then look to see if the        Court can get this evidence

17 in through some other fashion        , and I think it's clear

18 the government can't through the other 48           1

19 conversations , through surveillances         , through the

20 arrests, through the evidence that was seized.

21          Some of the evidence is in the form of notebook,

22 ledgers , and such that have names        , addresses , phone

23 numbers, quantities     .   T here is no problem for the

24 government to establish relationship          , and that is the

25 only value of this conversation.           I think the probative




                                                                 Page 26
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 27 of 205



 1 value is vastly outweighed by the unfair prejudice                    and

 2 the inflammatory nature          of the    subject of this

 3 conversation , and therefore should be stricken in its

 4 entirety.

 5            MR. WARD:      I think also to be factored in the

 6 balancing process is we already have testimony from

 7 Nathan -- was it        King ?

 8            THE   COURT:     Nathan   King.

 9            MR. WARD:    We also have       TV testimony from him

10 about his father going over            to the es tranged wife's

11 house --    I assume she was estranged         , and finding a

12 boyfriend, she handing the boyfriend a gun, there

13 apparently being a threat to the deceased             .     S o I think

14 that works strongly in favor of the argument as to

15 prejudice.

16            THE COURT:     All right.       Ms. Johnston.

17            MS. JOHNSTON:     Thank you,      Your Honor.

18            First of all , in terms of Mr. Ward 's last

19 comments , it was on cross -examination that counsel

20 tr ied to bring out the fact         , or tried to establish that

21 Mr. Bri mm was killed by his wife's e           stranged     wife's

22 boyfriend or     male friend, and         in essence what     Mr. King

23 testified to was a previous incident that his father

24 had relayed to him.

25            This call is part of a series of calls in which




                                                                   Page 27
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 28 of 205



 1 Ms. Ali and Ms. Martin        and Mr. Nunn discuss getting

 2 fabricated time sheets for            Mr. Nunn to provide to the

 3 Los Angeles     Police Department.         In fact,    there's a

 4 reference -- we haven't played all of those calls              , but

 5 there's a reference in one of the calls with               Ms. Ali in

 6 terms of making the time -- making sure that it says

 7 11 /30 on it -- with      Mr. Nunn, I'm sorry , that it has to

 8 be for the weekend of 11        /30 , and so there are -- the

 9 calls go back     and forth between        Ms. Ali at her place of

10 employment     and Ms. Martin about setting up the fax

11 machine an d getting station ary and there will be some

12 documents introduced of that -- those time sheets                  and

13 that stationary.

14          THE    COURT:    T hese are to fabricate time sheets

15 to do what ?

16          MS. JOHNSTON:       To provide     Mr. Nunn, a heroin

17 customer of     Ms. Martin , with an alibi of for the time

18 period that is being investigated            by the    Los Angeles

19 County Police Department.

20          THE COURT:      These would be time sheets that

21 would what ?     I mean --

22          MS. JOHNSTON:       Either     PTK Associates or    Paula's

23 School of    Performing    Arts that will say         Mr. Nunn was

24 working there.

25          THE COURT:      Oh, okay.




                                                                 Page 28
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 29 of 205



 1            MS. JOHNSTON:    They were providing an al        ibi .

 2            THE COURT:     Remember , for 37 years , I filled out

 3 time sheets , so I'm not sure, you know          , when you talk

 4 about time sheets       , what kind of   time sheet you're

 5 talking about.

 6            MS. JOHNSTON:    Time sheets or pay stubs showing

 7 when you worked      and that those were done.       So, what

 8 this call in particular establishes is that              Ms. Martin

 9 and Ms. Ali -- or that        Ms. Ali is familiar w ith all of

10 the people involved -- many of the people involve               d in

11 the conspiracy , including       Larry Nun n, including       Mr.

12 Philpot,    who is now arrested      and in Wyoming, including

13 the references to        Granny's house, 804     Nicholson , where

14 we've heard testimony about drug transactions being --

15 drugs being     delivered    there by    Mr. King.

16            Importantly , on Page 409 , Ms. Martin tells            Ms.

17 Ali that I told them        I don't know nothing about the

18 man , referring to       Steve Brimm , no more than he bought

19 clothes from me for his son         and all , and that they

20 wanted to know what        did I know about his      wife, and then

21 that they had t he information about           Nicholson    Street.

22            It's very important because if she is in that

23 phrase saying that he bought clothes from her              , again

24 hiding her drug relationship with           Mr. Brimm,     and I

25 believe    Detective     Sakala will testify about that.      It




                                                                 Page 29
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 30 of 205



 1 is important in terms of maintaining their drug

 2 conspiracy to protect       Mr. Nunn through doing       the time

 3 sheets , and therefore , the fact that         Ms. Ali -- Ms.

 4 Martin is providing her with this information            , not

 5 wanting to tell her in front of her husband all goes to

 6 show Ms. Ali 's knowing involvement.

 7          In terms of the fact of the murder         , the Court

 8 can give an instruction       and I would suggest to the

 9 Court it would be appropriate --

10          THE COURT:     I was going to ask you would it not

11 be appropriate before this call is played to advise the

12 jury that no person on trial in this case has been

13 charged with, is under investigation for           , nor is there

14 any allegation of any murder       ?

15          MS. JOHNSTON:      Your Honor , I believe      Mr. Nunn is

16 a suspect in the murder in        California, so     I don't know

17 that that would be actually correct         , but I think the

18 Court could fashion an instruction that would say,

19 you're about to hear a call that reference           s the murder

20 of Steve Brimm in California.          I must instruct you that

21 no one in this case is on trial or has been charged in

22 relation -- no one in this courtroom has been charged

23 or is being prosecuted in relation to that offense               , and

24 you are not to consider that murder as any evidence

25 against these individuals as being introduced to show




                                                                Page 30
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 31 of 205



 1 the relationship of the parties          .    And I think that

 2 would remedy the concern that         Mr. McKnett      has because

 3 they've   already heard about the murder so they're

 4 already aware of it.

 5           THE COURT:      Mr. McKnett,       why would that not

 6 remedy the problem you're raising            ?

 7           MR. MCKNETT:      Your Honor, could       I -- I will

 8 address the     Court's question , but I'd like to           ask Ms.

 9 Johnston a question      , if I could.        She made a reference

10 to 11/30.   Would you tell me where that is in this

11 transcript?

12           MS. JOHNSTON:     It was a call with         Mr. Nunn, not

13 in that   particular     call.   There is a another reference           ,

14 and I thought     I corrected it .       O n Page 414 , it's a call

15 -- I thought it was       with Ms. Martin but it's with           Mr.

16 Nunn .

17           MR. MCKNETT:     That is a conversation that            I have

18 not objected to , Your Honor.

19           MS. JOHNSTON:     Right.

20           MR. MCKNETT:     That information is not in the

21 conversation that      I'm objecting to the transcript            I'm

22 objecting to.

23           MS. JOHNSTON:      I apologize .       I thought   I made

24 that clear , Mr. McKnett .

25           MR. MCKNETT :     Your Honor , I apologize , I've




                                                                  Page 31
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 32 of 205



 1 forgot ten the   Court's question.

 2          THE COURT:      My question    wa s why is not a

 3 cautionary instruction sufficient to cure any question

 4 with respect to unfair prejudice        , to advise the jury

 5 before this call is played        , that they will hear in this

 6 conversation some indication about an investigation of

 7 a murder .   And I advise them that no defendant on trial

 8 in this case is being charged with or           -- with   a murder ,

 9 and they should not consider any suggestion of a murder

10 in any adverse way to any defendant.

11          MR. MCKNETT :    Well , Your Honor , because        --

12          THE COURT:    Would that not clear up any question

13 of prejudice?

14          MR. MCKNETT :     Your Honor , I think the quick

15 answer to that is it's like saying ignore t            he elephant

16 in the corner of the room.        The jury will hear this

17 rather heated conversation        , at least on the part of       Ms.

18 Martin's part about this murder         and how she's a suspect

19 in it , about how     Estelle   thinks that she did it or

20 she's responsible for it        , and how the   police are

21 investigating her for this murder, that the police

22 think that she may have a part in it          , and then saying

23 just ignore that.     Just ignore that an       d nobody's

24 charged with it .

25          Well , people know that sometimes people




                                                                Page 32
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 33 of 205



 1 literal ly get away with murder.       We see it on

 2 tel evision   all the time.    It doesn't mean the jury

 3 won't -- there won't be a carryover            effect in the minds

 4 of the jury at some level from hearing about -- hearing

 5 this conversation      and about this murder.

 6          I would point out that everything that            Ms.

 7 Johnston has referred to as the need to get this in

 8 such , such as the fact that        Ms. Martin referred to the

 9 add ress on Nicholson, the        fact that she talked about

10 clothes , which    Ms. Johnston says is a code word for

11 drugs, that's all come in before           and will come in again

12 in other conversations.      There is no need for this

13 transcription.

14          There is --    I also would like to point out that

15 Ms. Martin does just about all the talking in this

16 conversation.     All my client does is        , in a fair reading

17 of her comment , indicate        that she's not aware of this.

18 She's asking questions.          At t he bottom of Page 408      , Ms.

19 Martin is complaining that         Ms. Brimm , E stelle , gave

20 Homicide in     California her name    .     Ms. Ali 's response to

21 that is, what?

22          Ms. Martin goes on ab      out lots of     things.      I can

23 read down.      Ms. Ali says, hello .        She says , what ?

24 What?   Mm-hmm , mm-hmm, what?       What?      Mm-hmm , mm-hmm.

25 What are they doing      here?     Ms. Ali doesn't know what's




                                                                 Page 33
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 34 of 205



 1 going on with this.      This is a particularly

 2 inflammatory conversation.

 3          The content     -- at least the evidentiary content

 4 the government refers to has been add          uced from previous

 5 conversations,     from previous witnesses        , and will be

 6 adduced again from different witnesses             and different

 7 conversations.     There is simply no need for this

 8 conversation.

 9          While , at a minimum , an instruction would be

10 necessary    and I think appropriate       -- appropriate          and

11 absolutely necessary, that puts the cart before the

12 horse.

13          If there's no conversation, there is no need for

14 instruction.     The jury doesn't need to hear this to

15 reach the conclusion       the government wants it to             and I

16 think it should be stricken       .

17             THE COURT:   A ll right.    Tell me again        .    Estelle

18 Brimm is what relation to what person?

19          MR. MCKNETT :     Estelle    Brimm is the mother of

20 Nathan   King --

21          THE COURT:      The mother of    Nathan    King .       Okay.

22          MR. MCKNETT :     -- who testified about this murder

23 and I think , if I may be just complete.             I may be

24 wrong , but I expect that when         Sergeant    Sakala talks

25 about this case, he will specifically refer to                   Nathan




                                                                     Page 34
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 35 of 205



 1 Brimm by name .

 2            THE    COURT:    Nathan   King?

 3            MR. MCKNETT :       I'm sorry.     Steve n Brimm by name

 4 as the murder victim being referred to             , and there will

 5 be a reference to tie that up with the previous

 6 witness,    Nathan    King .     And tie up the fact that      Estelle

 7 is Nathan    King 's mother , which just adds to the

 8 inflammatory nature of this conversation             .

 9            MR. MONTEMARANO :       I join    Mr. McKnett 's comments .

10 I would further direct the           Court's attention to      Rule

11 403.   I think the prejudicial value           , especially in

12 terms of    my client's participation         , far exceeds the

13 probative value.

14            When it is remembered      , the government will

15 adduce 400 phone calls           and 500 -some pages of material.

16 I mean , I've lost count, quite honestly.           One more call

17 of this nature is necessary to their case?               I think

18 not.   Beyond that, when the defense tried to provide

19 some sort of alternate          , quite honestly , nefarious

20 suggestion regarding           Mr. Brimm 's death relating to

21 personal issues , trying to in essence discredit him                  and

22 by implication his son          , the "C ocaine   Cowboy,"   Mr . King ,

23 the government was up in arms how this wasn't this kind

24 of murder.       In fact   , actually , it's a drug -- the

25 government , in essence,          has laid the groundwork for our




                                                                  Page 35
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 36 of 205



 1 objection to this by objecting         .

 2          THE COURT:      D idn't the defense lay the

 3 ground work by raising the whole question about how he

 4 died ?

 5          MR. MONTEMARANO :       T he Court would not permit us

 6 to go there.      I think it     is only fair in that the

 7 defense is not permitted to add            uce this through   Mr.

 8 Brimm , his testimony --

 9          THE COURT:       Well, yo u did adduce testimony that

10 there was some kind of domestic squabble             .

11          MR. MONTEMARANO :       M erely a domestic squabble.

12 Not -- the     Court precluded us from going where we --

13 upon consideration       , discussion among defense counsel

14 had sought to go.         I respectfully submit this is

15 equally fair     and would be appropriate to exclude this

16 testimony -- this call       .

17          THE    COURT:     A nything further , Ms. Johnston ?

18          MS. JOHNSTON:      No , Your Honor .

19          MR. MONTEMARANO :        I have nothing further      .

20          If I could speak        to Mr. McKnett .

21          MS. JOHNSTON:       Your Honor , just one matter while

22 he's speaking to      Mr. McKnett .        H opefully he can listen

23 and speak because it is getting late.               Ms. Martin    is

24 not implicated in this call as a suspect.           It is rather

25 the notion that the police are here            , they're talking to




                                                                 Page 36
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 37 of 205



 1 all of our    co-conspirator s, and she's concerned about

 2 that because she's upset that now there are police

 3 contacting them       and what effect is that going to have

 4 in terms of their drug conspiracy business                and that is

 5 the way    the government intends to use it            , not t o say

 6 Ms. Martin was involved in a murder.         More her concern

 7 and outrage that the police are looking at them all.

 8           THE COURT:      Mr. Sussman .

 9           MR. SUSSMAN :     T he question    I would ask is , the

10 words are one thing on        the transcript .         I'm concerned

11 about what    Agent Sakala's       proffer is going to be in

12 terms of his testimony       , how he explains this call.              I

13 think that    --

14           THE COURT:    Well, we're going to cross that

15 bridge    when we get     to it.    I've got a jury waiting         and

16 that's    not the issue     before me .     T he issue before me

17 is , can this recording be played at all           .

18           MR. SUSSMAN :     I f the Court rules it can        ,

19 obviously    it can.

20           THE COURT:      I will   deal with the       issue of how

21 Detective    Sakala explains it when         we get to that

22 bridge.

23           MR. WARD:     I am going to ask he be instructed

24 not t o blurt out his answer before we get to               that.      I

25 don't want him jumping across the bridge                while we're




                                                                     Page 37
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 38 of 205



 1 standing on one side.

 2           THE COURT:      Ms. Johnston , before you get ready

 3 to cross that bridge      , let me know      so I can have a bench

 4 conference .     W e will deal with that issue also          .    The

 5 last word , Mr. McKnett .

 6           MR. MCKNETT :    Let me point out       that the       Court

 7 has indicated     that a lot of the information about the

 8 Steven    Brimm murder was brought out on          cross-

 9 examination.      I just wanted to remind the            Court that

10 none of those questions were asked by me.                 I did not

11 bring out any of that information.

12           THE COURT:      I understand.

13           MR. MCKNETT :     If the Court should rule against

14 my motion    and allow this transcript in         , I would make a

15 Motion for     Severance on behalf of        Ms. Ali .

16           THE COURT:    All right   .     W ell , that motion is

17 denied.

18           All right.    With regard to the objection to

19 recording    number    B4786,   I am going to overrule the

20 objection.      I conclude that the probative value is

21 substantially outweighed by the danger of unfair

22 prejudice.      Ms. Johnston has articulated very

23 significant reasons why this recording is appropriate.

24 There may very well be other recordings that support

25 the same thing , but that does not mean that it's not




                                                                    Page 38
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 39 of 205



 1 admissible.      I don't think there's a question of it

 2 being unduly cumulative.

 3          I believe that the question of prejudice that

 4 would arise out      of this can be cured by an instruction

 5 that I can give to the jury        and what I intend to tell

 6 the jury is that they are going to hear in this

 7 conversation reference to an investigation of a murder                 ,

 8 and I want -- they may recall that they heard testimony

 9 that Steve Brimm , the stepfather         of Nathan    King, had

10 been murdered.

11          I want to advise them that no defendant on trial

12 in this case is being charged with any murder             and they

13 should not consider the murder of           Steve Brimm in any

14 way, shape or manner in their consideration of this

15 evidence.

16          MR. WARD:    With all due respect       , Your Honor , I

17 would ask that the instruction be expanded to say they

18 are not charged      and not expected to be charged       .

19          THE    COURT:    I don't know if     I can go that far.

20 I know there's been no charges.

21          MR. WARD:    The government has said there is no

22 suspect .

23          THE COURT:      Well, t his is not the same

24 government     that's investigating the murder,         so I'm not

25 sure that    Ms. Johnston can vouch for the         California law




                                                                 Page 39
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 40 of 205



 1 enforcement authorities that there is no investigation.

 2 Most murders are under investigation until they're

 3 charged .

 4          MR. WARD:    T he problem is , Your Honor , with all

 5 due respect,    we're not trying this case in             California .

 6 We're trying it here     .     And in this court        and in this

 7 case , my client is not suspected          , and I don't think any

 8 client is suspected      and I think the government has

 9 already made that position clear.             I would respectfully

10 suggest , and I take exception to that           , the Court does

11 not add the word      "suspected. "

12          THE COURT:      Ms. Johnston.

13          MS. JOHNSTON:        Your Honor,    I really , as I

14 indicated to the      Court , I think very clearly          Mr. Nunn

15 is a suspect in that murder case           , and I think if     Ms.

16 Martin provided a false alibi for him            , she would also

17 be a suspect , at least as an accessory after the fact

18 in that case.    So    I don't know that it's proper to           --

19          THE COURT:      I'm not going to go as far as saying

20 that nobody's being suspected.             I will certainly say

21 that nobody is charged         and that they may not        and should

22 not give any consideration to any possible murder

23 charges as to any defendant in this case            .

24          MR. SUSSMAN :       Could   I request   that the Court say

25 "not alleged to be involved          ?"   And being on that




                                                                  Page 40
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 41 of 205



 1 formalistic line, it sounds like the lawyer on the

 2 courthouse steps      saying , my client hasn't been indicted

 3 or formally charged      , which   always comes up a little bit

 4 short.

 5          MS. JOHNSTON:     Again , there's a problem with no

 6 one is allegedly -- alleged to have been involve             d in

 7 that homicide because as        I've told this     Court, there is

 8 one co-conspirator       who is a suspect     and if Ms. Martin

 9 provided a false alibi      , she would be an accessory after

10 the fact.

11          THE COURT:      I can simply say that no one has

12 been charg ed in this or any other court who is on trial

13 with this case for any murder in this case.

14          MR. MCKNETT :     Your Honor , the government wants

15 it both ways now.     They want to bring in the

16 information about the murder but they don't want the

17 Court to instruct that these defendants           , and

18 particularly my client      , is not now     and never has been a

19 suspect in that murder.      Again     , I renew my motion for a

20 mistrial .

21          THE    COURT:    A ll right .   Y our motion is denied        .

22 All right.      I will give a cautionary instruction          and I

23 will advise the jury that no          defendant   on trial in this

24 case has been charged in this or any other court with

25 the murder of     Steve Brimm .      They are not to consider




                                                                Page 41
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 42 of 205



 1 that in any way adversely to any defendant on trial in

 2 this case, period.      That's what        I will tell them.       Any

 3 other preliminary matters?         I think we're done.

 4          MS. JOHNSTON:      Your Honor , just so the        Court

 5 knows , we were at the point of playing that call when

 6 we recessed .

 7          THE COURT:      Which one?       This one   ?

 8          MS. JOHNSTON:     This one.

 9          THE COURT:      So I can give that instruction

10 before you start.

11          MS. JOHNSTON:     Yes .      I wanted to make the         Court

12 aware -- also , Your Honor , I expect we will finish

13 Detective    Sakala's   testimony sometime either         --

14 hopefully by the end of the day or sometime this

15 afternoon , which would mean it would be time for              cross-

16 examination.

17          We do not have for defense attorneys copies of

18 all of the calls to be played         .    T hey have their own set

19 of calls .     I f there are other calls they want to play               ,

20 we would like to know what calls they are because we

21 may have hearsay objections to those calls if they

22 choose to play them     ; and two , we have not been provided

23 with them a final transcript of any of those calls.

24          In discovery , they were given draft            tran scripts

25 of calls , but no transcripts have been finalized              .




                                                                  Page 42
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 43 of 205



 1 We're going     to object to use of transcripts that have

 2 not been finalized       , so if they have transcripts that

 3 they have made final, that's fine --

 4          THE    COURT:     L et me ask   Mr. Montemarano .        Is

 5 there any intention        --

 6          MR. WARD:    That's a bridge that ought to be

 7 crossed if we come to it.

 8          THE COURT:       I couldn't hear you       , Mr. Ward.

 9          MR. WARD:       I said , may I suggest , most

10 respectfully, that that         's a bridge that ought to be

11 crossed if     and when we come to it .

12          THE COURT:       W ell , my question is , does -- is

13 there any intention on the part of the defense to have

14 recordings played by        Detective    Sakala ?    I f so , why is

15 there any problem with identifying what those are so

16 that they can be appropriately prepared for playing                ?

17 And if there's transcripts         , th e transcripts    can be

18 pla ced in   suitable form for circulation to the jury             ?

19          MR. MARTIN:       Anthony   Martin on behalf of       Mr.

20 Goodwin .

21          I certainly know , off the top of my head           , there

22 are at least     two ; and I need to go back through my

23 notes to see if there are others.

24          The government had indicated        , I think late last

25 week , that they were not as far along in their




                                                                 Page 43
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 44 of 205



 1 anticipated presentation of the evidence through                   Mr.

 2 Sakala as they had hoped to be             and had predicted that

 3 they would probably         finish    sometime toward the end of

 4 this week .    For that reason , I had continue d to take

 5 notes , as opposed to add          ing to the predicates        I already

 6 have.

 7           The bottom line is this          , Your Honor .   I need to

 8 go through my notes     .     I need to identify those

 9 particular    pages.    I don't know that          I can give them

10 that this afternoon, but            I think    I can at lunchtime

11 because   I can do a search very quickly.

12           THE COURT:    All right      .

13           MR. MARTIN:       I can't speak for the others          , but

14 for myself , I know there are at least two.

15           THE COURT:    I don't       want to have any prejudice

16 to any defendant at all        .     I want    you to have all the

17 liberty you may     want to        exercise to have him play any

18 additional selected recordings you want              , but I want

19 this trial to move along at a reasonable pace               .

20           I am going to request that            de fen se attorneys who

21 have recordings that they want to have available to be

22 played , notify    Ms. Johnston by the en          d of today so that

23 those recordings can be segregated              , made available for

24 playing , and that any transcript             s can be updated ,

25 reviewed , and made available for the jury.




                                                                     Page 44
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 45 of 205



 1            MS. JOHNSTON:    Your Honor    , one of the problems

 2 with it is we don't --        I mean, we don't -- we have

 3 marked   and introduced into         evidence   those calls       and the

 4 portions of the calls that we believe are relevant.               We

 5 don't have --     I mean , we're going to -- if they give                 us

 6 a list , we'll be able to pull those recordings               .   B ut if

 7 the Court is suggest ing that          the government prepare

 8 transcripts of --

 9            THE COURT:     You have draft transcript      s; is that

10 correct?

11            MS. JOHNSTON:    We may    .

12            THE   COURT:    I f you have them , you have them.

13 If you don't have them       , you don't have them.      All        I'm

14 saying is that you need to tell the government --

15 you're not going        to be bound by it .      Y ou may not decide

16 to play all the recordings you've identified             , but at

17 least make the universe of recordings that you want to

18 have available for        Detective    Sakala to play    and

19 inter pret to Ms. Johnston by the end of the day.

20            MS. JOHNSTON:    One of my concerns      , Your Honor ,

21 is there may be calls they want to play that were not

22 transcribed or they may want to play portions of call                     s

23 that were not transcribed.

24            THE COURT:     I understand.

25            MS. JOHNSTON:    If they want to introduce them as




                                                                     Page 45
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 46 of 205



 1 evidence , they need to provide the transcripts.

 2            THE COURT:     We will cross that technological

 3 bridge when we get to it        , but if there is already a

 4 government draft transcript we can fix up, fine              .     B ut

 5 if there isn't , then counsel , you're going            to need     to

 6 put together your         own transcript , because these

 7 recordings without the transcript are going to be far

 8 less significant in the minds of the jury without it                 ,

 9 so I think we ought to be certain that we have

10 transcripts available if we can.

11            MR. WARD:      Your Honor , so th at I'm clear , we're

12 talking about tapes other than what have been played.

13 I want to ask them to replay a tape that's already been

14 played .

15            We're not concerned about that        , are we,   Ms.

16 Johnston?

17            MS. JOHNSTON:     That's   correct.    W e're not

18 concerned about something being replayed            .

19            THE   COURT:     I f you want to replay something

20 that's already been played that has a transcript                 , there

21 is no problem whatsoever.

22            MR. WARD:      I want ed to be clear .

23            THE   COURT:     A ll I'm talk ing about is if you

24 have a phone call that has been record           ed that has not

25 been played by the government          and you want to p lay for




                                                                    Page 46
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 47 of 205



 1 Detective    Sakala because you belie       ve that would    be of

 2 assistance to you     , that's fine .     J ust make sure we

 3 don't do this     and have huge technological gaps try           ing

 4 to find it     and so forth when     he's called.

 5          MS. JOHNSTON:        Your Honor , that would apply also

 6 to the   un -tran scripted    portions.   There were calls

 7 where we only played portions of them.        What was not

 8 played , we --

 9          THE    COURT:    T hat's correct .

10          MS. JOHNSTON:        -- is not part of.

11          THE COURT:      Make sure you notify the government

12 by the end of the day.

13          All right.

14          MR. MARTIN:      Your Honor , if we notify the

15 government by the end of the day          and they don't have

16 transcripts of complete calls but only have the

17 excerpts,    and the Court is requir ing us to have the

18 transcripts,     I don't see how we're going to be able to

19 --

20          THE    COURT:    I don't know if     I can require      you

21 to have a transcript      .   I'm telling you , if I were in

22 your shoes , I would want a transcript because            I would

23 not to want to have this call that           I think is of such

24 great significance not transcribed           when the jury is

25 back there deliberating.       It's up to you      .   I can't




                                                                Page 47
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 48 of 205



 1 force you to make a transcript , but it certainly would

 2 be helpful if you have one          .

 3            MR. MONTEMARANO :       T he transcripts     don't go back

 4 to the jury ; co rr ect ?

 5            THE COURT:       They can take the transcripts back         .

 6 Yes.

 7            MR. MONTEMARANO :       T hey're not     in evidence,    Your

 8 Honor.

 9            MS. JOHNSTON:        Your Honor , I believe -- we would

10 ask the     Court -- they have the books          , and some of them

11 have made note s in the book s.            If the Court gives them

12 an instruction that the transcripts are not evidence                   --

13            THE COURT:       I see no reason why they can't have

14 the transcripts of the calls during deliberations.

15 They have been advised of what those transcripts are

16 and that they are -- that the evidence is the recording

17 itself .    T hey can have the recordings played           , but I'm

18 not going to     get to      that issue now.        I've got to get

19 this jury in here       .    I told them    10 o'clock    and we're

20 way over time now       .

21            MR. MONTEMARANO :       Mr. McKnett      rose before    I did .

22 He has something he needs to            ad dress.

23            MR. MCKNETT :      Your Honor , I did want to remind

24 the Court that I have one more             Motion in    Limine

25 pending .     I t concerns B9686 .       I t comes up on Page      543.




                                                                     Page 48
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 49 of 205



 1 We're still some time away from that           .    I t's a challenge

 2 to a very brief portion to that.

 3            THE COURT:   That's in a different binder         ; isn't

 4 it ?

 5            MR. MCKNETT :    It's in a different bind       er .

 6            THE COURT:      I've got it flagged.

 7            MS. JOHNSTON:      Your Honor , the Court may be able

 8 --

 9            THE COURT:   What was the number          again -- page

10 number ?

11            MR. MCKNETT :    It's at Page 543       , Your Honor.      T he

12 conversation starts at Page 543.

13            MS. JOHNSTON:      Your Honor , the Court may be able

14 to take that up at      the lunch break.

15            THE COURT:   Right .    L et me do that then     , because

16 this jury has been out long enough.

17            What I'm going do , I'm going bring the jury in

18 now .   I'm going   to tell them     that we're going       to begin

19 with a recording , but I want        to give them a cautionary

20 note in regard to that         instruction   before they hear it        ,

21 and I will then tell them that no defendant in this

22 case has been charged in this or any other court with

23 this murder     and that they are not to consider this

24 murder as to any defendant in this case.

25            MS. JOHNSTON:     Just so the record is clear          .




                                                                 Page 49
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 50 of 205



 1 When I said that        Detective    Sakala would be done -- we

 2 anticipated he would be done by the end of this week                     .

 3 We meant    "done ," including all cross-examination               and

 4 redirect.    That was what our         schedule   was projecting.

 5            THE COURT:     When do you      anticipate his direct

 6 will be finished ?

 7            MS. JOHNSTON:      I think sometime this afternoon.

 8            THE COURT:    All right    .

 9            MR. MONTEMARANO :     Your Honor , may I be heard?

10            THE COURT:    Certainly    .

11            MR. MONTEMARANO :     W ith regard to the question of

12 --

13            THE COURT:    You can always be heard       .

14            MR. MONTEMARANO :     W ith regard to the question of

15 transcripts     and calls .

16            THE COURT:    Yes .

17            MR. MONTEMARANO :     The understanding that was

18 conveyed to us is that        Sergeant      Sakala would be

19 complete on direct tomorrow.              I fell asleep working on

20 his cross last night after           I left the office after

21 9:00 .   I was intending to complete it tonight             ,

22 including those transcripts of calls that              I intend to

23 use to insure that        I have transcripts that       I'm happy

24 with, and identification of all those calls             .       If the

25 Court is expecting it before the close of business




                                                                     Page 50
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 51 of 205



 1 today, it is not going to happen.

 2          THE COURT:    First of all, if you want to defer

 3 the cross-examination of         Detective    Sakala , we can hear

 4 some other witnesses         and then have him cross       -examined .

 5 If you're not ready     , I'm not going to        worry about that .

 6          MR. MONTEMARANO :       T hat's what     I would need , Your

 7 Honor , because we have two weeks of testimony that                I

 8 have to sort of assim        ilate .

 9          THE COURT:    H ave we got enough witness          es to fill

10 today with     Detective     Sakala    and anybody else?

11          MS. JOHNSTON:        Your Honor , no .     W e have one

12 surveillance     agent -- as we told defense counsel           , we

13 have one surveillance agent            and Detective   Sakala for

14 today.    That's it.

15          THE COURT:    If we keep talking         , we won't have

16 any time at all for them today.

17          MS. JOHNSTON:       We have two witness       es who have

18 scheduling problems next week who we need to get on

19 before close of business         Friday .    So , that's where

20 we're at.

21          THE COURT:        Mr. Montemarano , if you're not ready

22 to cross-examine      him today , other people can cross

23 examine to the extent they wish to.             I want to try to

24 get the day filled      --

25          MR. MONTEMARANO :        I understand , Your Honor.




                                                                  Page 51
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 52 of 205



 1           THE COURT:      -- and not waste the       jury's time.

 2 So , I am going    to be very lenient with you if you need

 3 additional time .       If y ou want to continue your        cross-

 4 examination the next day         , that's fine.

 5           MR. MONTEMARANO :       I don't w ish the Court to        see

 6 me as lackadaisical o r other wise , but I want to point

 7 out to the     Court that there are two weeks that           I have

 8 to sort of get my grip on.

 9           THE COURT:    All right    , bring the jury.

10           MR. SUSSMAN :    T he Court is aware that the first

11 order of business is going to be the              Sakala proffer .     I

12 thought   we were going to come to the bench on that.

13           THE COURT:    Got to play the call first.

14                   (Jury returns at 10     :31 a.m.)

15                   (Witness resumes the stand.)

16           THE COURT:    Good morning    , ladies and gentlemen

17 of the jury.      I'm sorry about the late start         .   I had to

18 deal with some     administrative      matter s with the

19 attorney s in the case .

20           You are about to hear       record ing B4786 , and I

21 want to give you a cautionary note concerning this

22 conversation.     You will hear in he      re a mention of

23 somebody being murdered      .     The person who they're

24 talking about is       Steve Brimm , who is the       father --

25 stepfather , that is , of Nathan        King, who you 've heard




                                                                 Page 52
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 53 of 205



 1 testimony from earlier in this trial.

 2            Estelle   -- the    "Estelle " referred   to in this

 3 conversation is the mother of          Nathan   King .    I want to

 4 advise you that no defendant in this case has been

 5 charged in this or any other court with the murder of

 6 Steve Brimm , and you are not the consider the

 7 unfortunate death of          Mr. Brimm in any way, shape or

 8 manner in any adverse way against any defendant in this

 9 case.

10            You may proceed.

11                      FURTHER DIRECT EXAMINATION

12            BY MS. JOHNSTON:

13   Q.       Detective   Sakala , I think when we left off

14 yesterday , we were playing a series of related calls;

15 is that correct?

16 A.         That's correct.

17 Q.         Those calls began with       Call A1363 between      Ms.

18 Ali and Ms. Martin on          April 28, at 9 :53 a.m .; is that

19 correct?

20 A.         Yes .

21 Q.         Then we call played a call between            Ms. Martin

22 and Mr. Nunn.

23            Do you recall that call also on        April 28?

24 A.         Yes.

25 Q.         If we could    -- and then we played a second call




                                                                  Page 53
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 54 of 205



 1 between   Ms. Martin    and Mr. Nunn , also on         April 28 , of

 2 2004; is that correct?

 3 A.        Yes.

 4 Q.        If we could go now to       B847 86 .

 5           At what time does call take place            , and on what

 6 day ?

 7 A.        That's o n April 28, 2004        at 9 :33 p.m.

 8 Q.        Who are the parti     es to this call ?

 9 A.        Paulette   Martin,    Ulysses    Ali, an d LaNora    Ali .

10 Q.        If we could   please play       B47 86, beginning on     Page

11 408.

12           (Audio recording begins playing at 10            :33 a.m. )

13           (Audio recording      stops playing     at 10 :3 7 a.m.)

14           BY MS. JOHNSTON:

15 Q.        Is there another call on         April 28th,     later that

16 evening , between    Ms . Martin and another individual?

17 A.        Yes.

18 Q.        When does that call take place?

19 A.        That's call B4804 .      At 11 :11 p.m. , on Page 413.

20 Q.        Who are the parties on that call         ?

21 A.        Paul ette Martin     and Larry Nun n.

22 Q.        If we could please play B8404 on Page 413.

23           (A udio recording begins playing at 10           :37 a.m. )

24           (Audio recording      stops playing     at 10 :38 a.m. )

25           BY MS. JOHNSTON:




                                                                  Page 54
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 55 of 205



 1 Q.       What happens to the call there at the end?

 2 A.       The machine    inadvertently separated the call            --

 3 the one call into two calls       .   So , this call is actually

 4 continue d into B4806.

 5 Q.       Did you actually miss part of the call?

 6 A.       I don't believe we missed conversation.         It just

 7 splits the call in two.

 8 Q.       If we could go to the next call,          B4806, on Page

 9 41 4.   W ho are the parties on this call?

10 A.       It's a continuation      .   I t's Paulette   Martin   and

11 Larry Nunn .

12 Q.       It occurred immediately after the preceding

13 call?

14          Did it occur immediately after the previous call

15 or as part of the      previous   call ?

16 A.       It's part of the previous call.       If you took

17 4804 and 4806 is actually one call.

18 Q.       If we could please play call         B4806 on Page 414.

19          (Audio recording begins playing at 10          :39 a.m. )

20          (Audio recording      stops playing     at 10 :39 a.m.)

21          BY MS. JOHNSTON:

22 Q.       Based upon those series of        call s, did you form

23 an opinion as to what was occurring between             Ms. Ali ,

24 Ms. Martin , and Mr. Nunn?

25          MR. SUSSMAN :    Objection , Your Honor.




                                                                Page 55
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 56 of 205



 1          THE COURT:    Approach the bench.

 2                   (At the bar of the Court.)

 3          THE COURT:      Ms. Johnston?

 4          MS. JOHNSTON:     Yes, sir.

 5          THE COURT:    What is your proffer as to what you

 6 anticipate this witness will say?

 7          MS. JOHNSTON:      I expect this witness to say that

 8 dur ing the first conversation         Ms. Martin   and Ms. Ali

 9 were discussing getting       --

10          THE COURT:    Getting what      ?

11          MS. JOHNSTON:     Getting letterhead       and faxing

12 that.   T he purpose of the series of calls was for              Ms.

13 Martin to provide a time        sheet -- time document for           Mr.

14 Nunn in relation to the murder of            Mr. Brimm that

15 occurred on or about      November 30 , and that's why the

16 reference was to that weekend          of 11 /30.   He's been

17 instructed not to reference anyone in            terms of Ms. Ali

18 or Ms. Martin being involved in that murder            , but I

19 expect his testimony will be along the lines that                I

20 just said.

21          THE COURT:    All right.

22          MR. SUSSMAN :    Well, this has the look         and smell

23 of two people concocting        an alibi     or a homicide .     I

24 don't think -- first of all        , it's been objected to       , and

25 it's been ruled to be admissible         .    What I would request




                                                                  Page 56
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 57 of 205



 1 is this   is not a proper subject for this witness'

 2 testimony .     H e's an expert on narcotics      .    We should

 3 just pass over     it and move      on to the   next se ries of

 4 calls , and then      he doesn't get to comment on it.      It

 5 speaks for itself.

 6           Anyone else join in on this?

 7           MR. McKNETT :    I will join in       Mr. Sussman 's

 8 motion.   Clearly , this is from        Detective     Sakala's    point

 9 of view , an attempt on the part of         Mr. Nunn , Ms. Martin

10 and Ms. Ali to concoct an alibi excuse for a murder.

11           MR. WARD:     It implicates them as access       ories

12 after the fact , at least.

13           MR. MCKNETT :    Exactly.

14           MR. MONTEMARANO :     Far beyond the extent to which

15 the Court admitted       Sergeant    Sakala's   testimony as an

16 expert concerning drug language          and the operation of

17 the drug organization.      This is so far afield.         ..

18           MR. MCKNETT :    This undermines the        Court's

19 instruction.     What the government instructed is --

20           THE COURT:    Let me hear     Ms. Johnston.

21           MR. MCKNETT :    They are now made suspects.

22           MS. JOHNSTON:     I don't believe that the

23 government     here has anything to do with whether             they

24 are a suspect.     It shows that       Ms. Martin is -- excuse

25 me , Mr. Ward .




                                                                   Page 57
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 58 of 205



 1           MR. WARD:     I didn't say a ward.

 2           MS. JOHNSTON:    No .   You smirked      and laughed      and

 3 shrugged your shoulders.

 4           MR. WARD:     No , I didn't   smirk.     I was getting an

 5 Excedrin headache.

 6           THE COURT:    Please finish.

 7           MS. JOHNSTON:    Yes , Your Honor.

 8           That Ms. Martin is attempting to protect           and

 9 offer assistance to her major heroin drug customer               , and

10 that's why it is relevant in this case in terms of                Ms.

11 Ali .    It shows her knowledge      and her relationship with

12 her co-conspirator , Ms. Martin , and it's important for

13 that basis.

14           MR. McKNETT :    This is alibi -- whether they are

15 charged or not     --

16           THE COURT:    Counsel, stop, stop,        stop , stop .

17           I'm going to sustain the objection.       Detective

18 Sakala is qualified       to and has giv en extensive

19 testimony interpreting coded language between people

20 involved in the drug trade        and giv ing explanatory

21 information concerning people involved in the drug

22 trade.

23           While it might be a close call         , this testimony

24 would be aided by him giving an opinion that what

25 they're trying to do is to protect a heroin customer                .




                                                                Page 58
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 59 of 205



 1            I think that in light of the nature of this

 2 conversation about a murder          , that to allow him to give

 3 testimony that they are helping their customer with

 4 time sheets to cover up a murder is going to do exactly

 5 the opposite of what my cautionary instruction did                   , and

 6 I think that would not be proper.

 7            MS. JOHNSTON:        Your Honor , I would like

 8 permission , one , to follow up with some questions

 9 concerning , I think , the initial call with              Ms. A li

10 where she was calling from her place of employment                   .

11            Also in the call that's the         subject    of the

12 dispute,    B4786 , Ms. Martin made statements about her

13 relationship with           Mr. Brimm and having to do with the

14 clothing business       .     So , I would like to follow up on

15 that.

16            THE COURT:        You can ask in reference to the

17 clothing business       .     Really , clothing ?     That's fine .

18            MR. MCKNETT :       Your Honor , I would like to renew

19 my Motion for     Severance based on the content of these

20 last few transcripts           and Ms. Johnston's proffer as to

21 what the detective would have said.                 I am now in a

22 position where     I have to deal with the government's

23 complication s that my client was involved with                Mr. Nunn

24 and what Ms. Martin were doing with regard to these

25 facts .




                                                                   Page 59
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 60 of 205



 1          It would be part of my defense that           Ms. Ali 's

 2 connection with        Ms. Martin   and the letterhead is

 3 completely      and factually separate from what        Mr. Nunn

 4 was do ing .    When    I do that , the government , I expect ,

 5 will argue that        I have open ed the door to bring in the

 6 government's theory that these are          , in fact , connected ,

 7 and the only way they can be connected would be in

 8 further ance of an at tempt to provide an          alibi for Mr.

 9 Nunn .

10          I am now in a position where         I have been

11 significantly impaired in my ability to defend my

12 client   and I would ask for a severance based on that

13 fact.

14          MS. JOHNSTON:       Your Honor,    I think it is

15 relevant in terms of        Ms. Ali , because it goes to show

16 Ms. Ali 's knowledge of the fact that          Ms. Martin does

17 not have a legitimate business          , that she's not

18 operating a legitimate business in terms of the opening

19 statement made by        Mr. Martin    -- by Mr. Montemarano      on

20 Ms. Martin , that he was a legitimate business person.

21          Here we have      Ms. Ali .    It shows her knowledge

22 that Ms. Martin was not involved in a business              and

23 she's assisting her in that regard          , which goes to her

24 knowledge      and her understanding      and what her dealings

25 with Ms. Martin were.




                                                                Page 60
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 61 of 205



 1            THE COURT:   All right.

 2            MS. JOHNSTON:      I intend to argue that she

 3 assisted.

 4            THE COURT:      I will deny the    Motion for

 5 Severance.

 6            Ms. Johnston , will you please advise         Detective

 7 Sakala of my ruling so         he doesn't wander into it.

 8            MS. JOHNSTON:      I will.

 9            MR. McKNETT :     May I follow up ?

10            MR. MONTEMARANO :     May    I follow up?

11            THE COURT:   Y ou're going to have to speak up.

12            MR. MCKNETT :     I will make an argument     , both by

13 referring to the government's own evidence             , other

14 transcripts , and the testimony of my client probably

15 that she was , in fact , involved with          Ms. Martin in what

16 at least she believed to be a legitimate business                at

17 the same time of these conversations.

18            When I do that, the government will then be in a

19 position to offer rebuttal         and I point out , as Ms.

20 Johnston said , that the government believes that my

21 client was involved in a nefarious act with              Ms. Martin

22 to set up an alibi for a murder.             I would ask the

23 Court , since my    Motion for     Severance has been denied          ,

24 that the    Court instruct the government that it not make

25 that kind of an argument.       That it not be able to argue




                                                                  Page 61
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 62 of 205



 1 that my client was involved in an attempt to set up an

 2 alibi for Larry Nunn in order to absolve him of              to come

 3 police any the murder of          Steven   Brimm .

 4            MS. JOHNSTON:    The problem with that       , Your

 5 Honor , is we don't know what the defense is going to

 6 put on.    If he is      going to put on something in terms of

 7 her having a legitimate business           , then I think we are

 8 allowed to establish that she          assisted her in

 9 falsifying documents.

10            THE COURT:    We will cross that bridge.      Let me

11 know if there is a bridge that you don't want her to

12 cr oss.    She may not get to the bridge --

13            MS. JOHNSTON:      Your Honor , while we're up here,

14 I may as well save us a trip.

15            I am showing him      Hay ward 35 .   I t is a fax ed

16 document recovered from          Ms. Martin's house that

17 references     Larry Nunn as an employee of          Ms. Martin,   PTK

18 Associates , and shows the date 11          /30 --

19            MR. MONTEMARANO :      I object to this point     , or at

20 least or observe        to the   Court that unless this

21 detective is a seizing agent in the search of 810

22 Hayward,    the government will have to tie this up

23 through    the seizing agent , which I as sume you're going

24 to be able to do.

25            MS. JOHNSTON:    We will call the seizing agent




                                                                Page 62
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 63 of 205



 1 from 810    Hayward     --

 2            THE COURT:        Then you're not going to         --

 3            MR. MONTEMARANO :         Based upon that proffer        , I

 4 guess my objection ought to be held in                 abeyance , but I

 5 -- for the record , I'm feel ing obligated                 to object at

 6 this point.

 7            MS. JOHNSTON:        I will   -- not only is it         in your

 8 discovery , it's in the exhibit book that you were

 9 given.

10            MR. MONTEMARANO :         It might well     be .

11            MR. WARD:     In closing , Your Honor, part of my

12 arguments    I made reference to this case not being tried

13 in California       but being tried here.            I was somewhat

14 emphatic in my argument          .    I meant no disrespect to the

15 Court .    If the    Court was offended,       I apologize.

16            THE COURT:    Oh, all right.      You haven't gotten

17 close to offending me yet            , Mr. Ward .

18            MR. WARD:     I wanted to make sure         .

19            THE COURT:    Y ou've got      to try harder than that.

20            MR. WARD:     I've offended a lot of other people

21 here , I'm sure.

22            MR. SUSSMAN :      When it come s to offending people ,

23 I'm the best.

24            THE COURT:    You're going        to offend this jury if

25 we don't    get back .




                                                                      Page 63
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 64 of 205



 1            MR. SUSSMAN :        I join in    Mr. McKnett 's objection.

 2            THE COURT:     Your objection is joined in             and

 3 overruled.

 4            MR. MCKNETT :        Your Honor , at the    en d of this

 5 testimony , I'm going          to renew my motion .      I will    just

 6 get up   and say , I renew my motion           , but I won't say my

 7 Motion for        Severance.

 8            THE COURT:      Ms. Johnston , I will leave the

 9 husher on until        Detective     Sakala has been advised.

10            MS. JOHNSTON:        Oh, absolutely.

11                     (Back in open court.       )

12            HE COURT:     You may proceed.

13            MS. JOHNSTON:        Thank you    , Your Honor.

14            BY MS. JOHNSTON :

15 Q.         If we could,        Detective    Sakala , go back to

16 yesterday's calls.       On      Page 402    and 403 and during this

17 telephone conversation          , Ms. Ali and Ms. Martin are

18 discussing        -- or Ms. Ali is advising        Ms. Martin about

19 how to get a fax machine            and how the set     it up; is that

20 correct?

21 A.         That's correct.

22 Q.         Indeed , on the second page         , Ms. Ali indicates

23 she will work with the fax machine until                Ms. Martin can

24 get it straightened out; is that correct?

25 A.         Yes.




                                                                     Page 64
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 65 of 205



 1 Q.         The next call is a call between        Ms. Martin    and

 2 Mr. Nunn ; is that fair to say?

 3 A.         Yes.

 4 Q.         And that relates to time sheets; is that

 5 correct?

 6 A.         Yes .

 7 Q.         In this instance , "time sheets " did not refer to

 8 drugs ; did it?

 9 A.         No, it did not.

10 Q.         In fact, that call is related to the later calls

11 that we've just played; is that correct?

12 A.         Yes.

13 Q.         Including   A1407 and then the subsequent call of

14 B4804 and 4806; is that correct?

15 A.         Yes.

16 Q.         In those three calls     --

17            MS. GREENBERG:     Page numbers for the jury,

18 please.

19            BY MS. JOHNSTON:

20 Q.         Page numbers 413     and 414 , and the first call

21 being on Page 404      and 406.

22            Now, having listened to those calls        , have you

23 also had occasion to review documents that were

24 recovered from     Ms. Martin's residence at        Hayward    during

25 the execution of the search warrant on           June 1st of




                                                                 Page 65
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 66 of 205



 1 2004?

 2 A.        Yes.

 3 Q.        Showing you what's been marked as         Hayward    35 .

 4           Do you recognize those two pages?

 5 A.        Yes.

 6 Q.        Is one of -- what are they?

 7 A.        It's a fax cover sheet from         Paulette   Martin to

 8 Jeffrey   Leslie   and an attachment for a time sheet.

 9 Q.        The first page of that fax sheet        , are you

10 familiar with that area code?

11 A.        Yes.

12 Q.        Where is that area code?

13 A.        California.

14 Q.        What is the l etterhead on that fax sheet?

15 A.        The Embassy    Suites hotel.

16 Q.        The second page of that fax sheet is what?

17 A.        It is a time sheet     -- a weekly time sheet for

18 Larry Nunn for the week ending 11/30/03.

19           MR. MONTEMARANO :     Objection .

20           Basis for knowledge.

21           THE COURT:     Lay a foundation.

22           THE WITNESS:     I'm reading it.

23           MS. JOHNSTON:    He's reading it.        I can put the

24 document -- let me put the document up so everyone can

25 see it.




                                                                 Page 66
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 67 of 205



1           BY MS. JOHNSTON:

2 Q.        Beginning at the top of that fax sheet, is there

3 a name of the employee       ?

4 A.        Yes.

5 Q.        Who's the name of the employee?

6 A.        Larry D. Nunn .

7 Q.        Does it indicate what time period or what week

8 this is for?

9 A.        For the week ending November 30, 2003.

10 Q.       Then do they list hours in        and hours out for

11 each day of the week?

12 A.       Yes.

13 Q.       Through November 30 of 2003; is that correct?

14 A.       Yes.

15 Q.       On the bottom of this      , does it indicate who       Mr.

16 Nunn was employed by?

17 A.       On the sheet on the far right        , there's a

18 signature of    Paulette    Martin.

19 Q.       Have you become familiar with her signature

20 during the course of this investigation            and

21 prosecution?

22 A.       Yes.

23 Q.       Do you recognize that as her signature?

24 A.       It looks like her signature.

25 Q.       Underneath , there's tiny , tiny print .          C an you




                                                                Page 67
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 68 of 205



 1 read that?

 2 A.       Yes.

 3 Q.       What does that say?

 4 A.       Mr. Nunn 's official start of employment with                PTK

 5 Associates was 1-      -- looks like 1-5 of       '04.   Could be

 6 1-3 of   '04.

 7 Q.       The date on that        Hayward   35 , in terms of the

 8 time period for the time sheet, is that consistent with

 9 the reference to 11/30 in the          las t call that we played

10 for the jury?

11 A.       Yes.

12 Q.       Going back to        Call 478 6 on Page 408 through 412.

13          Were you    familiar     with the names that were being

14 mentioned by    Ms. Martin during that conversation?

15 A.       Yes.

16 Q.       In particular , calling your attention to the

17 first page, the reference to          "Estelle " refers to whom?

18 A.       Estelle    Brimm .

19 Q.       And Gene Bird , at the top of         Page 409 , refers to

20 whom?

21 A.       "Gene Bird " is Eugene       Bird.    He's a customer    /

22 associate of    Ms. Martin.

23 Q.       And then when we go to the middle of the page,

24 Ms. Martin makes statements about not knowing nothing

25 about the man no more than he bought clothes from me or




                                                                Page 68
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 69 of 205



 1 for his son      and all .

 2           Do you know who she was talking about in that

 3 portion of the conversation?

 4 A.        She's talking about the man being          Steve Brimm

 5 and I don't know the name of his son.          His wife was

 6 Bridget   Brimm -- his current wife.

 7 Q.        Based upon your training         and experience , did you

 8 form an opinion as to whether or not             Ms. Martin

 9 accurately described         the relationship with     Mr. Brimm

10 when she said that she didn't know anything about him

11 or that he bought clothes from            me for his son   and all ?

12           MR. MONTEMARANO :       Objection , Your Honor .

13           Basis for knowledge      .

14           May we approach ?

15           THE COURT:     O verruled.

16           THE WITNESS:       She was not being truthful.

17           BY MS. JOHNSTON:

18 Q.        Based upon your training         and experience , what

19 was her relationship with          Mr. Brimm ?

20 A.        He was a cocaine source for her in          California.

21 Q.        Now, there are reference        s to other individuals

22 here , including     Mr. Philpot       and a "Larry ," in addition

23 to Mr. Bird .

24 A.        Yes.

25 Q.        On Page 411 , there is a reference to          Lou and




                                                                 Page 69
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 70 of 205



 1 Louis.

 2            Based upon your training      and experience , are

 3 drug -- persons engaged drug trafficking concern             ed when

 4 the police are investigating any kind of matter?

 5 A.         Sure.    They want to stay below the radar        and are

 6 concern ed whenever the police are around.

 7 Q.         So it doesn't matter what the police may be

 8 investigating ?

 9 A.         That's correct.

10 Q.         Okay.    What is important to them     , based upon

11 your training        and experience , is what?

12 A.         Is that they've come to the attention of the

13 police for whatever reason.

14 Q.         What is    Ms. Martin doing -- what is      Ms. Martin

15 advising    Ms. Ali that she has done in reference to

16 Louis and Mr. Bird and Mr. - -- the other people that

17 she mentions in this letter?

18 A.         She's warning them that the police are around,

19 referring to it at the top of Page 412.              I done put

20 them all on notice.

21 Q.         Based on your training     and experience , it has

22 nothing to do with the crime they're inv            estigating, but

23 more about     --

24            MR. MONTEMARANO :    Objection , Your Honor.

25            BY MS. JOHNSTON:




                                                                Page 70
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 71 of 205



 1 Q.         Based on your training     and experience , why is

 2 she warning them?

 3 A.         Because the police are around        and they're

 4 engag ed in illegal drug trafficking activities             and if

 5 the police are around, they may just            -- because they're

 6 investigating one thing doesn't mean they won't stumble

 7 across something else.

 8 Q.         At the   bottom of Page 411 , the reference to

 9 Louis and my brother refer to         whom?

10 A.         Luis Mangual   is "Louis " and "Brother " is Learley

11 Goodwin.

12 Q.         Before we move on     to the next questions     , let's

13 go back to the call that we had provide           d to the jury,

14 B4456 as an add -on call.        That would be on      CD -3.

15            Do you have a copy of that transcript in front

16 of you?

17            B4456 , that is a separate call on a separate

18 piece of paper that we passed yesterday.

19 A.         Yes , I do have it.

20 Q.         On what date    and time does this call take place?

21 A.         This was on    April 26, 2004 , at 10 :26 a.m.

22 Q.         Just to put it in chronological order        , was this

23 call before or after call B4506 on            Page 39 involving

24 Mr. Whiting     and Ms. Martin?

25 A.         This is before.




                                                                   Page 71
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 72 of 205



 1 Q.       On the same day?

 2 A.       On the --     I believe so.

 3 Q.       If you could check.

 4 A.       What's the page number for 4506         ?

 5 Q.       The page number is 39      6.

 6 A.       Yeah.    4506 occurred on the 26th at 7        :09 , and

 7 4456 occur red the     same day at 10 :26 in the morning.

 8 Q.       7:09 in the evening for the second call between

 9 Mr. Whiting      an d Ms. Martin that we     've already heard?

10 A.       That's correct.

11 Q.       If we could please play          Call B4456.

12          (Audio    recording begins playing at 11       :00 a.m. )

13          (Audio recording      stops playing     at 11 :03 a.m. )

14          BY MS. JOHNSTON:

15 Q.       On the first page of that call -- unfortunately                ,

16 the pages aren't numbered       , but on     Page 1 of that call ,

17 the "B rother " being referred to by          Ms. Martin is who     ?

18 A.       That refer s to Reece Whiting.

19 Q.       And on Page 2 , Mr. Scott makes a statement about

20 this guy , he's cooking over here right now.

21          Based on your training          and experience , does that

22 have anything to do with drugs?

23 A.       I can't tell.      I don't know.       Based on just that

24 blurb , I don't know who he's referring to.

25 Q.       All right.      And so you don't have an opinion




                                                                Page 72
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 73 of 205



 1 concerning what that refers to; is that fair to say?

 2 A.         No.

 3 Q.         Further down , there's a mention of        Reece .

 4            Who's the   "Reece " that Ms. Martin is referring

 5 to?

 6 A.         Reece Whiting.

 7 Q.         Based upon your investigation      , did you determine

 8 whether    or not he was authorized to practice law in the

 9 state of    Maryland at the time of this event?

10 A.         Could find no evidence of that.

11 Q.         On the third page of that call      , there is a --

12 Ms. Martin asked , did anyone talk to the other half

13 yet.

14            Based on your training      and experience an d your

15 knowledge of the investigation         , do you know who she was

16 speaking of ?

17 A.         Yes.

18 Q.         Who was that ?

19 A.         William   "D og " Turner.

20 Q.         Did you know     where he was at the time of this

21 conversation?

22 A.         No.

23 Q.         Further down , Mr. Scott says he might be burnt.

24            What is   Mr. Scott advising    Ms. Martin of when he

25 says that?




                                                                Page 73
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 74 of 205



 1 A.         Similar thing to he might be        "hot ;" he might be

 2 "warm. "    He might be drawing the attention of the

 3 police.     In other words, they're talking about whether

 4 they want to treat him with care           and caution if they

 5 come across him.

 6 Q.         On the very last page    , Ms. Martin asks      Mr. Scott

 7 to keep her p osted.

 8            Based upon your training        and experience, why

 9 would someone -- do you have an opinion as to             why

10 someone in        Ms. Martin's position would want to be kept

11 posted as to        Ms. Levi's matter?

12 A.         Yes.

13 Q.         What is that?

14 A.         She had done a lot of drug deals with          Ms. Levi

15 and certainly she would want to keep track of what's

16 going on in her case to know if there's something that

17 she should be concerned about        , whether     Ms. Levi would

18 cooperate with the government.

19 Q.         Court's indulgence.

20            Now , if we could go to the next telephone call,

21 A1415 , on Page 415.       What is the time of this call?

22 A.         This is on the 29th of April       , 2004 , at 8: 37 in

23 the morning.

24 Q.         Who are the parties to this call?

25 A.         John Irby and Paulette        Martin.




                                                                Page 74
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 75 of 205



1 Q.          If we could play it   , please.

2             (Audio record ing begins playing at 11       :06 a.m. )

3             (Audio recording    stops playing at 11     :11 a.m. )

4             BY MS. JOHNSTON:

5 Q.          Detective   Sakala , based upon your training        and

6 experience , did you form an opinion as to whether or

7 not any of this conversation was relate            d to the drug

8 trafficking activities of         Ms. Martin    and other members

9 of the conspiracy       ?

10 A.         Yes, I did.

11 Q.         What is that opinion?

12 A.         It is related to their drug        activities .

13 Q.         Could you explain to us what in the conversation

14 and how it's related to the drug trafficking activity?

15 A.         In the first couple of pages        Mr. Irby and Ms.

16 Martin are talking about the people that have -- that

17 work for    Mr. Goodwin    at his -- the     Lobo's dealership ,

18 and how you have to be careful about who works for you.

19 They switched the conversation on          Page 417 over to why

20 you have to be careful.

21 Q.         What is it in that conversation that tells you

22 they're talking about why you have to be careful?

23 A.         In the   fourth line down , Paulette     Martin says,

24 you see    Goody and his livelihood just need to be

25 watching , putting strangers in certain places.         In




                                                                Page 75
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 76 of 205



 1 other words, since he's a drug dealer          , you have to be

 2 careful around strangers.

 3          Mr. Irby agrees , and then the next section             , she

 4 goes on to say in certain livelihoods          , that being drug

 5 dealing , you got to watch, dot all your           Is, cross all

 6 your Ts because they have so many slick ways out there                   .

 7 That means the police have so many ways to investigate

 8 you , to ease them     MF-ing things in on you      , you 'd be

 9 surprised .

10          In other words , the police have so many ways to

11 get informants      and cooperators    in close to you.     You

12 have to be      caref ul having too many strangers around you

13 in the drug business.

14 Q.       Further    down there's    a reference to two

15 individuals who      Mr. Irby refer s to as "Dumb & Dumber. "

16          Based upon your training        and experience     and the

17 other conversations, do you know who           "Dumb & Dumber "

18 are referring to?

19 A.       Yes.

20 Q.       Who is that?

21 A.       Michael    Thurman and    Xavier   Moore, two of the

22 couriers working for       Mr. Goodwin .

23 Q.       And there is also a reference         to " them two other

24 guys with the van     ," and he cuts off .      I t goes   BA.

25 A.       Yes.




                                                                Page 76
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 77 of 205



1 Q.         Was there a van stopped with        Mr. Thurman       and Mr.

2 Moor e during the course of this investigation?

3 A.         Yes.

4 Q.         That would be the incident that this jury heard

5 from from    Mr.    -- that    Mr. Thurman   would have provide      d

6 to this jury; is that correct?

7 A.         Yes.

8 Q.         Hat is   Mr. Irby saying in relation to         Mr.

9 Thurman    and Mr. Moore ?

10 A.        He goes on on the bottom of 417         and the bottom

11 of 418 to talk about how        Mr. Moore and Mr. Thurman         want

12 to party and enjoy the social aspects          , I guess , if you

13 want to call it that     , of the job they're doing.

14 Whereas , he is much more --         "he " being Mr. Irby -- is

15 much more business     -oriented .     He wants to get down

16 there and do it -- do what has to be done in the way of

17 the mov ing of the drugs or money back          and forth    and get

18 back , and he doesn't like hanging out          and do in g all the

19 social partying aspect       s that the younger guys     , Mr.

20 Thurman   and Mr. Moore, like to do.

21 Q.        At the bottom of     Page 418,    Mr. Irby is referring

22 to some dude who's always calling back needing more

23 cash.   Based upon your training         and experience     and your

24 knowledge of the intercepted calls          and activities, who

25 was he referring to there?




                                                                   Page 77
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 78 of 205



 1 A.        Mr. Thurman .     Supposedly , it could be also         Mr.

 2 Moore, but he's calling -- complain         ing that the

 3 couriers always need more cash for some problem they've

 4 encountered.

 5 Q.        Okay.     And at the top of the page     , again ,

 6 there's a reference to        "Dumb & Dumber ," referencing ,

 7 again , the same two individuals       , Mr. Thurman     and Mr.

 8 Moore ?

 9 A.        Yeah.   Initially talks about two individuals            ,

10 and he specifically -- identifies that person as old               ,

11 tall boy who      would be -- Mr. Thurman      is the taller      one .

12 Q.        And the reference at the bottom by          Mr. Irby that

13 they cleaned that office out       , he's refer ring to      an

14 office where?

15 A.        Lobo's.

16 Q.        Okay.     I f we could go to the next call,       B4842.

17           Is this part of a series of calls?

18 A.        Yes.

19 Q.        Okay.   What calls are related to        B4842?

20 A.        4842 , then 4861    and D2330 , B4888 , and

21 B4890/ D2352 , then B4891 , and B49 10 /D2359.

22 Q.        Between what time span do these calls take

23 place ?

24 A.         The first call takes place on         April 28 at 12 :40

25 in the afternoon , and last call is on          April 29 at 5 :34




                                                                Page 78
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 79 of 205



 1 in the afternoon.

 2 Q.        The first call takes place when        , if you look at

 3 the transcript?

 4 A.        I'm sorry.   The synopsis      I have here has the

 5 wrong date.    On the transcript      , it's April 29.

 6 Q.        Who are the parties to the first call on           April

 7 29, B4842?

 8 A.        The first call was all      Paulette    Martin   and

 9 Learley   Goodwin.

10 Q.        What time does that take place?

11 A.        That's at 12 :40 in the afternoon on the 29th.

12 Q.        If we could play     B4842 , please.

13           (Audio recording begins playing at 11         :16 a.m. )

14           (Audio recording     stops playing     at 11 :19 a.m.)

15           BY MS. JOHNSTON:

16 Q.        If we could go to the next call,         B4861, on Page

17 424.   It's also referenced as D2330.       What does        D2330

18 refer to?

19 A.        That's the   D line which was      Luis Mangual 's --

20 one of his cellular telephones        , so we actually

21 intercepted this call on        Paulette   Martin's home phone

22 and on Luis Mangual 's cellular telephone.

23 Q.        If we could play this call, please.

24           (Audio r ecording begins playing at 11        :20 a.m. )

25           (Audio recording     stops playing     at 11 :20 a.m. )




                                                                Page 79
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 80 of 205



 1          BY MS. JOHNSTON:

 2 Q.       If we could go to the next call,             B4888.   At what

 3 time does this call take place        ?

 4 A.       This is on the 29th at 3         :48 p.m.

 5 Q.       And who are the part     ies to     this call?

 6 A.       Paulette   Mart in and   Learley     Goodwin.

 7 Q.       If we could please play this portion of the

 8 call .

 9          (Audio reco rding begins playing at 11           :20 a.m. )

10          (Audio recording      stops playing        at 11 :20 a.m. )

11          BY MS. JOHNSTON:

12 Q.       The next call,      B4890 or D2352 , on Page 426

13 takes place at what time?

14 A.       Later that afternoon on the          29th.     A fter she

15 hangs up with     Mr. Goodwin,    she then calls        Mr. Mangual .

16 Q.       If we could play      B4890 on     Page 426.

17          (Audio r ecording begins         playing    at 11 :21 a.m. )

18          (Audio recording      stops playing at        11 :21 a.m. )

19          BY MS. JOHNSTON:

20 Q.       And then B48 91 on Page 427 , what date            and time

21 is that call?

22 A.       After she hangs up with          Mr. Man gual , she calls

23 Mr. Goodwin     -- Learley   Goodwin at 3 :52.

24 Q.       And if we could play       B4891 on    Page 427.

25          (Audio recording begins playing at 11            :22 a.m. )




                                                                  Page 80
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 81 of 205



 1           (Audio recording     stops playing     at 11 :22 a.m. )

 2           BY MS. JOHNSTON:

 3 Q.        And then the next call,       B49 10 or D2359 on      Page

 4 428 , what time does that call take place?

 5 A.        The 29th at 5 :37 p.m.

 6 Q.        Who a re the parties?

 7 A.        Paulette   Martin   and Luis Mangual .

 8 Q.        If we could play that call.

 9           (Audio recording begins playing at 11         :22 a.m. )

10           (Audio recording     stops playing     at 11 :22 a.m.)

11           BY MS. JOHNSTON:

12 Q.        Based upon your training and experience, did you

13 form an opinion as to what took place between             Ms.

14 Martin,   Mr . Goodwin, and Mr.      Mangual   that evening?

15 A.        Yes.

16 Q.        What is that?

17 A.        Ms. Martin ordered a kilogram of cocaine from

18 Mr. Mangual .    Mr. Goodwin     then asked her to get another

19 one for him.     Ms. Martin called      Mr. Mangual     back to

20 order another , but he did not have another one           , just

21 had hers , which he delivered to her that evening.

22 Q.        If we could go back     , then , to first call     B4842

23 on Page 421.

24           On Page 421 , when Mr. Goodwin       says, you know ,

25 when I went to pick up the lunch up for you from                Cuba,




                                                                Page 81
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 82 of 205



1 I was supposed to get one for myself the next day.

2             Based on your training       and experience , did you

3 form an opinion as to what         Mr. Goodwin     was telling    Ms.

4 Martin?

5 A.          Yes.

6 Q.          What is that?

7 A.          He's talking about that when he went         and got the

8 kilogram of cocaine from         Cuba for    Paulette in the deal

9 we heard yesterday      , that he was supposed to go back             and

10 get another one for himself the next day           , but now he

11 can't get in touch with       Cuba to pick     that up.

12 Q.         Was there a code word used for that kilo of

13 cocaine?

14 A.         "Lunch ," referring to the kilogram.

15 Q.         If you could write that on our board         along with

16 Page 421.

17 A.         (Witness indicating.     )

18 Q.         And then there's a discussion on page -- at the

19 bottom of Page 421 continuing into 422.        Again      , who is

20 Ms. Martin discussing with        Mr. Goodwin ?

21 A.         She starts in there talking about        Reece Whiting

22 and the conversation we had yesterday where he had come

23 over to talk to her about another source of cocaine              ,

24 but she had not heard back from him.        She then goes on

25 to relay the story about        Estelle    Brimm and what she is




                                                                Page 82
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 83 of 205



 1 telling people , the in vestigators           from California.

 2 Q.         In that page , there's also a reference that

 3 Larry is    furious .     Based upon the content of the call,

 4 do you know whether she was talking about              Larry Lane or

 5 Larry Nunn ?

 6 A.         She's talking about      Larry Nunn .

 7 Q.         That's based upon what on Page 422?

 8 A.         The prior conversations intercepted.

 9 Q.         There's a reference that        Larry is   furious , and

10 then she says , "Lionel 's brother ."

11            Do you know who      Lionel was?

12 A.         Yes.

13 Q.         Who is that?

14 A.         That's   Lionel   Nunn , Larry's brother.

15 Q.         Again, based upon your training         and experience,

16 is the concern      Ms. Martin expressed here the same

17 concern you discussed before           , generally being concern   ed

18 about the police contacting you for any matter when

19 you're engaged in drug trafficking?

20 A.         That's correct.

21            MR. MONTEMARANO :      Objection , Your Honor .

22            Asked and answered.

23            THE COURT:     Overruled.

24            THE WITNESS:      That's correct.

25            BY MS. JOHNSTON:




                                                                Page 83
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 84 of 205



 1 Q.        Then when we go to the last page, 423           , is there

 2 a reference to drug trafficking on that page?

 3 A.        Yes.   Middle of the conversation there          , on Page

 4 423 , she says    Luis -- I know       Luis got tickets but     ain't

 5 got any from him yet.         I'm not quite finished with the

 6 tickets     I got the other day , but I know he's got

 7 tickets .     Mean ing , Luis Mangual      has cocaine for sale

 8 but she's not quite ready         because she hasn't got rid of

 9 the tickets from the other day.

10 Q.        Tickets referring to      what?

11 A.        Cocaine.

12 Q.        If you could write Page 423 on our board next to

13 the word tickets.

14 A.        (Witness indicating.     )

15           MR. MCKNETT :     Your Honor , while that's

16 happening , may I renew the motion           I made at the bench

17 based upon the reasons        I stated ?

18           THE    COURT:    Y es , and I'll adopt the same

19 ruling.

20           MR. MCKNETT :     Thank you.

21           BY MS. JOHNSTON:

22 Q.        Now if we could go to the          next call.

23           THE COURT:      No , we're not .     W e're going   to take

24 a morning recess until quarter of 12           :00 .

25           MS. JOHNSTON:       I was just hoping to get through




                                                                 Page 84
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 85 of 205



 1 this series first     , Your Honor .

 2                  (Jury excused at 11:27 a.m.)

 3                  (O ff the record     at 11 :27 a.m. )

 4                  (O n the record     at 11 :48 a.m. )

 5          THE COURT:     For whatever it's worth         , I looked at

 6 the pre -sentence report for whatever that's worth.                      He

 7 has a half-brother named         Kevin .   It looks like he is,

 8 in fact, the son of      Ms. Levi, for whatever that's

 9 worth.

10          All right.    Ready for the jury?      Bring them              in .

11          (Witness resumes the stand at 11         :48 a.m. )

12          MS. JOHNSTON:      Your Honor , we're going to jump

13 around to get a surveillance agent in because he's due

14 in Montgomery    County Circuit      Court this afternoon at

15 2:00 or 2 :30.

16          THE COURT:    That's fine.

17          MS. JOHNSTON:      I told counsel      I would be doing

18 that.

19          THE COURT:     I will    be breaking right on the

20 money close to     1 o'clock , because there's a meeting

21 that begins at     1 o'clock.

22          MS. JOHNSTON:      I think we will be all right            .

23          THE COURT:     I will cut you off in mid         -word .

24                  (J ury returns at 11      :50 a.m. )

25          THE COURT:    You may proceed.




                                                                 Page 85
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 86 of 205



 1          BY MS. JOHNSTON:

 2 Q.       Detective    Sakala , when we left off , we were at

 3 Call B4861 on Page 424.      Do you have that before you             ?

 4 A.       Yes.

 5 Q.       Was there any code      language used between         Ms.

 6 Martin   and Mr. Mangual     in that call?

 7 A.       Yes.

 8 Q.       What is that?

 9 A.       Ms. Martin    says , when you come this evening         ,

10 bring me one of those books that you say you picked up

11 at the   Borders bookstore for me.      She's say      ing she

12 wants hi m to bring a kilo of cocaine to her that night.

13 Q.       Page 424 , next to the code word          "book ", which        I

14 think is at the bottom of that page          .

15          I believe on the preceding page          , Ms. Mart in told

16 Mr. Goodwin     that she hadn't gotten any        --

17          MR. MARTIN:     O bjection .    Leading.

18          MS. JOHNSTON:      Let me rephrase.

19          BY MS. JOHNSTON:

20 Q.       What did    Ms. Martin just tell        Mr. Goodwin    on the

21 previous page in reference to drugs?

22 A.       She said she didn't need any an          d she hadn't

23 quite finish ed with the drugs , referring to           them as

24 "tickets ," that she had got the other day.

25 Q.       Based upon your training        and experience , was




                                                                  Page 86
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 87 of 205



 1 there anything inconsistent about her then           , a short

 2 time -- a couple hours later        , ordering another kilo

 3 from Mr. Mangual ?

 4 A.         No.

 5 Q.         Why not?

 6 A.         During the previous call     , Mr. Goodwin    had told

 7 her that she was having -- he was having a hard time

 8 getting cocaine from       Cuba , who was another source of

 9 theirs .

10            Acting upon that information      , she did what any

11 prudent business person would         and secured another

12 supply of cocaine before it ran out from            Mr. Mangual .

13 So she took information        Mr. Goodwin    had and acted on

14 it.

15 Q.         And if we go to the next call      , B4888 on Page

16 425.

17            Based on your train ing and experience , what does

18 Mr. Goodwin       ask Ms. Martin   to do in that call?

19 A.         During the call , Mr. Goodwin      asks Ms. Martin to

20 get a kilogram of cocaine for him         , from Mr. Mangual

21 also.

22 Q.         And the next call on     Page 426 .    Was there any

23 code language used in that call?

24 A.         Yes.   The   fourth line down , Ms. Martin says , my

25 brother told me , referring to        Mr. Goodwin,    to ask you ,




                                                                Page 87
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 88 of 205



 1 do you have an extra copy of one of those books               .    In

 2 other words , do you have another kilogram for him.                     Mr.

 3 Mangual   says , no , I just got rid of the last one a

 4 little while ago .      A ll I got is yours .      Meaning , I

 5 don't have any other kilograms        , all I have is the one

 6 I'm bringing you.

 7 Q.        The code word there for kilograms is?

 8 A.        A copy of books.

 9 Q.        If you could write     Page 426 next to       "books " on

10 the chart, please.

11 A.        (Witness indicating.    )

12 Q.        If could go to the next call       , B4891.

13           What does   Ms. Martin tell     Mr. Goodwin       in this

14 call?

15 A.        She's relaying the information back to             Mr.

16 Goodwin   that Mr. Mangual     doesn't have anymore

17 kilograms , saying in the second line         , I just got        Louis .

18 Meaning , Mr. Mangual .      He said he just sold the last

19 Alicia    Keys autobiography .     Meaning , he just sold his

20 last cocaine .     Mr. Goodwin    acknowledges that     .     Then Ms.

21 Martin says that he's going to get resupplied soon                 ,

22 referring to see if he could go up to the library to

23 get some more.

24 Q.        And the code word in that conversation for kilos

25 -- kilogram of cocaine is what?




                                                                     Page 88
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 89 of 205



 1 A.       The Alicia     Keys autobiography.

 2 Q.       I believe we may have autobiography already up

 3 there as a code.     If you could write down           Page 427.

 4 A.       (Witness indicating.)

 5 Q.       Based on the last call we played           , B49 10 , did you

 6 have occasion to look at the pole camera videotapes?

 7 A.       Yes.

 8 Q.       What time is this call?

 9 A.       5:37 p.m.

10 Q.       If we could -- if I could show you what's been

11 marked as   Government's      Exhibit V -25.    Was there any --

12 is there any problem or difference about this video --

13 if you could pause it just a second            - - and the video

14 that we've seen before?

15 A.       Yes.

16 Q.       Could you explain that to the jury?

17 A.       The vehicles     and people in the vehicle will seem

18 to be moving at a rather        frenetic   pace .     If you notice

19 the timer on this recording       , the time lapse       VCR was set

20 for 18 hours , which would explain the difference

21 between this tape      and the other tapes we've seen.

22 Q.       What's the effect of setting it for 18 hours?

23 A.       The tape will last longer.

24 Q.       If we could play it     , please.

25                  (Videotape    begins playing at 11 :55 a.m. )




                                                                 Page 89
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 90 of 205



 1           BY MS. JOHNSTON:

 2 Q.        What do we see here?

 3 A.        It's Mr. Mangual 's truck         and him hurriedly

 4 moving into the house carrying a bag.

 5 Q.        His motion does not reflect how he walked into

 6 the house?

 7 A.        No , I would assume his         gait was rather normal.

 8 Q.        Were you able to tell if he was carrying

 9 anything?

10 A.        He was carrying a bag when he went in.             Man gual

11 and Ms. Martin     --

12           MR. MARTIN:       O bjection.

13           THE COURT:     What's the basis of the objection           ?

14           MR. MARTIN:       W hat was the question    , Your Honor?

15 I don't think there was a question pending.

16           MS. JOHNSTON:       I had asked him -- rewind it         and

17 I'll phrase the question        .

18           MR. MARTIN:       N o, no, no.    If there was   , I didn't

19 hear it .    T hat's all.     Go ahead.       I didn't realize it.

20           THE WITNESS:       I'm sorry , I thought you had asked

21 me to describe what       I was seeing.

22           BY MS. JOHNSTON:

23 Q.        If you could describe what you're seeing in the

24 video .

25 A.        Ms. Mart in and     Mr. Mangual     come out to the car        .




                                                                   Page 90
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 91 of 205



 1 They walk over to his truck briefly.           He's still

 2 carrying a bag.         And he departs in his red truck        and

 3 she walks back towards the house.

 4                   (Videotape stops playing at 11:57 a.m.)

 5            MS. JOHNSTON:      With the   Court's permission     , we'd

 6 like to move forward to         May 16 to accommodate a

 7 surveillance agent who is required in             Montgomery   County

 8 Circuit    Court this afternoon.

 9            THE COURT:    That's fine.

10            MR. WARD:     I'm sorry , what?

11            MS. JOHNSTON:     We're going to move forward to

12 Volume    3 of the calls .     This is V olume 3, beginning

13 with call     A1670 on Page 525.

14            BY MS. JOHNSTON:

15 Q.         Detective    Sakala , do you have     A1670, Page 525 in

16 Volume    3, in front of you ?

17 A.         Yes.

18 Q.         What date did that call take place?

19 A.         May 16, 2004.

20 Q.         Were there a s eries of related calls that took

21 place on     May 16 of 2004?

22 A.         Yes.

23 Q.         What are those call numbers?

24 A.         A16 70 , B6863,   A1674,   A1675,   A1684.

25 Q.         What's the time period for these calls?




                                                                  Page 91
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 92 of 205



 1 A.         The first one was on the 16th at 5          :50 p.m ., and

 2 the last one is on       the 17th at 6 :44 a.m. the next

 3 morning.

 4 Q.         Now if we could begin with the first call           ,

 5 A1670.     Who are the parties      to this tel ephone call?

 6 A.         Paulette   Martin   and LaNora   Ali .

 7 Q.         If we could please play      A1670.

 8            (Audio r ecording begins     playing      at 1 2:00 p.m. )

 9            (Audio recording    stops   playing      at 12 :00 p.m.)

10 BY MS. JOHNSTON:

11 Q.         If we could go to the next call, B6863           , at Page

12 527.    Who are the parties to this call?

13 A.         Paulette   Martin   and John Martin.

14 Q.         And again , what time does it take place in

15 relation to the call we just heard?

16 A.         About eight minutes later at 5        :59 p.m.

17 Q.         If we could play it    , please.

18            (Audio recording begins      playing      at 12 :00 p.m. )

19            (Audio recording     stops playing       at 12 :00 p.m. )

20            BY MS. JOHNSTON:

21 Q.         If we could go to the ne     xt call , A1674 , on Page

22 528 .    Is that between the same parties         , Paulette    Martin

23 and John Martin ?

24 A.         Yes.

25 Q.         How close in time does that occur?




                                                                  Page 92
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 93 of 205



 1 A.       Immediately after the preceding call.

 2 Q.       At approximately what time?

 3 A.       Six o'clock.

 4 Q.       If we could play call         A1674 on Page     528 .

 5          (Audio r ecording begins playing at 12           :01 p.m. )

 6          (Audio recording       stops playing       at 12 :02 p.m.)

 7          BY MS. JOHNSTON:

 8 Q.       If we could go to the next call            , A1675 , on Page

 9 531.   Who are the part       ies to   this call?

10 A.       Paulette    Martin    and John Martin.

11 Q.       What time does this call take place?

12 A.       6:47 p.m.

13 Q.       If we could play it      , please.

14          (Audio reco rding begins playing at 12           :02 p.m. )

15          (Audio recording       stops playing at       12 :0 4 p.m. )

16          BY MS. JOHNSTON:

17 Q.       If we could play call         A1684 on Page 533     , please.

18 Before we play it    , if we could , what's the date             and

19 time of that call?

20 A.       This is the next morning        , the 17th , at 6 :44 in

21 the morning.

22 Q.       Who are the    parties to this call?

23 A.       Paulette    Martin    and Milburn    Bruce Walker .

24 Q.       Who is   Mr. Walker ?

25 A.       One of   Ms. Martin's customers.




                                                                    Page 93
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 94 of 205



 1 Q.       If we could play      A1684 on Page 533    .

 2          (Audio r ecording begins playing at 12         :04 p.m. )

 3          (Audio recording stops playing at          12 :05 p.m. )

 4          BY MS. JOHNSTON:

 5 Q.       Agent Sakala , did you have occasion to review

 6 the pole camera , in particular the video that's been

 7 marked as 28 , to see if there was any activity at              Ms.

 8 Martin's residence in relation to these calls?

 9 A.       Yes.

10 Q.       Do you know approximately what time the activity

11 took place?

12 A.       I don't have that marked down.       It's on the

13 tape .   I know it's sometime after        6 p.m. on the     16 th.

14 Q.       If we could please play        Video 28 , and if you

15 could describe for us what observations you made in

16 reviewing that video.

17          (Video tape begins playing at 12 :06 p.m. )

18          THE WITNESS:     This is    LaNora   Ali pulling up ,

19 parking in front of the house         and going into the

20 residence.

21          BY MS. JOHNSTON:

22 Q.       Again , this is one of those fast tapes?

23 A.       Correct.     It 's LaNora   Ali and Ms. Martin coming

24 out carrying bags putting them in the truck             and pulling

25 off.




                                                                Page 94
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 95 of 205



 1 Q.         What the time do they pull off?

 2 A.         6: 15 p.m.

 3            BY MS. JOHNSTON:

 4 Q.         As a result of those calls          and that

 5 surveillance, or those observations from the pole

 6 camera , was surveillance asked to assist with this

 7 portion    of the     investigation?

 8 A.         Yes.

 9 Q.         What was the surveillance agent asked to do?

10 A.         Directed to go to        Paula's   School of   Performing

11 Arts in    Washington,      D. C.

12 Q.         Now, prior to the first call we played            , A1670 ,

13 that occurred at 5       :50 p.m, had you had any information

14 that Ms. Martin would be moving anything to the school?

15 A.         No.

16                     (Videotape stops playing at 12:07 p.m.)

17            MS. JOHNSTON:         If I could recess    Detective

18 Sakala's    testimony      and call Detective      St . Louis back to

19 the stand.

20            THE COURT:     All right.

21            (Witness excused at 12       :07 p.m. )

22            (Witness     resumes the stand at 12      :08 p.m. )

23            MS. JOHNSTON:         Your Honor , I don't know     if the

24 Court wants       him re- sworn .

25            THE COURT:     N o.




                                                                   Page 95
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 96 of 205



 1            You remain under oath,         Detective.

 2                              DIRECT EXAMINATION

 3            BY MS. JOHNSTON:

 4 Q.         Detective    St. Louis, just as a refresh          er , by

 5 what police department are you employed?

 6 A.         Sure.     Montgomery     County Department of       Police ,

 7 Special    Investigation        Division.

 8 Q.         In addition to the surveillance you spoke about

 9 the other day , did you also have             occasion to assist

10 Detective    Sakala and Detective           Eveler and Agent Snyder

11 with a further surveillance on or about                 May 16 of 2004?

12 A.         Yes, I did.

13 Q.         Can you tell us at approximately what time did

14 you take action?

15 A.         Approximately 6 :40 p.m. on         May 16, 2004 , I

16 responded to 5559        South Dakota       Avenue in    Washington,      D.

17 C., which is        Paulette's    School of    Performing     Arts.

18 Upon arriving , I observed a bluish            -gray Ford Explorer

19 parked out front at 5553           South Dakota    Avenue .     W ithin

20 two minutes of being there          , I observed then a subject

21 later identified , or actually            I knew , to be    LaNora    Ali

22 exit the    Paulette's        School of   Performing     Arts followed

23 by Paulette        Martin.

24            Ms. Ali walked back to the vehicle             and got into

25 the vehicle , at which time           Ms. Martin then locked up




                                                                    Page 96
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 97 of 205



 1 the School of    Performing     Arts.   She then walked back to

 2 the vehicle , got into the vehicle        , and then they both

 3 drove away.     I attempted to follow them       , but I was

 4 across the street      and I had just gotten there          and I got

 5 stuck at a light.

 6 Q.       Approximately what time did you arrive in that

 7 area?

 8 A.       I arrived there at 6     :40 and approximately -- at

 9 approximately 6 :40 , and approximately 6 :42 is when they

10 exit ed the business.

11 Q.       When you arrived at 6      :40 , was the gray      Ford

12 Explorer already there?

13 A.       It was already there       and it was un occup ied.

14 Q.       Did you determine who it was registered to?

15 A.       At that time    I did , but I don't recall who at

16 this particular moment.

17 Q.       Excuse me?

18 A.       I don't recall at this particular time who it

19 was registered to.

20 Q.       So when you got there      , the vehicle     was

21 un occupied?

22 A.       Yes , it was.

23 Q.       Where was it in relation to the location that

24 you were responding to?

25 A.       It was just a couple of doors down from the




                                                                 Page 97
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 98 of 205



1 School of     Performing      Art s.

2 Q.        Let me show you a picture marked as            P-18 4.    Let

3 me zoom out so you can see the whole picture.

4           Do you recognize that building?

5 A.        Yes.

6 Q.        What is it?

7 A.        That's    Paula's    School of    Performing   Arts , 5559

8 South Dakota       Avenue.

9 Q.        Is that the target location you were focused on?

10 A.       Yes, it was.

11 Q.       When you mentioned you observed           Ms. Ali coming

12 out of the      front door    --

13 A.       That's correct.

14 Q.       -- where is the front door          on this picture?

15 A.       The front door is         --

16 Q.       If you could maybe describe it for us or looking

17 at the picture , is it to the left or the right              ?

18 A.       It's to the left.         It's kind of    glary .

19 Q.       Let me take it out of the plastic          , it will be

20 more clear.

21 A.       Yeah .    The front door is to the left        , and then I

22 guess that's paint or window            right there .   (Witness

23 indicating.)

24 Q.       Who did you observe coming out first?

25 A.       I observed     Ms. Ali exit the business first.




                                                                    Page 98
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 99 of 205



 1 Q.       She was followed by whom?

 2 A.       Ms. Martin.

 3 Q.       Who locked the door?

 4 A.       Ms. Martin locked the door.

 5 Q.       Were you able to obtain any photographs that

 6 day?

 7 A.       Yes, I did.     I took two photographs       .     O ne photo

 8 is the vehicle as it's parked there         , and the second

 9 photo is the vehicle as it's being          driven    away.

10 Q.       Let me show you what's been marked as P             -41.

11 A.       P-41 is the first photo        I took when       I arrived.

12 The vehicle was parked there unoccup          ied.

13 Q.       Approximately how far away from the front of

14 Paul ette 's School of     Performing   Art s is that vehicle?

15 A.       Just maybe two doors down.      Two, three doors

16 down.

17 Q.       And then P -41 A, what is that?

18 A.       That 's the vehicle actually as it's being             driven

19 away occupied by     Ms. Ali and Ms. Martin.

20 Q.       Who 's driving the vehicle?

21 A.       Ms. Ali .

22 Q.       Were you -- you weren't able to          follow the

23 vehicle once it left?

24 A.       No , I was not.

25 Q.       Did that conclude your surveillance on that




                                                                  Page 99
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 100 of 205



1 date?

2 A.        Yes, it did.

3           MS. JOHNSTON:      I have no further questions of

4 this witness.

5           THE COURT:     A ny cross-examinat ion?

6           MR. MCKNETT :     Your Honor , I have just a couple.

7                           CROSS-EXAMINATION

8           BY MR. MCKNETT :

9 Q.        Good afternoon.      Is it -- how should       I refer to

10 you?   Detective?

11 A.       Detective    St. Louis .    That's correct.

12 Q.       Detective    St. Louis, with regard to your

13 surveillance at the       South Dakota   Avenue address, if         I

14 understand correctly      , by the time you got there      , the

15 Explorer was already parked there?

16 A.       This's correct.

17 Q.       You didn't see anybody carry anything in           , did

18 you?

19 A.       That's correct.

20 Q.       You saw    Ms. Ali exit; correct?

21 A.       That's correct.

22 Q.       And she went     straight   to her vehicle; correct?

23 A.       Correct.

24 Q.       Was she carrying anything?

25 A.       Jus t a purse.




                                                               Page 100
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 101 of 205



1 Q.         Then you saw     Ms. Martin leave shortly

2 thereafter; right?

3 A.         That's correct.

4 Q.         They both got in the vehicle      ?

5 A.         Yes.

6 Q.         And they drove away ?

7 A.         That's correct .

8 Q.         That's all you saw?

9 A.         That's all     I saw.

10 Q.        Did anybody do surveillance at            Hayward   after

11 that evening?

12 A.        I don't recall if it was done         .    I wasn't a part.

13 Q.        To the best of your knowledge         , did anyone do a

14 surveillance of     Ms. Ali later that evening?

15 A.        I was only involved with this one surveillance.

16 Q.        So you wouldn't know if one was done           ?

17 A.        That's correct.

18 Q.        So you don't know whether anybody followed              Ms.

19 Ali or that vehicle back to her house, do you?

20 A.        I'm pretty sure nobody followed her from right

21 there because     I was the only person there at the time             ,

22 so if anybody followed her after that           , I don't know

23 because   I terminated my part      of the surveillance then.

24 Q.        So you know you didn't    ?

25 A.        That's correct.




                                                                  Page 101
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 102 of 205



 1 Q.       You don't know if anybody else did            ?

 2 A.       That's correct.

 3          MR. McKNETT :       Thank you.

 4          THE COURT:       A ny other cross?

 5                            CROSS-EXAMINATIO N

 6          BY MR. MONTEMARANO :

 7 Q.       You didn't see       Ms. Martin carry anything out of

 8 5559 ; did you , Detective?

 9 A.       Just her purse.

10 Q.       Didn't do a trash run on the dumpster behind

11 5559?

12 A.       My extent was those two minutes.

13          MR . MONTEMARANO :        No further questions         , Your

14 Honor.   Thank you    .

15          MR. MARTIN:        N one from     Mr. Goodwin , Your Honor .

16          MR. HALL:        N o questions , Your Honor .

17          THE    COURT:      A ll right .     A ny redirect ?

18          MS. JOHNSTON:        J ust a matter of housekeeping         ,

19 Your Honor.

20                         REDIRECT EXAMINATION

21          BY MS. JOHNSTON:

22 Q.       Let me show you what's been marked as                 P-231 and

23 P-232.    Do you see those photographs?

24 A.       Yes , I do .

25 Q.       Are those enlargements of what             I previously




                                                                    Page 102
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 103 of 205



 1 identified as      B-41 and B -41 A?

 2 A.       That's correct.

 3          MS. JOHNSTON:       Your Honor , to keep the record

 4 clear , we introduce      P-231 and P -232 as       I think we have

 5 another picture marked as P        -231 .

 6          THE COURT:     All right.     Okay.

 7          MS. JOHNSTON:       I have no further       questions.

 8          MR. MONTEMARANO :      Just one , Your Honor.

 9                        RECROSS EXAMINATION

10          BY MR. MONTEMARANO :

11 Q.       You didn't approach the         Explorer    and look inside

12 of it ; did you?

13 A.       No.

14          THE COURT:     All right.     You may step down.

15 Thank you,      Detective.

16                   (Witness   excused at 12 :15 p.m. )

17                   (Witness   Sakala resume s the stand. )

18                     FURTHER DIRECT EXAMINATION

19          BY MS. JOHNSTON:

20 Q.       Detective    Sakala , based upon those telephone

21 calls and the surveillance       , both your review of the

22 pole camera      and the surveillance we've just heard

23 about , did you form an opinion as to what occurred on

24 May 16 of 2004 between       6:00 and 7:00 in the evening?

25 A.       Yes.




                                                                Page 103
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 104 of 205



 1 Q.         Could you describe for us what that opinion is?

 2 A.         Give me one minute.       I'm sorry .     I'm just

 3 getting back to my page.

 4            Yeah.   In the series of calls     , Paulette     Martin

 5 became aware that      there was a neighborhood meeting to

 6 discuss traffic to      and from her house , and it was going

 7 to be with the      Takoma    Park Police Department.      She

 8 became   worried    there    would be a search warrant executed

 9 on the   residence.    S he then moved all of her activities

10 -- drug activities      and took the drugs       and assorted

11 para phernalia     to her school on     South Dakota     Avenue and

12 had called     Ms. Ali to help her do that       .

13 Q.         Calling your attention to the first call          , A1670.

14            Can you tell us what in that call support            s the

15 opinion that you just provided?

16 A.         She just calls     Ms. Ali on Page 525      and tells

17 her , you got to come take me to the school.              I got to

18 take something there        , and then she just concludes that

19 it's very important.

20 Q.         Calling your attention to the bottom of Page

21 525 , Ms. Martin's statement       , when you're coming in the

22 front door , just say , Paula , you got those that we're

23 going to go show our girlfriends         .

24            Does that statement by      Ms. Martin to     Ms. Ali

25 have any    significance      in terms of your opinion?




                                                                Page 104
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 105 of 205



 1 A.         Yes.

 2            MR. MONTEMARANO :    Objection , Your Honor.

 3            May we be heard at bench      ?

 4            THE COURT:    C ome up to the bench.

 5                    (At the bar of the Court.)

 6            MR. MONTEMARANO :    Without intending to sound

 7 quite so    hectoring,     as I'm sure this will.       Once again          ,

 8 Detective    Sakala     goes far beyond any sort of expertise

 9 concerning drug conversation          , coded   language ,

10 distribution, etcetera.

11            What he presumably is going to say        , I would

12 proffer , is that there is some notion that              Ms. Martin

13 is try ing to keep it secret from other people               , perhaps

14 her roommate      Jack ie Terrell .    If that is so , that has

15 nothing to do with this detective's expertise.           They

16 can call    Ms. Terrell .     They can call -- they can't call

17 Ms. Martin , I guess.       This is just far, far afield.

18            MS. JOHNSTON:     Your Honor,     Detective    Sakala gave

19 his opinion that , based on a ser ies of calls               and the

20 surveillance, he believed she moved drug             materials      and

21 the d rug business from her home to the school               .   I asked

22 him what was the        basis of his opinion .      T his is one       of

23 the things he relied upon in reach           ing that    opinion , and

24 I think he's going to point out           what s erves as the

25 basis of his opinion       , that that's what they did that




                                                                    Page 105
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 106 of 205



 1 day.

 2            THE COURT:       All right   .   T he objection is

 3 overruled .

 4                             (B ack in open court.    )

 5            BY MS. JOHNSTON:

 6 Q.         Detective    Sakala , did that statement of           Ms.

 7 Martin's about just saying that you're -- you've got

 8 those -- that we 're going to go show our girlfriend,

 9 did that    have any significance , in your opinion , that

10 you formed that they were moving the drug business to

11 the school?

12 A.         Yes.

13 Q.         What is that?

14 A.         Ms. Martin is at the house with               Ms. Terrell    --

15 Jacqueline        Terrell   -- so she needs an excuse to load up

16 Ms. Ali 's car w ith all these packages             , and that's the

17 excuse she's telling           Ms. Ali to say when she comes in           :

18 You got those that we're going to show our girlfriends                        .

19            Th en they would take the items to the car.

20 Q.         Then if we go to       Page 528 , the call s between          Ms.

21 Martin   and John Martin.

22            Is there anything in that call which you re                 lied

23 on to form your opinion that she was moving the drug

24 business to the        school ?

25 A.         This call a nd a previous call where she tells




                                                                    Page 106
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 107 of 205



 1 John she's going to call her back on the cell phone is

 2 usually an indication that they're going to talk of

 3 something of a criminal nature        .

 4 Q.         Why do you say that?      H er telling him , I will

 5 call you back on      Page 527 ?

 6 A.         In my experience , most narcotics        traffickers

 7 believe that a cellular tel        ephone communication is more

 8 secure   and less like ly to be intercepted than a hard

 9 line.

10 Q.         If we go to the cell phone on Page 52           8, could

11 you describe for us what in that call served as a basis

12 for your conclusion that         Ms. Martin   and Ms. Ali moved

13 the drug business to the school?

14 A.         The second line down    , she goes , yeah , I'm going

15 to move those tickets         and everything to the school of

16 mine because     I understand they're going        to have a

17 neighborhood meeting      .    Meaning , she's going to take the

18 drug s to the school because        of the neighborhood

19 meeting.

20            Then she goes on that the meetings -- in the

21 second grouping , she says the meeting's going on in

22 here because they see a lot of boxes here                and clothes.

23 But those things      I have of    Kevin 's are   legit, referring

24 to Kevin Scott's clothes being legitimate            .     The other

25 things she's going move to the school are not




                                                                 Page 107
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 108 of 205



 1 legitimate .

 2 Q.         And the word     "tickets " refers to         what there?

 3 A.         Drugs.

 4 Q.         The word   "clothes ," there .          What does that refer

 5 to?

 6 A.         Clothes.     She's actually talking about clothes

 7 there.

 8 Q.         If you could write     Page 528 on          the board next to

 9 the word     "clothes. "

10 A.         (Witness indicating.       )

11 Q.         Then if we     could continue with the call on             Page

12 529 , if there was anything in that portion                  of the call

13 that supports your conclusion             .

14 A.         She goes on to - - just they discus the

15 neighborhood meeting         and John Martin , near the top

16 third says , you need        to do that as soon as possible               .

17 Meaning , you need to clean out the house as soon as

18 possible .

19            And he goes on to say          that because      of the mere

20 fact Takoma     Park , referring to his experience with the

21 Takoma   Park Police Department , where he was stop                 ped

22 with the kilogram wrappers        .

23            Then Ms. Mart in goes , you don't have no papers

24 or anything you need me to move               ?   R efer ring to   drugs or

25 money that she needs to move          , that Ms. Martin might




                                                                      Page 108
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 109 of 205



 1 have stored at the house.          He directs her to a file

 2 cabinet , and she says she will take them.

 3          The last line on the page on 529         , Mr. Martin

 4 says , we'll be clean as rain.

 5 Q.       Were there any terms used in that -- on that

 6 page that refer s to drugs?

 7 A.       I don't see anything other than papers           , which    I

 8 would say probably refers to money.            It says papers or

 9 anything, but      I wouldn't   classify   that as a code word.

10 Q.       Excuse me?

11 A.       I wouldn't classify the word         "anything " as a

12 code word , though.

13 Q.       Bas ically,   you believe papers refers to?

14 A.       Money.    She's say    ing , do you have any money or

15 drug s in the house that you need me to move.

16 Q.       And the    phrase   "clean as rain ."      What does that

17 refer to?

18 A.       Th at there won't be anything in the house

19 drug -wise to incriminate them if the police actually do

20 search it.

21 Q.       To your knowledge , Ms. Martin wasn't

22 participating in the neighborhood meeting based on this

23 call?

24 A.       No.   She was -- she had learned about it from

25 Ms. Terrell,      who learned about it from a neighbor.




                                                                Page 109
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 110 of 205



 1 Q.       And then if we could go to the next call            , A1675.

 2          Does this call take place then before or after

 3 the surveillance we just heard you describe by

 4 Detective    St. Louis ?

 5 A.       After.      She's saying she's there with         LaNora ,

 6 and that she had already taken everything away.

 7 Q.       This call is made over her cell phone?

 8 A.       Yes.      This is   Paulette   Martin's cellular

 9 telephone.

10 Q.       Do you know where she actually is at the time

11 she makes this call?

12 A.       Either at the school where she just took

13 everything away or after she left the school.          She just

14 says , I went      and took everything away    .   So , in the area

15 of the school.

16 Q.       And the time is consistent with the surveillance

17 that Roger St. Louis sa w; is that correct ?

18 A.         Yes .    I think he was there at 6      :40.   This is

19 6:47.

20 Q.       In terms of Page 532 of that call          , Ms. Mar tin

21 references the back door.

22          Do you know what door she's referring to?

23 A.       She's talking about the basement door            , and she's

24 talking about somebody        -- she believes a neighbor has a

25 camera that's looking at that door.




                                                                Page 110
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 111 of 205



 1 Q.        Then the next call       on the next morning at 6       :45

 2 in the morning , A1684.       Was there anything in that call

 3 that assisted with your opinion?

 4 A.        Yeah.   This is actually      -- there will be quite a

 5 few calls , but she's telling         Mr. Walker that she's

 6 moved all the drug     s to the school      and that they will be

 7 do in g their business from this point forward          .   I f they

 8 need to do transactions , it will have to be at             the

 9 school.

10 Q.        In that regard on Page 533       , are there any code

11 words used in reference        to drugs?

12 A.        Yeah.   The first long paragraph with          Ms. Martin ,

13 she tells    Mr. Walker that she's going to have to start

14 seeing h im at the school because the neighbors is

15 complaining about people running in           and out , talking

16 about the traffic at the school         , and they had a meeting

17 last night with the       Takoma   Park police talking about

18 the neighbors .

19           Then she says it had nothing to do with the

20 tickets .    Mean ing , the drugs .     Then she tr ies to     tell

21 Mr. Walker that it has to do with the guy bringing

22 clothes , refer ring to     Kevin Scott bringing clothe        s to

23 her house.

24 Q.        Any code in there for drugs?

25 A.        Tickets.




                                                                Page 111
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 112 of 205



 1 Q.         If you could make that notation on our chart,

 2 Page 533.

 3 A.         (Witness indicating.     )

 4 Q.         The term    "clothes " used here , based on     your

 5 training    and experience     and your knowledge of the

 6 wiretap , refers to what ?

 7 A.         Clothes.

 8 Q.         On Page 533 , Ms. Martin says , sometimes they

 9 come looking for one thing         and find another.

10            Based on your training       and experience , what is

11 she referring to?

12 A.         She is trying to tell -- trying to convey to             Mr.

13 Walk er that    the police would search her house looking

14 for illegal clothes       , and that in searching for illegal

15 clothes , they would find drugs.

16 Q.         Now, before we go on to the other calls on             May

17 17, if we can go back in time to the second volume on

18 page -- I believe we left         off -- we were at     Page 429 ,

19 Call B4954.

20            Who are the parties to this call?

21 A.         Paul ette Martin   and Milburn     Bruce Walker .

22 Q.         What date    and time does it take place?

23 A.         The 30 th , about two weeks prior to the series of

24 calls we just talked about        , at 10 a.m.

25 Q.         If we could play it    , please.




                                                                Page 112
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 113 of 205



 1          (Audio r ecording begins playing at 12          :2 9 p.m. )

 2          (Audio recording         stops playing at 1 2:29 p.m. )

 3          BY MS. JOHNSTON:

 4 Q.       Based upon your training          an d ex perience,   what is

 5 Ms. Martin     and Mr. Walker       discussing in this call      ?

 6 A.         Mr. Walker 's ordering a quantity of crack

 7 cocaine from       Ms. Martin.

 8 Q.       What is the code word used for that?

 9 A.       Ms. Mart in says , what show do you want to go to               ,

10 asking him how much cocaine          , and he says eight.      She

11 then goes , you want to go to eight shows           , and he says

12 okay , and then she needs to identify it as crack or

13 powder , and she goes on the show that's already a               , and

14 she cut herself off           and she continues with the shows

15 they already having       .     Meaning , the cocaine   that's

16 already cooked.

17 Q.       Referring to what?

18 A.       Crack cocaine.          And then Mr. Walker confirms

19 that .   R ight.    The   one s with , and whatever word he uses

20 I can't make out , but h e's refer ring to          ones that have

21 been tran sformed      as oppose d to one s with nothing .

22 Q.       Based on your training          and experience , what is

23 he ordering in this call?

24 A.       A quantity of crack cocaine         , and the "eight "

25 would be either an eighth of           a kil o or eighth of an




                                                                  Page 113
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 114 of 205



 1 ounce.

 2 Q.       If you could , next t o the word            "shows " indicate

 3 Page 429 on our chart.

 4 A.       (Witness indicating.      )

 5 Q.       Now , if we could go to the next call            , which is

 6 in Volume    3 on Page 431.

 7          Do you have that call in front of you             ?

 8 A.       Yes.

 9 Q.       Is that one of a series of related calls?

10 A.       Yes.

11 Q.       What are the calls that are related to call

12 B5065 on Page 431     ?

13 A.       5065, 5072,      50 73, 50 74 , and 5097.

14 Q.       Over what time period do they take place?

15 A.       The first call is on          May 1st at 10 :48 a.m ., and

16 the last one is the same day at 2           :04 p.m.

17 Q.       So we're talking roughly three hours, three               and

18 a half hours?

19 A.       A little over three hours         , yeah.

20 Q.       The part ies to      the first call , B5065 , on Page

21 431?

22 A.       Paulette    Martin    and Learley    Goodwin.

23 Q.       If we could play B5065         , please .

24          (A udio recording begins         playing     at 12 :31 p.m. )

25          (Audio recording       stops playing        at 12 :31 p.m. )




                                                                  Page 114
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 115 of 205



 1          BY MS. JOHNSTON:

 2 Q.       If we could go to the next call, B5072.

 3          What's the date      and time of this call?

 4 A.       The same day , 11 :44 in the morning.

 5 Q.       Who are the     parties to    the call ?

 6 A.       Paulette    Martin   and Learley     Goodwin.

 7 Q.       If we could play it      , please.

 8          (Audio r ecording starts       playing     at 12 :32 p.m. )

 9          (Audio recording      stops playing      at 12 :32 p.m. )

10          BY MS. JOHNSTON:

11 Q.       And the next call, B5073 , on Page 434 , what time

12 does it take place in relation to the call we just

13 heard?

14 A.       11 :45 a.m ., just after the       previous     call.

15 Q.       Who are the part ies to       that call ?

16 A.       Paulette    Martin   and Michael     Jackson.

17 Q.       If we could play it please.

18          (Audio r ecording begins       playing     at 12 :33 p.m. )

19          (Audio recording      stops playing      at 12 :33 p.m. )

20 BY MS. JOHNSTON:

21 Q.       The next call , B5074 , on Page 435 , what time

22 does this call take place in relation to the one we

23 just heard?

24 A.       Just after it , at 11 :46 a.m.

25 Q.       Who are the parties on this call           ?




                                                                Page 115
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 116 of 205



 1 A.       Paulette    Martin   and Learley    Goodwin.

 2 Q.       Could we play it , please ?

 3          (Audio record ing begins       playing     at 12 :34 p.m. )

 4          (Audio recording      stops playing      at 12 :34 p.m. )

 5          BY MS. JOHNSTON:

 6 Q.       Then B5097 takes place at what time on             May 1st?

 7 A.       2:04 p.m.

 8 Q.       Approximately how soon -- how close in time to

 9 the previous call?

10 A.       A couple of hours after the last call.

11 Q.       If we could please play B50 -- strike that              .

12          Who are the     part ies to   the call ?

13 A.       Paulette Martin      and Learley    Goodwin.

14 Q.       If w e could please play B5097 on           Page 436.

15          (Audio recording begins playing at 12           :34 p.m. )

16          (Audio recording      stops playing      at 12 :3 5 p.m. )

17          BY MS. JOHNSTON:

18 Q.       Based upon your training an        d experience , did you

19 form an opinion of what's being discussed in this

20 series of calls?

21 A.       Yes.

22 Q.       What is that?

23 A.       Learley    Goodwin is looking for a source for

24 cocaine , and Ms. Martin tells her about a previous

25 conversation     I think we had heard yesterday with




                                                                Page 116
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 117 of 205



 1 Michael   Jackson     and that he had cocaine for sale for

 2 $25,000 a kilogram      .    They have an additional

 3 conversation , Ms. Martin           and Mr. Goodwin,          where it's

 4 clear that       Mr. Jackson    and Mr. Goodwin            did not come to

 5 an a greement on the        volume.

 6 Q.        If we could go starting with                  B5065 on Page 431    ,

 7 if you could point out what in that conversation is

 8 supportive of your opinion.

 9 A.        Page 431 , Mr. Goodwin           is saying , I got a bun ch

10 of friends looking for some tickets                 .     In other words ,

11 he's got some       customers looking for               cocaine , but he

12 can't find none nowhere         .    Meaning , he can't find a

13 source.

14           Then Mr. Goodwin          asks Ms. Martin whether she

15 knows anyone , saying you           ain't heard a thing or you

16 can't hear a thing      , and Ms. Martin says not from                Louis .

17 I'll call    and see what's going on            .

18 Q.        "Louis " referring         to whom?

19 A.        Luis Mangual .

20 Q.        If you could note on             the board Page 431 next to

21 the code word       "tickets ".

22 A.        (Witness indicating.         )

23 Q.        In reference to       the next call , B5072 on Page

24 432 , is the code word         "tickets " used again?

25 A.        Yes.     Ms. Martin calls          Mr. Goodwin      back and




                                                                       Page 117
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 118 of 205



1 tells her that      Mike -Mike .     Meaning , Michael     Jackson ,

2 had call it had other day           and said that he had some $25

3 tickets , refer ring to     $25,000 kilograms.

4 Q.       That was a reference -- was that a reference to

5 Call B4515 on     Page 39 7 that was made on        April 26 of

6 2004?

7 A.       That's correct.

8 Q.       The tickets refers to what?

9 A.       Cocaine kil ogram .

10 Q.      Based upon your training           and experience , do you

11 have an opinion as to whether           or not $25,000 is a --

12 was a good price for wholesale cocaine back in 2004?

13 A.      It was -- it would be a high price, so it would

14 not be a good price if you were looking to buy.           It

15 would be a good price if you could sell it at that.

16 Q.      Could you note on our chart there           , Page 432 next

17 to the word   "tickets ".

18 A.      (Witness indicating.        )

19 Q.      And then the next call          , B5073 on Page 434.       What

20 is it about this call that supports your opinion that

21 they were discussing getting kilos from            Mr.    Jackson?

22 A.      Paulette    Martin is calling        Michael    Jackson   and

23 telling him that     Learley      Goodwin is looking for a

24 ticket , fourth line down      , saying your pop s is look ing

25 for a ticket , refer ring to        Mr. Goodwin.       I told him you




                                                                  Page 118
       Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 119 of 205



 1 may know someone , or you had one or two for $25               .

 2 Meaning , he had one or two kilograms for $25,000                  .   S he

 3 asked him to give           Mr. Goodwin   a ring , and Mr. Jackson

 4 says he's got t o talk to his man.

 5 Q.         "His man " referring      to whom?

 6 A.         The person who would have the cocaine           .

 7 Q.         If you could note Page 434 next to the              "ticket "

 8 on the code chart       .

 9 A.         (Witness indicating.      )

10 .          Call B5074 .       Is there any particular code used

11 in that call?

12 A.         No.

13 Q.         What is    Ms. Martin telling      Mr. Goodwin      in that

14 cal l?

15 A.           She said she's got in touch with           Mr. Jack son

16 and Mr. Jackson        told her that      Mr. Jackson   was going to

17 call his man.

18 Q.         Then if we go to B      5097 .   If you could , describe

19 what's in that call that supports your opinion that

20 they were discussing getting kilos of cocaine?

21 A.         They talk in the beginning        , Mr. Goodwin      and Ms.

22 Martin , about       Mr. Jackson    and the problems with it

23 being too high a price          , saying the time we didn't get

24 the tickets wholesale           and got them -- he get them for          ,

25 he said it wasn't selling.         Again     , referring to the




                                                                   Page 119
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 120 of 205



 1 $25,000 price being too high           .       Then Mr. Goodwin      goes on

 2 to talk about another source that he's worked out                     , but

 3 the problem is the transportation of the drugs from the

 4 source to him.

 5 Q.       Where is that language on               Page 436?

 6 A.       The bottom of the page            .    T he only problem is

 7 getting it , getting it back.          That's the problem.              Then

 8 the top of Page 437     , as soon as            I can work that out .

 9 Meaning , the transportation       .       T he first time        I'm going

10 to go myself .     Meaning , for the first transaction he

11 would actually     go to where the source is at himself                  and

12 take care of everything.

13          And then they go on to talk about               , other than

14 that -- other than this new source                , the tickets are all

15 the same , that's about the fifth line down                  .    Meaning ,

16 other than that new source       , he's working on               the price

17 is all   the same , and that being it's too high                  , and Ms.

18 Martin talks about retiring from the drug business.

19 Q.       Now, in terms of the word               "tickets ," if you

20 could note on the chart both               Page 436   and 437.

21 A.       (Witness indicating.      )

22 Q.       On Page 437 , Ms. Martin , about the middle of the

23 page , references the game.      Based on your training                 and

24 experience , do you know what she's referring to there?

25 A.       The drug business she's talking about.




                                                                       Page 120
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 121 of 205



 1 Q.       Now , if we could go to call         B5116 on   Page 438.

 2          Re there two related calls here?

 3 A.       Yes , 5116 and 5118.

 4 Q.       Who are the parties to those calls?

 5 A.       Paulette    Martin    and Lavon "Becky " Dobie .

 6 Q.       What date an d time do they take place?

 7 A.       The first one's on       May 1st at 5 :10 p.m , and the

 8 second one    is on the same day at 5       :37 p.m.

 9 Q.       Who's the party on the second call?

10 A.       John Martin     and Lavon "Becky " Dobie .

11 Q.       If we could play call       B5116 on     Page 438 .

12          (Audio   recording begins      playing    at 12 :43 p.m. )

13          (Audio recording       stops playing     at 12 :43 p.m. )

14          BY MS. JOHNSTON:

15 Q.       And B5118 on Page 4 40, who are the parties to

16 that call?

17 A.       John Martin     and Lavon "Becky " Dobie .

18 Q.       If we could play it      , please.

19          (Audio rec ording begins       playing    at 12 :44 p.m. )

20          (Audio recording       stops playing     at 12 :44 p.m. )

21          BY MS. JOHNSTON:

22 Q.       If you could describe for us -- strike that             .

23          Did you form an opinion       , based upon those two

24 calls , what Ms. Martin       and Ms. Dobie were arranging?

25 A.       Ms. Mart in, in      the third line down or third




                                                                  Page 121
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 122 of 205



 1 grouping , tells      Ms. Dobie that she 's just gotten a

 2 small amount of drugs from a friend in             Bethesda ,

 3 referring to       it as I got a couple little things for me            .

 4 Then Ms. Dobie asks Ms. Mart in to bring her a small

 5 one , saying jump in the car        and bring me -- run me a

 6 small one    and bring it here.        Ms. Martin agrees to       ,

 7 referring to the small one       , referring to a quantity of

 8 drugs .

 9           In the second call , Mr. John         Martin   tells Ms.

10 Dobie that Ms. Paulette        Mart in is on her way to         deliver

11 to her , to Ms . Dobie .

12 Q.        If we could go to the next call         , B5124   on Page

13 441.

14           Who are the parties to this call?

15 A.        Paulette    Martin   and Reece Whiting .

16 Q.        What date    and time does it take place?

17 A.        It's May 1st , 8: 03 p.m.

18 Q.        If you could play it     , please .

19           (Audio    recording begins    playing    at 12 :45 p.m. )

20           (Audio recording s     tops playing     at 12 :45 p.m. )

21           BY MS. JOHNSTON:

22 Q.        Based upon your training       and experience , who are

23 Ms. Martin     and Mr. Whiting    discussing on Page 441?

24 A.        Gwen Levi.

25 Q.        "S even Locks ."     Do you know what that refers to?




                                                                Page 122
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 123 of 205



 1 A.         Yes.

 2 Q.         What is that?

 3 A.         It's a common nickname for the            Montgomery    County

 4 Detention    Center located on       Seven Locks Road.

 5 Q.         If we could go to the next call           , B5300 on Page

 6 443.

 7            What is the date an     d time of this call?

 8 A.         This is on    May 3 rd at 1 :37 p.m.

 9 Q.         Who are the parties?

10 A.         This is    Paulette   Martin   and Milburn     Bruce

11 Walker .

12 Q.         If we could play B5300       , please .

13            (Audio    recording starts     playing     at 12 :46 p.m. )

14            (Audio recording      stops playing       at 12 :46 p.m. )

15            BY MS. JOHNSTON:

16 Q.         Based upon your training        and experience , what

17 are Ms. Martin       and Mr. Walker discussing in this call?

18 A.         Mr. Walker 's ordering a quantity of crack              and

19 powder from       Ms. Martin.

20 Q.         What are the terms or the language in the call

21 that lead    you to that conclusion?

22 A.         The first part of the call       , Mr. Walker asked           Ms.

23 Martin if she's going         to be home , and she replies , yes.

24 She then asks a question to determine what kind of

25 drugs he's looking for        , but she mixes her code words in




                                                                     Page 123
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 124 of 205



1 the sentence saying     , what kind of outfits are you

2 looking for      for the show , instead of what kind of

3 tickets for the show or outfits          for your godson .      S he

4 kind of combine s the two and says , outfit s for the

5 show.    Then he wanted the size         8.   T he hand's already

6 done , which refers to quantity of crack cocaine            , either

7 an eighth of a kilo or eighth of an ounce            .   Then he

8 wants a sixteenth of a         -- either an ounce or a

9 sixteenth of a kilogram of powder in addition to the

10 first quantity.

11 Q.      And the code word used for           drugs here?

12 A.      Yes.    The first one is "outfits        " and there's

13 "hand's already     done ," but outfits is what she uses.

14 Q.      If you could write Page 443 next to "outfits" up

15 on the board.      I think    "outfits " is on the first page         .

16 A.      (Witness indicating.)

17 Q.      Now if we could go to the next call,            B5336 , on

18 Page 444.   Who are the parties to this call?

19 A.      This is    Paulette    Martin   and Lavon "Becky " Dobie .

20 Q.      On what date     and time does this call take place?

21 A.      On 5/3/2004 at 6 :36 p.m.

22 Q.      How long is this call?

23 A.      This call in total is 14 minutes.

24 Q.      Are we , again , just playing a portion of the

25 call?




                                                               Page 124
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 125 of 205



1 A.       No, we are not .      W e're not plying the entire

2 call , we're just pla ying a portion.

3 Q.       We're just playing a portion        ?   What portion of

4 the call are we playing?

5 A.       From the beginning to the two minutes and 12

6 seconds in.

7 Q.       Did you notice in reviewing it whether there

8 were any error s in the transcript?

9 A.       Yes.

10 Q.      Where is that?

11 A.      On Page 446 , the middle of the page         , has "Becky "

12 Dobie saying that she had on that thing          , and then it's

13 unintelligible .     She actually says that thing they had

14 bonded out that she was running on.

15 Q.      Okay .   And on this page , there are some

16 notations concerning other transcribed portions; is

17 that correct?

18 A.      That's correct.

19 Q.      So what are the other transcribed portions we

20 are listen ing to    as we listen to this recording?

21 A.      The second section goes from two minutes and 43

22 seconds to three minutes       and 34 seconds, and the        third

23 goes from five minutes      and 17 seconds to seven minutes.

24 Q.      If we could please play        B5336 beginning on Page

25 444.




                                                               Page 125
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 126 of 205



 1            (Audio recording begins playing at 12                :50 p.m. )

 2            (Audio recording s       tops playing       at 12 :55 p.m. )

 3            BY MS. JOHNSTON:

 4 Q.         Detective , based on your training             and

 5 experience , do you know what             Ms. Martin     and Ms. Dobie

 6 were discussing beginning on Page 444?

 7 A.         Yes.

 8 Q.         Beginning with Page 444         .    Was there any

 9 reference to drugs on that page             ?

10 A.         Yes.

11 Q.         Can you describe what it is?

12 A.         "Becky " Dobie,    about three quarters of the way

13 down , says you have tickets for the half street,

14 referring to a     quantity of cocaine as the half street                 ,

15 half ounce , or half gram.          Is that      -- that's the one by

16 the Hard Rock Cafe , Ms. Dobie says,               identifying      the

17 cocaine     further as she wants crack cocaine             .    Ms. Martin

18 says she's got one left        .

19            Then on the top of Page 445           , Ms. Dobie says , I

20 got to get your nephew        , referring to her husband            , a

21 ticket .     Meaning , a quantity of cocaine.           He wanted to

22 do the     Hard Rock Cafe .        Meaning , he wants crack.

23 Q.         If you could write on our chart              Page 444    and

24 Page 445 next to the code word              "ticket ".

25 A.         (Witness indicating.       )




                                                                      Page 126
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 127 of 205



 1 Q.         There 's a discussion in that call about          Ms.

 2 Levi .   B ased on your training      and experience      and your

 3 review of other calls      , was Ms. Martin being truthful

 4 with Ms. Dobie about her knowledge of            Ms. Levi?

 5            MR. MONTEMARANO :    Objection , Your Honor.

 6            MS. JOHNSTON:     I'll rephrase the question.

 7            BY MS. JOHNSTON:

 8 Q.         In reviewing the telephone call       , was there any

 9 reference based upon your training           and experience     and

10 your review of previous calls who was being discussed

11 in this call?

12 A.         Yeah.   The second half focuses on         Gwen Levi.

13 Q.         Based upon your review of       previous   calls, at the

14 time of this call     , did Ms. Martin already know about

15 Ms. Levi's arrest?

16 A.         Yeah.   I think we've actually just played a few

17 of them.      Ms. Martin knew that she was arrested           and

18 that she was at      Seven Locks.

19 Q.         Those calls included     the had cal ls with      Mr.

20 Scott that we 've played yesterday          and this morning?

21 A.         Yes.

22 Q.         There's a reference on Page 444 to          "D og " and

23 "S mack "?

24 A.         Yes.

25 Q.         Who are those individuals?




                                                                Page 127
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 128 of 205



 1 A.        "Dog " is William    Turner , Gwen Levi's partner ;

 2 and "S mack " is Claude      Arnold, a long -time friend of         Ms.

 3 Levi.

 4 Q.        Okay.    What is   Ms. Dobie saying with reference

 5 to -- based upon your training          and experience , what 's

 6 Ms. Dobie telling       Ms. Martin on     Pages 446    and 447 when

 7 she discuss es Ms. Levi?

 8 A.        On 446?

 9 Q.        Pages 446 and 447.

10 A.        They're talking about      Ms. Levi    and that she had

11 been out on bond       and they were --     Ms. Dobie,     in the

12 middle of the paragraph       , she was talking about that she

13 was out on bond , that she was running on          .    Meaning , she

14 was a fugitive , had been a fugitive          , and Ms. Dobie

15 says , I don't know if you knew that          , but that's why      I

16 was asking if it       was a new charge or if they just got

17 her on the old charge.

18           In other words , Ms. Dobie is try ing to find out

19 if the    arrest    of Ms. Levi is relate     d to the fact of an

20 old charge , which she       was a fugitive     on , or a new

21 charge.

22 Q.        Based upon your training        and experience , would

23 that be important to somebody engaged            in drug

24 trafficking?

25 A.        If you had done transactions with that person             ,




                                                                Page 128
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 129 of 205



 1 obviously that person would have information for the

 2 government that could hurt you.

 3 Q.       Calling your attention to         Page 447.

 4          Based on your training        and experience , what is

 5 Ms. Dobie describing for        Ms. Martin in this portion of

 6 the call?

 7 A.       She's actually talking about the old case that

 8 Ms. Levi was arrested on       , the case in     Montgomery

 9 County , and describes it as        a crazy case anyway       ,

10 driving an    F-ed up tag , broken tail lights,          and dirty .

11 Meaning , your license plates aren't correct             .   You've

12 got a broken taillight       and you're carrying drugs            and

13 then the police put the siren on          and you keep going .

14 Meaning , Ms. Levi didn't immediately stop           .

15          Then she goes about the drugs that              Ms. Levi had

16 on her that she didn't hide them or           toss them out the

17 window , Ms. Dobie says , I don't mean no bricks because

18 you can't conceal them nowhere        .   I'm talking about a

19 sandwich bag with less than 20        , but she doesn't finish

20 the sentence , but she's refer ring to         less than 20

21 gram s, so she's saying      Ms. Levi should have concealed

22 them , hid the drug s in the car , or tossed them out the

23 window when she had the opportunity.

24          MR. WARD:     Objection , Your Honor.

25          THE COURT:     Objection to what?




                                                                 Page 129
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 130 of 205



 1          MR. WARD:     His characterization or his

 2 assumption that somebody was going to toss something

 3 out the window.

 4          THE COURT:     Overruled.

 5          BY MS. JOHNSTON:

 6 Q.       The term    "bricks ," based upon your             training and

 7 experience , refers to      what?

 8 A.       That would refer to kilograms of cocaine                , which

 9 would be much more difficult to hide or conceal in a

10 traffic stop.

11 Q.       Okay.     I don't know if we have the word              "bricks "

12 up on the board yet as a code word.             If we don't         , if

13 you could add it with the page reference.               Check the

14 second page      and make sure.

15          Detective    Sakala , is it on            the sec ond page ?       If

16 you could just double check           and make sure it's not

17 there.

18 A.       No.

19 Q.       Then please add it       .       That's    Page 447.

20 A.       (Witness indicating.         )

21          MS. JOHNSTON:       Your Honor , that could conclude

22 my questions on that conversation              , and I know the

23 Court's schedule.

24          THE COURT:     All right         .   Ladies and gentlemen      ,

25 we' ll take a recess for lunch until ten minutes after




                                                                       Page 130
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 131 of 205



 1 2:00.

 2                  (J ury excused at 1 :01 p.m. )

 3                  (Off the record at 1:01 p.m.)

 4                  (O n the record at 2     :13 p.m. )

 5            MR. MONTEMARANO :    A preliminary matter       , Your

 6 Honor.

 7            THE COURT:   Yes, sir.

 8            MR. SUSSMAN :   Something with regard to a         Jenks

 9 inquiry.     There was a lot of grand jury on          Detective

10 Sakala , who will finish up at some point          , and it was

11 blank.

12            THE COURT:   What?

13            MR. SUSSMAN :   A lot of the pages in our grand

14 jury on the     Jenks were blank .      Obviously , they've been

15 redacted .     For purposes of the record, we would request

16 that the government furnish the          Court with the actual

17 page for in camera review.       Obviously      , the government's

18 position is that they're not relevant            to us .   And while

19 I trust them implicitly      , it's a trust      we verify , and we

20 would like a review of those by the            Court when the

21 Court get s the opportunity.

22            MS. JOHNSTON:     I would like to     advise the Court

23 that the portion s that are redacted generally involve

24 people that are not involved in this trial.

25 Particularly they involve conversations between              Mr.




                                                                Page 131
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 132 of 205



 1 Mangual   and his co-conspirator s who are not on trial

 2 here ; conversations with       Mr. Barber, with       Luis Mangual ,

 3 Sr ., with any number of people          and not people that are

 4 on trial here ; or calls between          Ms. Levi    and her son ,

 5 Craig Scott , or Ms. Levi       and Ms. Johnston,       or Ms. Levi

 6 and Mr. Turner ; calls that , again , Agent Sakala           has not

 7 referenced or discussed here in court          .     So, those

 8 portions of that testimony were redacted.

 9           Also , they may have been redacted if he

10 summarized any information cooperators provided              and

11 relayed that to the grand jury because that would not

12 -- he has not testified here about what corroborators

13 told him , so those are the thing         s that were redacted

14 from his grand jury testimony        , which is several hundred

15 pages long because he testified before the grand jury                 ,

16 I think , five or six times.

17           So there's some that was redacted having to do

18 with insurance     fraud that also is not subject of this

19 trial.    I don't believe that counsel is entitled to an

20 in camera review unless        they've    showed the government.

21           THE COURT:    Is there some indication that

22 something has been held back that shouldn't have             ?     B ut

23 if there's not , I'm not sure        I want to be      the

24 supervisor of     redacting.

25           MS. JOHNSTON:      I certainly am prepared if the




                                                                Page 132
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 133 of 205



 1 Court wants --

 2            THE COURT:    If you wish to reserve the issue for

 3 appellate review, then perhaps we can have the

 4 unredacted    transcript filed under seal so that it's

 5 there if an appellate court wants to look at it                 and see

 6 if the redactions were proper.

 7            MR. MONTEMARANO :    We respectfully submit that

 8 that is an analysis which in the first instance must be

 9 introduced    to the trial court knowing the           case .    And

10 while I appreciate       Your Honor's desire not         to be --

11            THE COURT:    A ll right .      I guess   I can't get out

12 of this.

13            MS. JOHNSTON:     I would appreciate if counsel

14 could cite some authority for that that says that the

15 Court has to --

16            THE COURT:    I'm not going to       do it now .     Why

17 don't we    -- instead of delaying this jury like we did

18 this morning , if anybody want s to give me authority on

19 the notion that      I should do a review of the          unredacted

20 transcript to be satisfied that the redactions are

21 within the scope of the redactions given by               Ms.

22 Johnston, please give it to         me .    If we're going to

23 proceed on that basis      , I will -- if       I'm satisfied that

24 there's authority for me to do it           , then we'll do it      .

25            MR. MARTIN:     W ell, I don't know that there's any




                                                                   Page 133
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 134 of 205



 1 legal authority.       I haven't had an opportunity to look

 2 at the issue .     I wasn't with my brother counsel when

 3 they were discussing this       , but there's a practical side

 4 to this as far as      I'm concerned , and that is it look s

 5 like I'm going to be leading off with the             cross-

 6 examination of     Detective    Sakala .    If there is something

 7 in there that the      Court thinks that we should be

 8 entitled to , then I'd like to see it before            I begin my

 9 cross-examination.

10          MR. WARD:     An other practical consideration         , Your

11 Honor , is that if the      Court does not review it        and make

12 a determination , and the Court of          Appeals makes a

13 determination later on      , if there is an appeal       , that we

14 should have been afforded the opportunity to use

15 portions, then we end up going through this whole

16 ten -week mess again,      I suggest.      I m ean , it seems to me

17 to be such an elementary        and basic proposition that            --

18          THE COURT:     Why don't    I do this?      I'll consider

19 whatever argument you want to make on the notion they

20 need to do this.     Give me an unedited         and an edited

21 version of the transcript       , and I'll decide , after        I

22 look at it , whether      I can do what you want me to do            .

23 In the meantime , let's get this jury in.

24          I have three administrative matters to bring to

25 your attention .      First,   the foreman of the jury asked




                                                                  Page 134
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 135 of 205



 1 to have some little       stick ie s to put on things so they

 2 can go back to things they want to look at.         We gave

 3 them that.

 4          The second thing the jury         asked -- and I think

 5 they may be    misinformed      -- they asked to have        Ms.

 6 Johnston please turn your microphone back on after

 7 bench conferences.

 8          You don't turn it off, do you        ?

 9          MS. JOHNSTON:       I turn the microphone off for

10 bench conferences     , Your Honor.

11          THE COURT:     Doesn't it -- when        I mute it    --

12          MS. JOHNSTON:     If    I'm wearing this microphone up

13 at the bar, it would project what           I'm saying , because

14 this microphone , I don't think , is hooked           up.

15          THE COURT:     I t doesn't get hush      ed b y the muting ?

16          MS. JOHNSTON:     No.

17          THE COURT:     Well , they've asked me to remind you

18 to please remember to turn it back on.

19          MS. JOHNSTON:       I would rather be reminded to

20 turn it back on than to         leave it on   at the bench.

21          THE COURT:     The third administrative matter they

22 were complaining about you        , but they should have been

23 complaining ab out me .      T hey said , please have        Ms.

24 Johnston wait a few moment        s after we come in        and sit

25 down before she proceeds        , so they can get their notes




                                                                 Page 135
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 136 of 205



 1 out .    I think   that 's my problem .          So , I will not let

 2 you proceed until         I look over there and they look

 3 happy.

 4           MR. MONTEMARANO :         Your Honor , we can provide you

 5 the authority you requested now.

 6           THE COURT:      Now ?

 7           MR. MONTEMARANO :         Now .

 8           THE COURT:      O kay .    G ive it to me now.

 9           MR. MONTEMARANO :         18 U. S. C., S ection 3500 --

10           THE COURT:      Wait a minute.

11           MR. MONTEMARANO :         18 U.S.C. , Section 3500 of the

12 Jenks Act , Subsection        C.

13           THE COURT:      Okay.      I'll look at it.

14           MR. MONTEMARANO :         The     Court shall order the

15 United    States to deliver a copy of that material.

16 There is also      Fourth    Circuit      authority , and I would

17 point the    Court to      United    States     v. Silva , 745 F.2d --

18           THE COURT:      Wait.     Slow down.

19           MR. MONTEMARANO :         United     States   v. Silva ,

20 S I L V A , 745 F.2 d 840-845 , it's a             Fourth   Circuit

21 case , 19 84, construing the          Jenks Act , Subsection         E, for

22 echo.     The witness' grand jury testimony              is considered

23 a statement that must be produced.                 It's Page 102 of

24 the most recent      --

25           THE COURT:       I'll take a look at it.




                                                                    Page 136
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 137 of 205



 1            In the    meantime, the        jury is coming in .

 2                     (Jury returns at 2       :21 p.m. )

 3            THE COURT:       Ladies and gentlemen, we have given

 4 you some       Post -I t notes , or whatever you call it           , for

 5 your use.        I hope it will assist you.

 6            I have discussed with the parties your                 questions

 7 about turning       mikes back on after bench conferences                 .

 8 We will try to make sure that's done                   .

 9            And if you have not been fully ready when you                      've

10 been seated       and the parties have         started , that's

11 because    I have told them to start           .       So , that's a

12 problem for me.       So      I will look very carefully over

13 there , and if nobody is not ready             , sort of say , hold on

14 a minute ; because         I'm the one that's saying, go.                She

15 goes when       I say go.

16            Are you ready?

17            A JUROR:    Y es.

18            THE COURT:       You may proceed        .

19                     (T he witness       resume s the stand. )

20            BY MS. JOHNSTON:

21 Q.         Detective       Sakala , could    I call your attention to

22 B5530 on       Page 38 .    No t 38 .    I'm sorry .       O n Page 450 of

23 Volume    3.

24 A.         (Witness indicating.          )

25 Q.         Before we play 5530          , the preceding call B5412 on




                                                                          Page 137
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 138 of 205



 1 Page 449 , is that included on this           CD?

 2 A.        Yes, it is.

 3 Q.        That was between     Mr. Harris     and Ms. Martin; is

 4 that correct?

 5 A.        That's correct.

 6 Q.        Now if we could go to next call           , B5 530 , on Page

 7 450 .    W hat is the date of that call       ?

 8 A.        May 5th , 2004.

 9 Q.        Is this call part of series of calls?

10 A.        Yes.

11 Q.        What are the other calls that relate to call

12 B5530?

13 A.        5531, 5552, 5735, 5754, 5763.

14 Q.        Over what time period did these calls take

15 place?

16 A.        First call is     May 5th , 2004 , 12 :21 p.m ., and the

17 second one is on May        6 at 5 :45 p.m.

18 Q.        That would be the last call in the series?

19 A.        Yes.

20 Q.        Who are the parties on       Call B5530 on Page 450?

21 A.        Paulette   Martin   and Learley     Goodwin.

22 Q.        If we could please play       Call 5530.

23           (Audio recording begins playing at 2           :24 p.m. )

24           (Audio recording stops playing at 2           :25 p.m.)

25           BY MS. JOHNSTON:




                                                                 Page 138
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 139 of 205



 1 Q.       If we could go to the next call          , B5531 , what

 2 time does this call take place in relation to the one

 3 we just heard?

 4 A.       Right after the previous call she calls --             Ms.

 5 Martin calls     Mr. Goodwin    back.

 6 Q.       Who are the parties -- if we could play B5531.

 7          (Audio recording begins        playing    at 2 :25 p.m. )

 8          (Audio recording       stops playing at      2 :25 p.m. )

 9          BY MS. JOHNSTON:

10 Q.       And the next call, B5552       , on Page 453.     What is

11 the time on this call in relation to the last one?

12 A.       This is a couple hours after the previous call.

13 Q.       Who are the parties      ?

14 A.       Ms. Martin    and Mr. Goodwin       again.

15 Q.       If we could play B5552.

16          (A udio recording begins playing at           2: 26 p.m. )

17          (Audio recording       stops playing     at 2 :26 p.m.)

18          BY MS. JOHNSTON:

19 Q.       I believe the next call on that series is 5735               ,

20 which is on Page 456      .

21 A.       Yes.

22 Q.       Who are the parties to that call?

23 A.       Paulette    Martin    and Learley    Goodwin.

24 Q.       And what time does that take place?

25 A.       This is almost       4 o'clock -- 3 :56 in the




                                                                Page 139
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 140 of 205



 1 afternoon the same day.

 2 Q.         If we could play it       , please.    B 5735.

 3 A.         I'm sorry ?

 4 Q.         Excuse me .

 5 A.         This is the next day,          I'm sorry.

 6 Q.         Okay.   If we could -- if we could play B5735,

 7 please.

 8            (Audio recording begins playing at 2             :27 p.m. )

 9            (Audio recording        stops playing     at 2 :2 8 p.m.)

10            BY MS. JOHNSTON:

11 Q.         Then if we could go to the next call, B5754                 on

12 Page 459.     This call also occurs on May 6; is that

13 correct?

14 A.         Yes.    May    6 at 4 :42 in afternoon.

15 Q.         Who are the parties?

16 A.         Paulette      Martin   and Learley    Goodwin.

17 Q.         If we could play it       , please.

18            (Audio r ecording       be gins playing at 2     :28 p.m. )

19            (Audio recording       stops    playing   at 2 :28 p.m. )

20            BY MS. JOHNSTON:

21 Q.         If we could go to the next call           , B5763 , on Page

22 46 1.

23            Calling your attention to the top of the

24 transcription .          Does it indicate who the speakers are?

25 A.         The transcript indicates          Learley   Goodwin   and an




                                                                    Page 140
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 141 of 205



 1 unidentified male.

 2 Q.       Have you since been able to identify the voice

 3 of the unidentified male?

 4 A.       It's the same male by the name of           Cuba.   That's

 5 all we 've identified him as.

 6 Q.       So the transcript should changed to reflect that

 7 it is Cuba; is that correct?

 8 A.       Yeah.    Cub a, last name unknown.

 9 Q.       If we could please play B5763 on           Page 46 1.

10          (Audio    recording begins playing at 2       :29 p.m. )

11          (Audio recording       stops playing    at 2 :30 p.m. )

12          BY MS. JOHNSTON:

13 Q.       Based on your training        and experience , did you

14 form an opinion as to what was being discussed between

15 Ms. Mart in , Mr. Goodwin,      an d then Cuba?

16 A.       Yes.

17 Q.       Could you describe for the ladies and gentlemen

18 of the jury what that is,         referencing the calls      ?

19 A.       Ms. Martin       and Mr. Goodwin   were making

20 arrangements to buy a half kilo of cocaine from                  Cuba.

21 They were going to split it        , and Ms. Martin was loaning

22 Mr. Goodwin      $3,000   to pay for his half.

23 Q.       If you could , referencing the calls beginning

24 with B5530 on Page 450       , is there any reference in that

25 call to drugs?




                                                                Page 141
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 142 of 205



 1 A.       On the t hird line , Mr. Goodwin        is saying , just

 2 wondering    if you found     any tickets .    Meaning , if you

 3 found any cocaine.        Ms. Martin says , I'll call , Louis .

 4 Meaning , Luis Mangual .       Then Mr. Goodwin     says he was

 5 going to tell her      Cuba just called ; in other words ,

 6 Cuba had just contacted him        , and Mr. Good win was just

 7 checking with     Ms. Martin to see if she needed any.        She

 8 replies that she do     esn't, saying no , I'm not quite

 9 ready yet .     Meaning , she still has cocaine       .

10          That's about it as far as the talk with             Cuba.

11 Q.       The word "tickets     ", is that the code word in

12 this conversation      that refer s to drugs ?

13 A.       Yes.

14 Q.       Could you please note Page 450 on our chart next

15 to the word     "tickets "?

16 A.       (Witness indicating.      )

17 Q.       The next call , B5531.        When does that call take

18 place in relation to the one we just heard?

19 A.       Right after she calls him back          and changes her

20 mind.

21 Q.       What does she say in the call?

22 A.       She's asking if      Cuba will do a half a kilo        and

23 Mr. Goodwin     says check    and find out.

24 Q.       What's the    phrase that refer s to half a kilo?

25 A.       Half a sheet cake.




                                                                Page 142
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 143 of 205



 1 Q.         Based upon your training        and experience, is it

 2 unusual for somebody who is not finished with their

 3 drugs yet to order more drugs?

 4 A.         No.   No.    You're keeping supply.    You don't want

 5 to run out.      That   's the wors t thing you want to do.

 6 Q.         If you put on our code list       , if cake is there     ,

 7 write Page 452 , or add it to the list of codes.

 8 A.         (Witness indicating.    )

 9 Q.         Now, in reference to        Call B5552 on Page 453, is

10 there -- what , if anything,        does Mr. Goodwin      ask Ms.

11 Martin to do in reference to a drug transaction?

12 A.         What he's trying to do is get his funds together

13 so they can split the kilo like they had talked about

14 before , third line down , he's saying, maybe           I get one

15 an d we split it together.         I was try ing to get the ends

16 together , and she says , no problem.

17            And then Mr. Goodwin     goes, so we can do it like

18 that.    I ain't even want to , so he won't have no

19 excuse , you know , and what he's referring to is again

20 he wants the kilogram wrapped in its original

21 container , so if they had just ordered a half a

22 kilogram , then that would        give Mr. - -- Cuba the

23 opportunity to possibly dilute the quality             of the

24 cocaine.     He wants to avoid that situation.      So if they

25 order the    whole kilogram , then Mr. Cuba won't have any




                                                                Page 143
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 144 of 205



 1 excuse .    In other words      , it will still come in the

 2 original container.

 3 Q.         Then again , were any other code words used in

 4 that call?

 5 A.         No , I don't see any.

 6 Q.         If we could continue with the next call,              I

 7 believe it was B5735.         Again, in that call       , is Mr.

 8 Goodwin    just reporting the status of his negotiations

 9 with Mr. Cuba?

10 A.         Yes.    Page 456, fourth section down        , he's

11 complaining that he was having a hard time

12 understanding        Cuba , which as we heard in the previous

13 call , he is very difficult to understand with his

14 accent.     He has a very heavy accent          , but on Page 457 ,

15 he reiterates that he wants the cocaine packaged in its

16 original containers       , telling him in the middle of the

17 page , see what happened is when          I stressed th at we

18 wanted the dresses packed the way they come in              .

19 Mean ing , he want s the kilograms pack ed in their

20 original containers.

21            Then further down     , Mr. Goodwin      says because we

22 don't want them packed no other way.         Again, he want           s

23 the kilograms        pack ed in the original way , and if

24 they're not , th en he doesn't want them.              He's saying if

25 there's my        positive,   I'll call you .     A nyway , when he




                                                                   Page 144
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 145 of 205



 1 gets information, he'll let            Ms. Martin know.

 2 Q.        Is there a code word use        d for drugs on that

 3 page ?

 4 A.          Yes , he's referring to the kilograms as

 5 dresses .

 6 Q.        If you could write Page 457 next to the code

 7 word "dresses ."

 8 A.        (Witness indicating.     )

 9 Q.        Then if we go to next call,         B5754, on Page 459.

10 And what is     Mr. Goodwin    reporting to     Ms. Martin in that

11 call?

12 A.        Mr. Goodwin    says he 's reporting that he spoke to

13 Mr. - -- spoke to     Cuba about the sixth line down         , Mr.

14 Goodwin   says , like I said , the whole thing is you know

15 that it's wrapped properly       , again , referring to the

16 kilograms being wrapped properly.

17           Then Mr. Goodwin     said , so he told     me to come on.

18 In other words , Mr. Cuba said , okay , that's fine.             Come

19 on and we'll do the deal.       Then       Mr. Goodwin    goes , I was

20 try ing to   go half down the middle        , and in the shipment

21 of "dress es."     Meaning , he was try ing to       split the

22 money with     Ms. Martin for a half a kilogram each            but he

23 says he's about three short        .     Meaning , $3,000 short in

24 his half , and he want s to know if he can borrow it from

25 Ms. Martin .     Ms. Martin confirms the amount by saying            ,




                                                                 Page 145
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 146 of 205



 1 grand , confirming the $3,000.

 2 Q.         In that call , is there a code for the kilo of

 3 cocaine?

 4 A.         He refers to     -- there's the second part       , the

 5 ship ment of dresses.

 6 Q.         Okay .   P ut , next to the word     "dresses ", Page

 7 459.

 8 A.         (Witness indicating.     )

 9 Q.         Then in the last call        , B5753, on Page 461,      what

10 is the significance of that call?

11 A.         This is the call where         Mr. Goodwin   is at   Ms.

12 Martin's house      and calls    Cuba , and they're trying to

13 make arrangements to meet         and they don't come to any

14 concrete arrangements       , and it's included with         Mr.

15 Goodwin    -- Mr. Cuba saying he will hold the cocaine for

16 them for     Mr. Goodwin,    but they would call him later.

17 Q.         Is there any code word us        ed in that call ?

18 A.         Mr. Goodwin    refers to the cocaine as sugar.

19 Hold that sugar for me.

20 Q.         If we could write sugar         up on our board as

21 another code word      , if it's not there already       ,

22 indicating     Page 462 .

23 A.         (W itness i ndicating. )

24 Q.         Now if we could go to         Call B5560 on Page 454.

25            Who are the parties to that conversation?




                                                                   Page 146
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 147 of 205



 1 A.        Paulette    Martin    and Bruce Milburn        Walker .

 2 Q.        On what date    and time did that take place?

 3 A.        May 5th at 3 :21 p.m.

 4 Q.        If we could play that      , please.

 5           (Audio recording begins       playing        at 2 :40 p.m. )

 6           (Audio recording       stops playing        at 2 :40 p.m. )

 7           BY MS. JOHNSTON:

 8 Q.        Base d upon your training an        d experience , what

 9 are Mr. Walker       and Ms. Mart in discussing in that call?

10 A.        Mr. Walker is ordering a quantity of cocaine

11 from Ms. Martin , referring to it            as a size     8 for

12 Grandma   Jones .

13 Q.        If we could turn to the very next call,               Page

14 455, B5728,      on what date    and time does that call take

15 place ?

16 A.        May 6 at 3 :38 p.m.

17 Q.        Who are the part ies to      this call?

18 A.        Paulette    Martin    and LaNora    Ali .

19 Q.        Again , are we merely playing a portion of that

20 call?

21 A.        Yes.

22 Q.        If we could please play B5         72 8.

23           (Audio re cording begins      playing        at 2 :41 p.m. )

24           (Audio recording       stops playing        at 2 :41 p.m. )

25           BY MS. JOHNSTON:




                                                                   Page 147
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 148 of 205



 1 Q.       Based upon your training        and experience , what is

 2 Ms. Martin asking      Ms. Ali in that call?

 3 A.       Whether she wants cocaine when she comes             out,

 4 Q.       The code word for cocaine is?

 5 A.       Tick ets.

 6 Q.       If we could please turn to -- if you could turn

 7 to the chart      and write Page 455 next to the word

 8 "tickets ".

 9 A.       (Witness indicat ing.)

10 Q.       If we could move on to calls B5801           and 5802 on

11 Page 463    and Page 46 4, are you familiar with those two

12 calls?

13 A.       Yes.

14 Q.       Who are the     parties in th ose two calls?

15 A.       George    Harris   and Paulette    Martin.

16 Q.       In particular , in reference to call B5802 on

17 Page 46 4, is there -- if we could play that call,

18 please , B5802 on     Page 46 4.

19          (Audio    recording   begins playing at 2     :42 p.m. )

20          (Audio recording      stops playing     at 2 :42 p.m. )

21          BY MS. JOHNSTON:

22 Q.       What is     Ms. Martin discussing with       Mr. Harris ?

23 A.       They had agreed to meet in a previous call             and

24 she 's calling him back to find out how much drugs he

25 wants.   He identifies as the        8 o'clock show referring




                                                                Page 148
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 149 of 205



 1 to either an eighth of an ounce or eighth of a kilogram

 2 of cocaine.

 3 Q.       Wh en looking at calls B5804 on              Page 465    and B581

 4 on Page 46 4 -- s trike that .

 5          Looking at B5804 on        Page 46 5, did you f orm an

 6 opinion based upon those call -- that call we've just

 7 heard with      Mr. Harris    and the call on         Page 46 5 as to

 8 what occurred between         Ms. Martin     and Mr. Harris ?

 9 A.       Yes.

10 Q.       What is that ?

11 A.       He came over to buy cocaine from her              , and 5804

12 he's telling her      I'm just    around the corner.

13 Q.       If we could go to       Call B5818 on         Page 46 6, what

14 is the date      and time of that call?

15 A.       May 7, 2004 , at 1 :18 p.m.

16 Q.       Who are the parties to that call?

17 A.       Paulette    Martin    and Learley     Goodwin.

18 Q.       And this call is taking place day after the

19 previous calls involving the discussion about                    Cuba?

20 A.       Yeah, that's correct.

21 Q.       If we could play it      , please.

22          THE COURT:     What was the call number again              ?

23          MS. JOHNSTON:        B5818 on     Page 46 6.

24          THE COURT:     All right    .     G ot it.

25          (Audio recording begins           playing     at 2 :43 p.m. )




                                                                     Page 149
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 150 of 205



 1           (Audio recording     stops playing      at 2 :43 p.m. )

 2           BY MS. JOHNSTON:

 3 Q.        If we can go to the next call, B5982            , on Page

 4 46 7.

 5           Who are the parties to this call?

 6 A.        Paulette   Martin   and Lavon "Becky " Dobie .

 7 Q.        Is Call B5986 the next call beginning on              Page

 8 47 5 related to the call B5982 at 467?

 9 A.        Yes, it is.

10 Q.        If we could play those two calls         , please .

11 First , B5982 on Page      467 .

12           (Audio recording begins       playing    at 2 :44 p.m. )

13           (Audio recording     stops playing      at 2 :52 p.m.)

14           BY MS. JOHNSTON:

15 Q.        Could you go to     the next call , B5986 on        Page

16 47 5?

17           What time does this call take place in relation

18 to the one we've just heard?

19 A.        The first call takes       place at 9 :04 in the

20 morn ing ; and the second      one is   9:41 , about 35 minutes

21 late r.

22 Q.        If we could play it -- who are the part            ies to

23 this call ?

24 A.        An unknown male     and Paulette     Mart in.

25 Q.        If we could play it      , please.




                                                                 Page 150
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 151 of 205



 1            (Audio r ecording begins playing at 2           :52 p.m. )

 2            (Audio recording       stops playing     at 2 :53 p.m.)

 3            BY MS. JOHNSTON:

 4 Q.         Going back to the first lengthy call            .   Is that

 5 an unredacted     call?

 6 A.         Yes.

 7            It is a redacted call,         I mean.

 8 Q.         It is a redacted call?

 9 A.         Yes.

10 Q.         How long was the actual telephone call?

11 A.         You have what we heard        , an d add nine minutes         and

12 30 seconds to that       .

13 Q.         What are    Ms. Dobie and      Ms. Martin discussing in

14 this telephone call?

15 A.         In the beginning of the call         , they start talking

16 about Mr. Goodwin,           Learley   Goodwin , on Page    468 .    Ms.

17 Martin , at the top of the page           , is saying,     Goody , don't

18 need no problems .           You know , I guess , for tickets .

19 But , Goody don't need to be            bothered with    nobody     he

20 don't know .      The attorney told him to leave it alone

21 for a minute .        Mean ing , because    of his pending case in

22 Prince   George's      County , Mr. Goodwin     should not be

23 dealing with people he do          esn't know right now.

24            Further down , Ms. Dobie even expands that

25 further.      Ms. Martin says if you don't know them all




                                                                     Page 151
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 152 of 205



1 these years , then you don't need to know them now                 , and

2 Ms. Dobie says even further a little bit down               , if you

3 ain't -- even though he may know them             , if he   ain't been

4 dealing with them        , don't    even start.   In other words      ,

5 even if you know the person           , if you neither currently

6 dealing drug s with them , you shouldn't be start             ing to

7 deal drug s with them.

8 Q.          Why is that , based on your training        and

9 experience?

10 A.         Because the person may be a cooperator working

11 for the police , which is          what they're talking about at

12 the top of     Page 469.

13 Q.         What reference has to do with the police           ?

14 A.         That's going to be at the top of         Page 469.

15 Q.         Explain it.

16 A.         Ms. Dobie,    the first line on the top         of Page 469

17 says, if    they mad at him , it ain't no question they mad

18 because they had him       , refer ring to    the police or law

19 enforcement.     In other words       , if the police are mad at

20 him , there ain't no question they're mad because they

21 had him.     In other words, they had arrested him, and

22 they di dn't get him .          Meaning , they didn't get him with

23 what they wanted to get him with           , so they're definitely

24 going to send someone       .     Meaning , the police are going

25 send an informant or cooperator to            do whatever they




                                                                 Page 152
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 153 of 205



 1 can .

 2           And there's a typ o on the next sentence where

 3 Ms. Dobie says , they're definitely going to send

 4 someone out the back avenue        , that's not what she says        .

 5 The word    "avenue " is wrong there .      I t's they're

 6 definitely going        to send someone back at him     .   Meaning ,

 7 the police are going to send an informant             or cooperator

 8 back at him to get additional evidence.

 9 Q.        Does that conversation continue through           ?

10 A.        Yeah .   W ell then the conversation       eventually

11 changes    to they're going to meet to do a drug

12 transaction , and it goes on for several pages where

13 they talk about different locations           and why some will

14 work and some won't.

15 Q.        On Page 47 1, is there a reference to church

16 people?

17 A.        Yeah.    On   Page 470   and 47 1, they're talking

18 about the church people being out there in reference to

19 if they're do in g a drug transaction        , all the people at

20 church would notice it        and they would be sticking out.

21 Q.        Is that all there is in that conversation?

22 A.        They go on for several pages        and finally agree

23 to meet at her school       , and Ms. Martin says she's going

24 to call back.

25 Q.        Indeed , is the next call the call back from             Ms.




                                                                   Page 153
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 154 of 205



 1 Martin ?

 2 A.         Yes.   She talks to t       he unknown male try ing to

 3 get a message to      "Becky " to try to meet her            , being   Ms.

 4 Martin , at the school.

 5 Q.         If we could go to         Call B6180 on    Page 478.

 6            What date an d time does this call take place?

 7 A.         It's on May 10 at 6        :52 p.m.

 8 Q.         Who are the parties to this conversation?

 9 A.         Paulette   Martin       and an unknown male.

10 Q.         If we could play it        , please.

11            (Audio r ecording begins        playing    at 2 :57 p.m. )

12            (Audio recording         stops playing    at 2 :57 p.m. )

13            BY MS. JOHNSTON:

14 Q.         Do you know the location being refer              red to in

15 that call referred to as            Larry's ?

16 A.         Residence on   Ogle thorpe .

17 Q.         If we could go to next call           , B6189.    What    date

18 an d time -- does that take place on the same date as

19 the call we just heard         ?

20 A.         Yeah , same date , 8 :13 p.m.

21 Q.         Who are speakers in this call?

22 A.         Paulette   Martin       and Learley    Goodwin.

23 Q.         Again , are we only listen       ing to a portion of the

24 call?

25 A.         That's correct.




                                                                       Page 154
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 155 of 205



 1 Q.        If we could please play B6189 on           Page 479.

 2           (Audio recording     begins    playing    at 2 :58 p.m. )

 3           (Audio recording     stops playing at 2: 59 p.m. )

 4           BY MS. JOHNSTON:

 5 Q.        Based upon your training        and experience , what

 6 are Ms. Mart in and     Mr. Goodwin      discussing in this call         ?

 7 A.        They're talking about get       ting a    source of

 8 cocaine   and how much     they have left .        Ms. Martin 's

 9 saying she's not quite out of cocaine          , saying    -- Mr.

10 Goodwin   says you need them to      , too, and      Ms. Martin

11 says , no -- or says , not really .         W ell , you know , I

12 ain't quite , but I was just taking it easy with the

13 other .   Meaning , she could buy some or she could not.

14                    Either way she could go      and, then Mr.

15 Goodwin   says I need to go , too , but only halfway            ,

16 referring to half a kilogram.       Then he goes on to refer

17 try ing to get a hold of       "Dumb & Dumber " to do that

18 again.    He's talking about calling         Michael    Thurman     in

19 Texas :   But it's getting late in the day           , and I may not

20 be able to get anyone      .   Meaning , he may call down there

21 but he may not be able to get a hold of them.

22 Q.        Any code words there used for kilos or cocaine                 ?

23 A.        Tickets.

24 Q.        Okay .   I f you could write     Page 479 next to our

25 code word    "tickets ".




                                                                   Page 155
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 156 of 205



 1 A.       (Witness indicating.         )

 2 Q.       If we could go to the            next call , B6198 , on Page

 3 48 1.   What is the date     and time of this call?

 4 A.       May 10, 2004 at 8       :43 p.m.

 5 Q.       Who are the parties to this call?

 6 A.       Ruby Harden and        Paulette     Martin.

 7 Q.       If we could play        it, please.

 8          (Audio r ecording begins           playing    at 3 :00 p.m. )

 9          (Audio recording        stops playing        at 3 :01 p.m. )

10          BY MS. JOHNSTON:

11 Q.       Based upon your training            and experience , what

12 are Ms . Harden and      Ms. Martin discussing in this call              ?

13 A.       Ms. Harden     is try ing to arrange a purchase of

14 co ca ine from    Ms. Martin.

15 Q.       Okay .    C ould you point out what portions of the

16 conversation refer to that?

17 A.       Two -thirds    of the way        down P age 48 1, Ruby Harden

18 says , oh girl .     So , look, did you get those tickets in                 ?

19 She's referring      to , did she have cocaine          .   Ms. Martin

20 says , yes , but she doesn't have transportation               .    A gain ,

21 the problem with       Ms. Harden     is she drives a

22 tractor -trailer     and she can't get the tractor            -trailer

23 down into the neighborhood        .       Ms . Martin is telling her

24 she doesn't have her car, so she can't get out of the

25 neighborhood to meet       Ms. Harden.




                                                                      Page 156
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 157 of 205



 1            Then they go on       to discuss that    Jackie   Terrell

 2 is there    and she's got company in the           house and that

 3 Ms. Martin doesn't want          to arouse any curiosity or

 4 suspicion on the part of            Ms. Terrell   and her friends ,

 5 and then Ms. Harden        identifies the amount she needs as

 6 one saying        I just need one.

 7 Q.         The code word for drug         s in this call?

 8 A.         "Tickets " again.

 9 Q.         Could you write       Page 481 next to the word

10 "tickets " there.

11 A.         (Witness indicating.       )

12 Q.         Now if we could turn our attention to the next

13 call, 6229 , on Page 48 3.

14            Is that call part of a series of calls            between

15 Ms. Martin        and Ms. Dobie ?

16 A.         Yes.

17 Q.         What are the other calls that are related to

18 B6229 ?

19 A.         6230 and 62 45.

20 Q.         What's the date       and time of the first call,

21 6229?

22 A.         May 11, 2004 , at 7 :19 in the morning.

23 Q.         The part ies to    that call?

24 A.         Paulette    Martin,    Lavon "Becky " Dobie, and     her

25 husband.




                                                                 Page 157
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 158 of 205



 1 Q.       If we could play?

 2 A.       Actually it     is -- her husband is not in this

 3 transcribed portion.

 4 Q.       Is he in the     untranscribed     portion?

 5 A.       That's correct.

 6 Q.       If we could please play        B6 229 on Page 48 3.

 7          (Audio r ecording begins playing at 3          :03 p.m. )

 8          (Audio recording      stops playing at       3:05 p.m.)

 9          BY MS. JOHNSTON:

10 Q.       Now , if you could go       on to the next     call , B6230 ,

11 on Page 48 5.

12          Does this call , likewise , take place on May 11?

13 A.       It does .    The CD on this call , I do not believe ,

14 is edited.

15 Q.       Okay .   S o we have portions of transcribed

16 portions are reflected in the transcript book beginning

17 on Page 48 5?

18 A.       That's correct .      F rom one minute 46 seconds to

19 two minutes and 39 seconds       .

20 Q.       Based upon your review of the call           , that is a

21 pertinent portion of the call for your testimony here?

22 A.       That's correct.

23 Q.       I would ask     Detective    Eveler to play B6230 ,

24 starting at 1 :46 into the call         and finishing at 2 :39.

25          (Audio recording begins playing at 3           :06 p.m. )




                                                                Page 158
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 159 of 205



 1            (Audio recording     stops playing        at 3 :07 p.m.)

 2            BY MS. JOHNSTON:

 3 Q.         If we could go to the next call, B6245, on               Page

 4 487.    What date and time does this call take place?

 5 A.         May 11, 2004 at 8    :45 a.m.

 6 Q.         Who are the part ies to     this call ?

 7 A.          Lavon "Becky " Dobi e and Officer          Carr, and    an

 8 Officer    Carter at the      Montgomery    County Detention

 9 Center.

10 Q.         Where is this call being made from?

11 A.         Ms. Dobi e is at the house on        Hayward .

12 Q.         If we could play this call, please           , B6245 on

13 Page 48 7.

14            (Audio r ecording begins        playing    at 3 :07 p.m. )

15            (Audio recording     stops playing        at 3 :13 p.m .)

16            BY MS. JOHNSTON:

17 Q.         If we could go back to the first of those calls,

18 B6229 , on Page 48 3.

19            Did you form an opinion as to what            Ms. Dobi e and

20 Ms. Martin were discussing in the excerpt we heard from

21 B6229 on     Page 48 3?

22 A.         They're talking about whether         Ms. Martin is

23 looking for a supply of heroin        , and the fourth line

24 down , or fourth section down       , Ms. Martin says, somebody

25 called me looking for them tickets like                Gwen did ,




                                                                  Page 159
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 160 of 205



 1 referring to it as -- referring to the heroin.                   I told

 2 them , the person that calls, that                I don't know nobody

 3 with those kind of -- that had a show like that.                    I

 4 don't know.

 5            And then Ms. Dobi e says that she has 50 grams of

 6 heroin .    She's     saying , I just got 50 of them         , but I'm

 7 down about        10 or 15    herself   now.      I found someone that

 8 got done rid of them          .    Meaning   that she sold some of

 9 the 50 grams of heroin that she got.

10            They go on - - I'm sorry .           T hey go on to discuss

11 the price of -- the price is identified at the bottom

12 of Page 48 3 as $100 a gram , and the second line on                    Page

13 484, Ms. Martin says that             I don't think he'll pay that          .

14 Meaning , $100 a gram.            It's too much     , and that they

15 were paying at $75 a gram            , which is the     price she was

16 looking for.

17 Q.         Based upon other intercepted calls between                 Mr.

18 Nunn and Ms. Levi        and Ms. Martin, did you form an

19 opinion as to what price they were receiving the grams

20 of heroin from        Ms. Levi for?

21 A.         Yes.    The prices were as          Ms. Levi got the heroin

22 for $ 65 a gram for          Mr. Uriarte .     S he sold it to   Ms.

23 Mar tin for $75 a gram.             Ms. Martin sold     it to Mr. Nunn

24 for $85 a gram .

25            MR. MITCHELL:          W hat was the last thing again?




                                                                    Page 160
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 161 of 205



 1          What was    the last thing you said      ?

 2          THE WITNESS:      The last price      Ms. Martin sold         it

 3 to Mr. Nunn for was $85 a gram.

 4          BY MS. JOHNSTON:

 5 Q.       What code word is used for the heroin?

 6 A.       "Tickets ".

 7 Q.       Okay.   If you could write         Page 48 3 next to the

 8 code word    "tickets ".

 9 A.       (Witness indicating.      )

10 Q.       On Page 48 4, there's also a reference at the

11 bottom to    "hot tickets. "

12          Do you know what      Ms. Martin was asking       Ms. Dobi e

13 in that portion      of the   call?

14 A.       No, I do not.

15 Q.       If we could turn to the next call, B 6230.

16          Is there a discussion between          Ms. Martin    and Ms.

17 Dobi e concerning     Ms. Ali ?

18 A.       I'm sorry .     I didn't hear that.

19 Q.       Is there a discussion in B6230 between            Ms. Dobi e

20 and Ms. Martin concerning         Ms. Levi ?

21 A.       Yes, there is.

22 Q.       On the first page     , there's a reference to        Gwen

23 and a reference to      "Dog ".   Based on your training         and

24 experience    and the calls , who are they referring to?

25 A.       Gwen Levi is      Gwen , and "D og " is William     "D og "




                                                                Page 161
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 162 of 205



 1 Turner.

 2 Q.         Further down , there's a discussion by         Ms. Dobi e

 3 about she don't know if she's going do a five or                a dime

 4 up there .

 5            Based on your training         and experience , what is

 6 she saying?

 7 A.         She didn't know if she was going to do five

 8 years or ten years.

 9 Q.         Then if we go to      the last call in that series,

10 B6245 on     Page 48 7.

11            Are you familiar with the locations that are

12 discussed in this call?

13 A.         Yes.

14 Q.         What are those locations?

15 A.         They're actually calling in to the         Montgomery

16 County Detention        Center on   Seven Locks Road in

17 Rock ville .       The other location mentioned is the actual

18 new detention center referred to            as the Clarksburg

19 facility .        I t's also , I think , referred to in other

20 calls as the        "boy s' facility ."    When they're talk    ing

21 about , you 're at the wrong jail         , she's at Clarksburg .

22 That's the two jails they're talking about.

23 Q.         In terms of the     -- once the new jail open       ed in

24 Clark burg back at this time        , in 2004 , what was the

25 Seven Locks facility used for?




                                                                  Page 162
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 163 of 205



 1 A.       They're actually still used for the same thing.

 2 When prisoners initially come in          , they go to    Seven

 3 Locks for processing.        If they are going to be held for

 4 any length of time at all        , either b ecause they didn't

 5 make bond or they are awaiting transfer            to someplace

 6 else , they are transferred        up to the Clarksburg

 7 facility within a week to ten day          s.

 8 Q.       I believe on       Page 490   there is a reference by

 9 Ms. Do bi e that Gwendolyn       Levi may be in a federal hold             .

10          Based on your training         and experience , do you

11 know what a      "federal   hold " refers to ?

12 A.       Yes.

13 Q.       What does that mean      ?

14 A.       That 's the hous ing of a federal prisoner in a

15 state facility , which is what's done in this area                .

16 There are no federal jails        , so to speak , so federal

17 prisoners are housed in local facilities.

18 Q.       Okay.     And then if we go on to Page          492 --       at

19 the bottom of 491      and the top of 49 2, there's a

20 discussion about investigator credentials.

21 A.       Yes.

22 Q.       The name referred to is         Cass ie Johnson.

23 A.       Yes.

24 Q.       Did you determine whether or not           Lavon Dobie 's

25 -- what her legal name was?




                                                                Page 163
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 164 of 205



 1 A.         It's Lavon Parker Dobie .

 2 Q.         On Page 492     there is a reference by      Ms.

 3 Dobi that she's an investigator for the courts.

 4            Did you find any evidence in reviewing the

 5 search warrant materials that          Ms. Dobi e was ever

 6 employ ed b y any court system as an investigator?

 7 A.         No.

 8            MS. JOHNSTON:      Your Honor,   I don't know if the

 9 Court wants to take its break.

10            THE COURT:     Yes .   W hy don't we take a recess

11 until 25 of      4:00.

12                      (Jury excused at 3:18 p.m.)

13            THE COURT:     Counsel , stay behind.

14            Ms. Johnston,     I've looked at the      Jenks Act , and

15 I've looked at the        Silva case , and also the      Roseborough

16 case .     I t would appear it would be appropriate for me

17 to look at an        unredacted   transcript.

18            MS. JOHNSTON:      Your Honor , I was hop ing to save

19 the Court some time .         I have already asked that we make

20 copies .     A s I said , there are several hundred pages.

21 I've asked that they be made before the end of the day

22 for the     Court.

23            THE COURT:     All right.

24            MR. WARD:      A l ittle light reading for tonight,

25 Judge.




                                                                 Page 164
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 165 of 205



 1            MS. JOHNSTON:        I was just instructing our

 2 assistant to have my legal assistant to start making

 3 the cop ies for     the Court in        the even t the Court decided

 4 it wanted to review it         .

 5            THE COURT:       Y eah .    It would appear that      I

 6 should .    I need to have the redacted version                and

 7 unredacted      version .

 8            MS. JOHNSTON:      Absolutely       , Your Honor.

 9            THE COURT:      Fine .      We'll   be back at , what did       I

10 say?   25 of?     25 of.

11                    (Off the record        at 3 :22 p.m. )

12                    (On the record        at 3 :37 p.m. )

13            THE COURT:       Ms. Johnston , when will those

14 transcripts be available           ?

15            MS. JOHNSTON:      They're copying them right now           .

16            THE COURT:      I f you want , you can      have them take n

17 straight to my chambers.

18            MS. JOHNSTON:      Will do.

19            THE COURT:      All right     , bring them in.

20                    (Witness resumes the stand.            )

21                    (Jury returns        at 3 :38 p.m. )

22            THE COURT:      Is everybody ready?

23            Okay , you may proceed.

24            BY MS. JOHNSTON:

25 Q.         Detective    Sakala , could we turn our attention to




                                                                    Page 165
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 166 of 205



 1 the ne xt call, B6295 , on Page 49 4?

 2            Do you have that call in front of you?

 3 A.         Yes.

 4 Q.         Who are the parties to this call?

 5 A.         Paulette    Martin    and Learley    Goodwin.

 6 Q.         What is    the date    and time of the call?

 7 A.         May 11 , 2004 , at 3 :01 p.m.

 8 Q.         If we could play the call , please.

 9            (Audio r ecording begins playing at 3            :39 p.m. )

10            (Audio recording       stops playing    at 3 :39 p.m. )

11            BY MS. JOHNSTON:

12 Q.         What are -- during the conversation             , did you

13 determine whether        or not any of that conversation had

14 to do with drug trafficking?

15 A.         Yes, it did.

16 Q.         What is that?

17 A.         At the    bottom of    Page 49 4, where Mr. Goodwin

18 says , I want to talk to         , what you call it      , Friday .    Mr.

19 Goodwin    clarifies he's talking about           Cuba .    W hat he's

20 referring to there is on           Friday , Cuba will have cocaine

21 for them.

22 Q.         And there's a reference to          Tiffany     Goody .    Do

23 you know who        "Tiffany    Goody " refers to?

24 A.         Yeah.     I think she's saying      , did you say

25 Tiffany,    Goody?      And that's referring to          Tiffany




                                                                      Page 166
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 167 of 205



 1 Vessels.

 2 Q.       Now if we could go to call B6306 on              Page 49 7.

 3          Again , Detective      Sakala , where       I've skipped some

 4 of the shorter      call s with   people not on trial here        .

 5 Those calls are accurately on the           CD as you testified

 6 the first day of trial        ; is that correct?

 7 A.       Yes.

 8 Q.       Okay .   I f we could go now       to B6306 on     Page 49 7.

 9          Who are the parties to this call?

10 A.       Paulette    Martin    and LaNora    Ali .

11 Q.       What date    and time does it take place?

12 A.       This is on May 11, 2004       , at 4 :35 in the

13 afternoon.

14 Q.       If we could play it      , please.

15          (Audio r ecording begins       playing       at 3 :41 p.m. )

16          (Audio recording stops playing at              3:42 p.m.)

17          BY MS. JOHNSTON:

18 Q.       Based upon your training an         d experience , is

19 there any discussions relating to drug            s in this call?

20 A.       Yes.

21 Q.       What is that?

22 A.       Two very short sentences       , as most of the

23 conversation is about personal matters unrelated                 to

24 drugs , but the bottom two-thirds of the way down on

25 Page 29 7, LaNora     Ali says , I'm going to come by to see




                                                                  Page 167
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 168 of 205



 1 you this evening , and then on         Page 49 8, in the middle

 2 of the personal conversation, two-thirds of the way

 3 down , Ms. Ali says , well , all right .          O ne this time ,

 4 identifying the amount of cocaine she wants.

 5 Q.        Then the conversation about a          Kevin Scott and

 6 clothing .

 7           Ba sed upon your review of other calls         , is that

 8 at all drug -related?

 9 A.        It is not related to drugs at all.

10 Q.        Did you make a determination during the course

11 of the investigation if          Mr. Scott actually was involved

12 in selling of clothing       ?

13 A.        He was involved in selling of clothing.

14 Q.        If we could go to       the next   call, B63 30 on Page

15 500.   What date     and time is this interception?

16 A.        This is on page -- excuse me         , may 11, 2004 , at

17 6:42 p.m.

18 Q.        Who is intercepted?

19 A.        It's Ruby Harden       leaving a message for     Paulette

20 Martin.

21 Q.        If we could play it      , please.

22           (Audio r ecording begins      playing    at 3 :44 p.m. )

23           (Audio recording       stops playing at    3:44 p.m. )

24           BY MS. JOHNSTON:

25 Q.        Based on your review of the telephone calls              and




                                                                Page 168
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 169 of 205



 1 surveillances      and items seized from various residences                ,

 2 did you form an opinion as to whether or not              Ms.

 3 Harden    had any other business relationship          with Ms .

 4 Martin?

 5 A.        No, she did not.

 6 Q.        If we could go to the next telephone call             ,

 7 B6369 , on Page 501.     Who are the parties to this call?

 8 A.        Lavon Parker Dobi e -- I'm sorry .         What call was

 9 it ?

10 Q.        B6369 on Page 501    .

11 A.        Lavon Parker Dobie , Paulette       Martin , and Gold ie

12 Dobie,    who is   Lavon Parker Dobie 's husband.

13 Q.        What date   and time does this call take place?

14 A.        May 11 at 10 :13 at night.

15 Q.        If we could play     Call B6369 on Page 501.

16           (Audio r ecording begins playing at 3        :45 p.m. )

17           (Audio recording     stops playing     at 3 :46 p.m.)

18           BY MS. JOHNSTON:

19 Q.        Based upon your train     ing and experience,         did you

20 determine whether      or not there was any discussion about

21 illegal drugs in this conversation?

22 A.        Yes, there was.

23 Q.        If you would    please explain with reference             s to

24 the transcript.

25 A.        During the conversation      , "Becky " Dobi e is




                                                                Page 169
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 170 of 205



 1 talking about another source of cocaine that her

 2 husband , Goldie     Dobi e, has arranged .       Right at the

 3 start of the conversation about the other tickets                , your

 4 nephew said that just one of the people said any day

 5 now .   Meaning   that the source would come through with a

 6 supply of cocaine any day now           and could be tonight,

 7 tomorrow, any day now         , "Becky " says.

 8          Then at the end , Goldie actually gets on the

 9 phone and talks about the source          , saying he's on home

10 confinement , and as soon as he comes off           .   Meaning , as

11 soon as he comes off home confinement            , we're really

12 going to be all right , which means we're really going

13 to be suppl ied with      cocaine at that time      .   It finishes

14 up with , yeah , we're really going to be all right               as

15 soon as he comes out      .     Meaning , we'll be fine as far as

16 the supply of cocaine as soon as he comes out of home

17 confinement .

18 Q.       Calling your attention         -- first of all , the word

19 "tickets " refer s to drugs; is that correct?

20 A.       That's correct.

21 Q.       If you could please make a notation of 501

22 somewhere near the word          "tickets " on that sheet.

23 A.       (Witness indicating.       )

24 Q.       And then there's also a reference in the middle

25 of that page to      "candy " or to "hard rock taffy ."




                                                                Page 170
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 171 of 205



 1 A.         Yes.

 2 Q.         Based on your training        and experience , do either

 3 of those terms have anything to do with drugs?

 4 A.         Becky's talking about crack here             , but I don't

 5 know the context of what she's discussing                .   S he's

 6 talking about the crack we ordered             , did they ever bring

 7 them , but then you can't make out what she says                , so I

 8 don't know the exact context of what she's talking

 9 about.

10 Q.         In terms    of the    words "tickets " here , they refer

11 to -- about them other tickets          , and the nephew said any

12 day now.

13            Who is the nephew that was being referred to?

14 A.         Goldie   Dobie,   who subsequently gets on the phone

15 and refer s to Paulette          Martin as    Aunty .

16 Q.         The tickets referenced there is to?

17 A.         Drugs.     Cocaine.

18 Q.         Do you know whether       or not    Goldie     Dobi e was

19 actually the nephew of           Ms. Martin?

20 A.         I don't think either one of them are any

21 relation.    The case was full of people who refer to

22 each other in a relative way          ; brother, sister, aunt,

23 uncle .    I'm not sure there are very many people who are

24 related at all .        It's just how they referred to each

25 other.




                                                                    Page 171
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 172 of 205



 1 Q.       If we could go to      the next call , B6435 , on Page

 2 503.

 3          What date does this call take place?

 4 A.       May 12, 2004 , at 6 :38 p.m. -- excuse me         , 4 :38

 5 p.m .

 6 Q.       That would be the      next day?

 7 A.       Yes.

 8 Q.       Who are the part ies to       this call?

 9 A.       Paulette    Martin   and Lavon "Becky " Dobie.

10 Q.       If we could please play        Call B6435 on Page 503.

11          (Audio r ecording begins       playing    at 3 :49 p.m. )

12          (Audio recording      stops playing      at 3 :52 p.m. )

13          BY MS. JOHNSTON:

14 Q.       Based upon your training        and experience , what

15 are Ms. Dobi e and Ms. Martin discussing in this call?

16 A.       They're discussing that        Ms. Dobi e has someone

17 who has ten ounces of cocaine for sale for              $900 to

18 $950, and    Ms. Martin , after they --       after much

19 confusion about what they're exactly talking about does

20 not purchase cocaine that way        , would only purchase it

21 in the full kilogram amount.

22 Q.       If you could reference        in the call , indicate

23 where those references that support your opinion take

24 place beginning on Page 503.

25 A.       If you start on Page 503,         Ms. Dobie,    the third




                                                                Page 172
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 173 of 205



 1 line down , says , I need you to look at some tickets.

 2 Which one ?    Some tickets .

 3           Then Ms. Martin , first thing , said , heroin ?

 4 Refer ring to , you're talking about the           one s -- excuse

 5 me , not talking about heroin here.        She thinks it's the

 6 one s that is cocaine     .   S he's try ing to clarify , you

 7 talking   about the    one like you used to get?       Yeah.

 8 What color are they?

 9           Then at   the bottom , Ms. Martin is try       ing to find

10 out the price .      She says , how much       is it for the

11 up -front tickets , front -seat tickets , refer ring to            a

12 kilogram of cocaine.      Then       Ms. Dobi e says , I think

13 there's ten left.

14           Then Ms. Martin t hinks that she's not talking

15 about kilograms      and says again , how much is it for the

16 whole front -- the full front          -seat tickets again     ?

17 Saying , how much     for a kilogram.

18           Top of Page 504 , Ms. Dobi e says , it's not full .

19 Meaning , it's not a full kilogram         .    Then Ms. Martin

20 goes , no, I don't want anything like that.             I was

21 looking out for my brother       .     I was thinking about him,

22 baby.

23           Further down on     the page -- a little bit below

24 the halfway part , Ms. Martin says , they got some small

25 tickets , huh?      Still try ing to clarify the amount




                                                                  Page 173
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 174 of 205



 1 they're talking about.               Ms. Dobi e says , ten of them.

 2 Ms. Mart in says , no , I'm not              interested in no     -- and

 3 Ms. Dobi e says , you know what               I'm talking about    ?    And

 4 Ms. Martin     -- this is where she confuses what they're

 5 talking about with heroin             .

 6          She says , like , again?              And Paulette says , no ,

 7 like you get .     And Ms. Dobi e says the whole thing , ten

 8 whole one s.     Again , there's confusion.                 Ms. Martin now

 9 thinks she's talking about ten kil                ograms .     S o she goes ,

10 okay , that's wh at I'm saying.               How much that?     How much

11 are they asking for that?

12          Top of Page 505.             Then Ms. Dobi e says , $9-950 ,

13 refer ring to    $90 0-$ 950.        That confuses         Ms. Martin .        S he

14 says nine or nine-fifty          ?        Then she realizes they're not

15 talking about kilos     .       Ms. Dobie says , I can probably

16 get them .     He's saying       950.        Then Ms. Martin is again

17 saying, no,     I thought you meant the big                 ones, the

18 kilograms, not ounces       .     And Ms. Dobi e says $9-950 .

19 Okay.    I misunderstood .            Ms. Martin :     I thought you

20 meant the big tickets       .

21          Then they go on in the discussion how they're

22 not going    to buy the kilograms parsed out because                      of

23 the previous problems they've had with cocaine not

24 being of good quality       .     E ven though she doesn't go              into

25 it here , that's what she's referencing                .




                                                                       Page 174
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 175 of 205



 1           Then the third line from the bottom on Page 505

 2 -- actually , it says , I don't know          nobody ...

 3           Then she goes , people        I know want   the up- front

 4 tickets .     In other words , people such as herself or                Mr.

 5 Goodwin   are going to want the whole kilogram             , not

 6 parcelled down into       ounces.

 7           Lavon Dobi e then goes they want the whole.              They

 8 definite ly, the people        you know , I never bothered          with

 9 nobody like that .      Meaning , I've never purchased small

10 amounts of the      ounce quantities .       S he wants to buy it

11 in the whole k ilogram      quantities .

12 Q.        How do you know      in this call it's ten ounce?

13 A.        The $9-950 is the price for an ounce.         The         $900

14 to $950     would b e the price for an ounce      , an d refer ring

15 to the ounce of cocaine.

16 Q.        If you could mark on our board the reference                  s to

17 "ticket s" that occu rred in this conversation beginning

18 with Page 503 .

19 A.        (Witness indicating.      )

20 Q.        And 504   and 505.

21 A.        (Witness indicating.      )

22 Q.        Now if we could turn to the next call, B6445.

23           Is this call related to several other calls               ,

24 6445 on Page 507 ?

25 A.        Yes.




                                                                 Page 175
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 176 of 205



 1 Q.       What are the other calls that --

 2 A.       6445, 6446,     6450, and   6571 .

 3 Q.       What time period do those four calls take place                 ?

 4 A.       First one takes place       on May 12 at 5 :51 p.m .,

 5 and the last call , 6571, takes place on            May 13 at    1:3 8

 6 p.m.

 7 Q.       If you could begin by turning to the first call,

 8 B6445 , page 507 , who are the part       ies to    this call?

 9 A.       Paulette    Martin    and Larry Nunn.

10 Q.       If we could play this       call, please.

11          (Audio r ecord ing begins      playing    at 3 :58 p.m. )

12          (Audio recording stops playing           at 3 :58 p.m. )

13          BY MS. JOHNSTON:

14 Q.       Now if we can go to       the next   call , B6446 .

15          What time does this call take place in relation

16 to the   one we've just heard?

17 A.       About a little bit over a half hour later.

18 Q.       Okay.

19 A.       6:33 p.m.

20 Q.       Is it the next call that was actually

21 intercepted over the telephone line?

22 A.       Yes, it was.

23 Q.       So there    weren't   any calls in between?

24 A.       No.

25 Q.       If we could please play -- who are the part             ies




                                                                Page 176
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 177 of 205



 1 to B6446?

 2 A.       Larry Nunn and Paulette        Martin.

 3 Q.       If we could please play 6446 on Page 509              .

 4          (Audio r ecording begins       playing    at 3 :59 p.m. )

 5          (Audio recording      stops playing      at 3 :59 p.m. )

 6          BY MS. JOHNSTON:

 7 Q.       And Call B6450 occurs at what time in relation

 8 to the call we've just heard?

 9 A.       It occurs at 7 :01 p .m., which is about a half

10 hour after the last call       .

11 Q.       Who are the parties to this call?

12 A.       Paulette    Martin   and Lavon "Becky"      Dobie .

13 Q.       If we could play B6450       , which is on Page 511.

14          (Audio r ecording begins playing at 4          :00 p.m. )

15          (Audio recording      stops playing      at 4 :0 3 p.m. )

16          BY MS. JOHNSTON:

17 Q.       If we could turn to the next call, B6571.            On

18 what date    and time does this       call take place?

19 A.       May 13, 2004 , at 1 :38 in the afternoon         .

20 Q.       Who are    the part ies to    this call?

21 A.       Paulette    Martin   and Larry Nunn .

22 Q.       If we could please play B6571 on Page            514 .

23          (Audio r ecording begins playing at 4          :03 p.m. )

24          (Audio recording      stops playing      at 4 :0 4 p.m. )

25          BY MS. JOHNSTON:




                                                                  Page 177
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 178 of 205



 1 Q.        Based upon your training       and experience , what's

 2 being discussed in these calls between            Ms. Martin        and

 3 Mr. Nunn and Ms. Martin        and Ms. Dobie?

 4 A.         Ms. Martin has received       60 grams of heroin from

 5 William   Turner , and she's try ing to sell it for $85 a

 6 gram to   Lavon Dobi e and /or Larry Nunn.

 7 Q.        William    Turn er, is   he also known by another

 8 name?

 9 A.        Dog.

10 Q.        If we could turn to the next call, B6445             .

11           Can you tell us what in this call serves as a

12 basis for your opinion?

13 A.        The fourth line down      , Ms. Martin is talking

14 about she's got tickets that they said are $80             .       T he

15 girl has to get $5      , so $85 for the total price       .       I f she

16 is going to bring them from          Baltimore , talking about

17 bringing the tickets from          Baltimore , then she

18 identif ied the amount as being , I think , maybe about

19 100 left .       T hat changes in subsequent calls.        Mr. Nunn

20 says he's    to going make a -- some calls real soon or

21 real quick       and Ms. Martin t el ls him to call her back.

22 Q.        Again , the term    "tickets " is used to refer to

23 what?

24 A.        In this case heroin.

25 Q.        If you could please write Page 507 next to the




                                                                  Page 178
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 179 of 205



1 term "heroin " on the board.

2 A.         (Witness indicating.    )

3 Q.         Looking at the next call,       B5 446 on Page 509 ,

4 could you explain to us what in this call supports your

5 opinion?

6 A.         Paulette   Martin receives a call back from          Larry

7 Nunn.    T hird line down , Ms. Martin says she now calls

8 back .   S he only has -- they only have 60 -- she only

9 has 60 tickets left.      Someone just called her back

10 probably , so she's identifying the amount now with 60

11 grams of heroin .     And she's calling the        -- little bit

12 up from the bottom    , about the sixth line up       , Ms. Martin

13 says, I told her bring them in anyway         .    Meaning , I told

14 the person with the heroin to bring them anyway            ; I may

15 be a able to find someone that wanted them           , I don't

16 know.   Meaning , she may be able to find a customer             and

17 they're try ing to get the money to get           Gwen out .

18 Meaning they're try     ing to get the money to       assist in

19 Gwen's defense or bail.

20 Q.        On that page again   , the term    "t ickets " refers to

21 what?

22 A.        They're talking about the 60 tickets left            as 60

23 grams of heroin.

24 Q.        If you could write Page 509 next to the word

25 "tickets " on the chart .




                                                               Page 179
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 180 of 205



 1 A.       (Witness indicating.      )

 2 Q.       If we could go to next call        , B6450 , on Page 511.

 3          Could you indicate       to us what in that call

 4 supports your opinion they were discussing tickets --

 5 heroin from    Ms. Levi    and Mr. Turner ?

 6 A.       Ms. Martin , at the second group          , saying , I got

 7 somebody --    I know someone that got so          me of the    same

 8 kind of tickets for the show as           Gwen had , identifying

 9 them as heroin , but they're        front-seat tickets are $85,

10 meaning $85 a gram.

11          Ms. Dobie says that's not a bad price.           Further

12 down , they was a friend of your          Godmother's , that's

13 identifying    that Mr. Turner,        Godmother -- her       Godmother

14 is Gwen Levi .

15          Then Ms. Dobie is asking about the quality of

16 the heroin and saying, third line           up from    the bottom ,

17 do they know     what kind of number or whatever          ?    She's

18 try ing to identify the quality of the heroin.

19          Ms. Martin says , the same kind.          They are still

20 some that they had     .   Meaning , it was still some that

21 Gwen had.    That's what     I'm saying .        They're from your

22 Godmother , again identifying          William    Turner as the

23 source of the heroin.

24 Q.       On Page 512?

25 A.       Page 512,    fourth line down from the bottom            .




                                                                  Page 180
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 181 of 205



 1 That's , again , Ms. Dobi e talking          about the quality    .

 2 She's saying , I mean , I did appear to be            , you know ,

 3 because looks are         deceiving, and     that is all .    I n other

 4 words , you can't tell the quality            of the heroin just by

 5 looking at it.

 6          The next grouping of           Paulette   Martin is, again ,

 7 identifying the quantity that she has              , saying at the

 8 end of that saying        , he got whole group want to go to

 9 the show, 60 people.         That's 60 grams of heroin.      Then

10 fourth line down from there        , there's a       typo where   Lavon

11 Dobi e says , do me a favor.       Dam     n, I don't know how to

12 -- see if you can     .     And the transcript reads      , I got the

13 old number.    It says       -- she actually       says , I got Dog's

14 number , meaning     William    Turner.      Then go on   to talk to

15 Claude   Arnold.

16 Q.       If you could reflect on the chart the page

17 numbers where      "tickets " is used.       Page 511.

18 A.       (Witness indicating.       )

19 Q.       And then if we could go to next call             , B6571 in

20 that series , if you could tell us what in this call

21 supports your view        , your opinion.

22 A.       This is just a continuing call with              Paulette    and

23 Larry Nunn where she's         identifying     she has 60 grams for

24 sale .   T here's fourth line down         , she left those 60

25 tickets here with me        , mean ing that    she actually has




                                                                 Page 181
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 182 of 205



 1 them right now , the 60 grams of heroin.

 2 Q.         Further down on Page 514       , there 's a reference to

 3 a girlfriend going to         California , and white boy's

 4 girlfriend     Mississippi.

 5            Do you know who that refers to?

 6 A.         "White boy " is Nathan       King .     White boy's girl is

 7 Elizabeth     Evans .    And girlfriend going to         California ,

 8 that's     talking   about   Estelle    Brimm .

 9 Q.         If you could write on the chart at Page 514             ,

10 next to the code word         "60 tickets ".

11 A.         (W itness indicating.    )

12 Q.         If we could go to     A1648 on        Page 518.   What time

13 does this interception take place?

14 A.         This is on May 14 at 1       :07 in the afternoon.

15 Q.         Who is intercepted?

16 A.         Ruby Harden    is leaving     a message for       Paulette

17 Mart in.

18 Q.         If we could play that call        , please.

19            (Audio r ecording begins       playing     at 4 :11 p.m. )

20            (Audio recording     stops playing        at 4 :11 p.m. )

21            BY MS. JOHNSTON:

22 Q.         Based upon your training        and experience , what is

23 Ms. Harden     asking    Ms. Martin about?

24 A.         She's leaving a message for            Ms. Martin telling

25 her she wants to buy cocaine to her               , referring to those




                                                                   Page 182
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 183 of 205



 1 tickets.

 2 Q.         If you could make a notation of         Page 518 .

 3 A.         (Witness indicating.     )

 4 Q.         If we could go to the next call, B6695         , on Page

 5 519.   What date      and time of that call?

 6 A.         May 14, at 5 :34 in the evening.

 7 Q.         Okay.   Who participated in that telephone

 8 conversation?

 9 A.         Paulette    Martin   and Derrick    Bynum .

10 Q.         If could play it , please.

11            (Audio r ecording begins     playing    at 4 :12 p.m. )

12            (Audio recording      stops playing    at 4 :12 p.m. )

13            BY MS. JOHNSTON:

14 Q.         Based upon your training      and experience      and your

15 review of all of these calls, what's the conversation

16 between    Mr. Bynum and Ms. Martin about?

17 A.         Mr. Bynum is check ing to see if she's got any

18 cocaine for sale , and Ms. Martin is telling him she

19 does not.

20 Q.         Turning to the next call, B        6783 , on Page 520.

21 Do you have that call in front of you?

22 A.         Yes.

23 Q.         Is that    one of a series of calls that take place

24 on May 15 of 2004?

25 A.         Yes.




                                                                Page 183
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 184 of 205



 1 Q.       What's the date       and time of the first call?

 2 A.       May 15 at 12 :52 p.m.

 3 Q.       What are the other related calls?

 4 A.       67 84, 6804, 6807 , and 68 -- no , 6807.

 5 Q.       Who are the parties in those conversations            ,

 6 those four conversations?

 7 A.       Paulette    Martin    and Learley     Goodwin.

 8 Q.       I believe you gave the time of the first call

 9 May 15 at 12 :52 p.m.         What 's the time of the last call

10 in that series of four telephone calls?

11 A.       The same date , 6 :26 p.m, May 15.

12 Q.       If we could begin by playing those calls            , B6783

13 on Page 520.

14          (Audio r ecording begins       playing    at 4 :13 p.m. )

15          (Audio recording       stops playing at      4 :14 p.m.)

16          BY MS. JOHNSTON:

17 Q.       Turning your attention to the next call           , B6784.

18 How soon does this call take place in relation to the

19 preceding call?

20 A.       It's the next call on the          B line.   It took place

21 about a half hour later at 1        :27 p.m.

22 Q.       The part ies are      the same ?

23 A.       Yes .

24 Q.       If we could play B6784 on Page 521.

25          (Audio r ecording begins       playing    at 4 :14 p.m. )




                                                                Page 184
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 185 of 205



 1           (Audio recording     stops playing      at 4 :14 p.m. )

 2           BY MS. JOHNSTON:

 3 Q.        Going to   the next call , B6804 , on Page 522.

 4           Does this call take place later on the same

 5 date?

 6 A.        Yes.   At 5 :48 p.m. , between      Paulette   Martin     and

 7 Learley   Goodwin.

 8 Q.        If w e could play it , please.

 9           (Audio r ecording begins      playing    at 4 :15 p.m. )

10           (Audio recording stops playing          at 4 :15 p.m. )

11           BY MS. JOHNSTON:

12 Q.        Going to the next call , B6807 , on Page 523.

13 When does that call take place?

14 A.        The same day , 6 :26 p.m.

15 Q.        Who are the parties?

16 A.        Paul ette Martin and     Learley    Goodwin.

17 Q.        If we could play it     , please.

18           (Audio r ecording begins      playing    at 4 :15 p.m. )

19           (Audio recording     stops playing      at 4 :15 p.m. )

20           BY MS. JOHNSTON:

21 Q.        In relation to that last call        , did you have

22 occasion to review the pole cam in this case?

23 A.        I'm sure   I did.    I don't have a notation of it

24 though.

25 Q.        Let's go back to the first of the          call s in this




                                                                Page 185
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 186 of 205



 1 series starting with         B -- in regard to these calls         , did

 2 you form an opinion as to what took place between                  Ms.

 3 Martin    and Mr. Goodwin      on May 15 of 2 00 4?

 4 A.         Yes.

 5 Q.         What is that?

 6 A.         Ms. Martin     and Mr. Goodwin    talk about obtaining

 7 cocaine from        Cuba , and initially    Ms. Martin says she

 8 can't go off all the way        , meaning she can't buy a

 9 kilogram .        S he change s that to purchasing a kilogram           ,

10 and that buy is set up for           Mr. Goodwin    to buy from     Mr.

11 Cuba late r that evening.           Mr. Goodwin    comes by the

12 house , picks up money from          Ms. Martin , and then

13 deliver s the kilo to her later          on that night.

14 Q.         If we could     -- in terms of looking at the call               s,

15 is there any particular language beginning with               B6783

16 that is the basis for the opinion you've just given us?

17 A.         Yes.     Fourth line down   , Page 520 , Cuba --

18 Learley    Goodwin says      Cuba 's saying he     has a supply of

19 cocaine.     Mr. Goodwin      asks , need one, mean ing do        you

20 want a kilogram?         Paulette    Mart in says , no, not   one.          I

21 can't go all the way.

22 Q.         What does that phrase mean       , she can't go all          the

23 way ?

24 A.         She can't buy a full kilogram         , so she's not

25 interested in it.




                                                                 Page 186
    Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 187 of 205



 1 Q.      Are you familiar with the term             "fronting "?

 2 A.      Yes.

 3 Q.      Based on these calls        , what was     Mr. Goody and Ms.

 4 Martin's relationship with          Mr. Cuba ?

 5 A.      They were paying cash.        It becomes even cleare             r

 6 he was not fronting cocaine to them         , they were paying

 7 cash for it.

 8 Q.      Then in    Call B6784 , which happens , I guess , a

 9 half hour later , how does that affect your opinion?

10 A.      Ms. Martin changes her order         , changes her mind          ,

11 tells Mr. Goodwin that she will go all the way             , meaning

12 she will buy a kilogram.

13 Q.      Page 522 .      Is there anything in that call that

14 supports your conclusion that there was a meeting                 and a

15 delivery that night?

16 A.      Ms. Martin calls      Mr. Goodwin        to see if he was

17 still coming over to pick       up the money .        Mr. Goodwin

18 says , I wasn't meet ing him until        7:00, so I wasn't

19 coming over there until before then         .      And Mr. Goodwin,

20 I'm getting re ady to come over in a few minutes to                 --

21 mean ing to    Hayward .

22 Q.      If we go to the next call        , B6824 , on Page 524.

23 What time does this call take place?

24 A.      This is at 11 :06 on the        15 th -- 11 :06 p.m. on

25 the night     of the   15th after    Mr. Goodwin     would have




                                                                Page 187
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 188 of 205



 1 dropped     off the cocaine to     Ms. Martin .

 2 Q.        Who are the part ies to       this call?

 3 A.        Paulette   Martin and    Claude    Arnold.

 4 Q.        Okay .   I f we could play it     , please.

 5           (Audio r ecording begins playing at 4           :19 p.m. )

 6           (Audio recording     stops playing      at 4 :19 p.m. )

 7           BY MS. JOHNSTON:

 8 Q.        Based upon your training        and ex perience,     what is

 9 Ms. Martin advising       Mr. Arnold of in this telephone

10 call?

11 A.        She's cooking crack      and letting the crack cakes          ,

12 as she refers to them      , cool off     and in the morning , you

13 will be good to go     , meaning in the morning         , it will be

14 good to come over      and pick up the      crack from her.

15 Q.        And what is the term used for         "crack " in that

16 call?

17 A.        She refers to , I fixed those cake         s.

18 Q.        Could you add the Page 524 next to the code

19 "cakes ?"

20           If it's already up there, add it as a code.

21 It's Page 524 .

22 A.        (W itness indicating    .)

23 Q.        The next series of calls beginning on             Page 525

24 and continuing through call         A1684 , which ends on Page

25 534.




                                                                 Page 188
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 189 of 205



 1           We re those the calls we played this morning?

 2 A.        Yes.   This is the calls where they move               d the

 3 drug s from Ms. Martin's house to the school.

 4 Q.        Could we then pick up with             Call B6931 , on Page

 5 535 ?

 6           What's the date an         d time of the       Call B6931 on

 7 Page 535?

 8 A.        It's on    May 17 at 2 :54 p.m.

 9 Q.        Who are the parties to the call?

10 A.        Paulette     Martin      and Reece Whiting .

11 Q.        If we could play the call            , please.

12           (Audio r ecording begins            playing    at 4 :21 p.m. )

13           (Audio recording          stops playing       at 4 :2 1 p.m. )

14           BY MS. JOHNSTON:           '

15 Q.        Based on your training             and experience     and your

16 in vestigation,      who is     Ms. Martin referring to here?

17 A.        Fourth line down , she's refer ring to               Gwen Levi

18 as the    girl that's going          to get 25 year s to life.

19 Q.        If we could go to the next call               , B6935 , on Page

20 536 .    What is the date          and time of that call?

21 A.        This is 5 :17       --    May 17 at 3 :07 in the

22 afternoon.

23 Q.        This is the day after the move of everything to

24 the school; is that correct              ?

25 A.          Correct.    The next day after they moved




                                                                      Page 189
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 190 of 205



 1 everything.

 2 Q.       Who is the party to this conversation?

 3 A.       Paulette    Martin     and Milburn    Bruce Walker .

 4 Q.       If we could play this call          , please.

 5          (Audio r ecording begins       playing    at 4 :22 p.m. )

 6          (Audio recording        stops playing    at 4 :23 p.m.)

 7          BY MS. JOHNSTON:

 8 Q.       In that telephone conversation          , it referenced

 9 the studio refer s to where ?

10 A.       I'm sorry,    which part?

11 Q.       The conversation        B6935 on    Page 536 and 537,

12 there are reference s to the studio .

13 A.       Yes.

14 Q.       What are they referring to?

15 A.       The school on        South Dakota    Avenue.

16 Q.       Based on your training        and experience      and your

17 analysis of all of these calls         , what is    Mr. Walker

18 asking   Ms. Martin to do?

19 A.       He wants to get buy cocaine from her            , but she

20 doesn't have a ride to go         over to     the studio , so he's

21 going to pick her up      .

22          On Page 537     he's going    to pick her up      and run

23 her over to the studio so they can do the deal there.

24 Q.       Indeed , Call B6937 on page 538?

25 A.       Yes.    He's calling her --         "he " being Mr. Walk er ,




                                                                Page 190
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 191 of 205



 1 is calling        Paul ette Mart in to tell her that he's front

 2 of her   house to      pick her up.

 3 Q.         If we could    Call A1703 on     Page 539 .    Is there

 4 another call that's also associated with this call?

 5 A.         Yes.

 6 Q.         What call is that?

 7 A.         B6948.

 8 Q.         Who are the parties in these two calls           , A1703

 9 and B6948?

10 A.         The first call , Ruby Harden leaves a          message for

11 Paulette    Martin .     In the second call it's        Paulette

12 Martin   and Ruby Harden .

13 Q.         The first call is     A1703.    Over which line does

14 that call take place?

15 A.         That's over her cellular telephone           -- Ms.

16 Martin's cellular tel       ephone,   the A line.

17 Q.         The return ed call    is over what line?

18 A.         The B line .    The hard line at     Hayward .

19 Q.         What is the date     and time of the first -- the

20 message that's left on in         Call A1703 on Page 539?

21 A.         The first one is on the 17th at 4          :56 in the

22 afternoon , and the second        one is at 4 :59.

23 Q.         If we could please play        A1703 on    Page 539.

24            (Audio r ecording begins       playing    at 4 :25 p.m. )

25            (Audio recording     stops playing       at 4 :25 p.m. )




                                                                 Page 191
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 192 of 205



 1          BY MS. JOHNSTON:

 2 Q.       Likewise , if we could turn to call          B6948 on       Page

 3 540 and play that call.

 4          (Audio r ecording begins       playing    at 4 :25 p.m. )

 5          (Audio recording       stops playing     at 4 :26 p.m. )

 6          BY MS. JOHNSTON:

 7 Q.       Based upon your training        and experience , what

 8 were Ms. Martin      and Ms. Harden     discussing in the

 9 message in the phone call?

10 A.       The first phone call      , Ruby left a message that

11 she wanted to buy cocaine        , referring to it as a ticket          ,

12 and pick up the ticket today        , if she could.

13 Q.       If you could please write           Page 539 on the chart

14 next to the word      "ticket ".

15 A.       (Witness indicating.      )

16 Q.       And then going to the actual conversation that

17 took place on     May 17 on Page 540     .

18          If you could , explain what          Ms. Martin is telling

19 Ms. Harden    in that conversation.

20 A.       Fifth line down , Ms. Martin says , I got in last

21 night but close d the shop down for a minute           .   Meaning ,

22 she's had to stop selling cocaine for a little bit to

23 get things reorganized      .

24          Then she goes on to say       , they had a meeting      ,

25 referring to the      Takoma    Park neighborhood     meeting    about




                                                                Page 192
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 193 of 205



 1 the traffic to      and from her house .      S he goes   on to say ,

 2 and said there was a lot of traffic here            , which had

 3 nothing to do with the tickets here          , of course,      meaning

 4 there's a lot of traffic to          and from the house that         had

 5 nothing    to do with the drug business       .

 6           The guy from    Baltimore , refer ring to       Kevin

 7 Scott, had been bringing a lot of clothes over                there ,

 8 and the clothes are       legit,    as oppose d to the drug

 9 business , which is      not.

10           So she goes , they had a meeting again          , referring

11 to the    Takoma   Park meet ing and , you know , just to be on

12 the safe side      she cleared     out , meaning she took

13 everything out an     d took it to the stud       io, which    is what

14 she says in     the next line      wh en she says , I'm probably

15 going to be having my       shows at the school, but          I don't

16 have transportation right now until           I get organized.

17           Again, we have the problem here that she doesn't

18 have a car to get to the school         , and Ruby Harden         drives

19 a truck    so she can't get down       there to pick her up to

20 take her to the school      .    So , that's where they're at

21 right now.

22 Q.        That would have been the car        that in a previous

23 call Mr. Martin was us ing to go to work?

24 A.        That's correct.

25 Q.        In this particular call      , the word    "tickets " is




                                                                 Page 193
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 194 of 205



 1 used as a code word for drugs?

 2 A.         Yes.

 3 Q.         Could you write      540 next to the word "t         ickets "

 4 on our chart.

 5 A.         (Witness indicating.       )

 6 Q.         The reference to      "my shows at school       ."       What

 7 does that refer to?

 8 A.         She's move d the drug s to the school           and she will

 9 be do in g all the drug dealing there.

10 Q.         If we could write the word "shows" or "show"

11 wherever it shows up on our list of code words.                      Number

12 18 , I think it is there,           Detective   Sakala .

13 A.         (Witness indicating.)

14            THE COURT:   Is this a good break point now                ?

15            MS. JOHNSTON:     Yes , it is , Your Honor .

16            THE COURT:    L adies and gentlemen,         I have matter

17 at 9 o'clock tomorrow        , so we will resume tomorrow at                  10

18 o'clock.     You're excused     .

19            Counsel , remai n.

20                   (Jury excused at 4       :29 p.m. )

21                   (W itness excused from the stand.             )

22            THE COURT:   Counsel, it looks like the very next

23 call is    Mr. McKnett 's next problem call.

24            MS. JOHNSTON:     That's correct      , Your Honor.

25            THE COURT:   Do    you want to tell me what --                 I




                                                                       Page 194
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 195 of 205



 1 as sume your problem from this          , if I noted correctly , is

 2 because it     has the reference to insurance in it.

 3           MR. MCKNETT :      Your Honor , the only problem             I

 4 have with this is on Page 543.          It's the third            p.m.

 5 down.     S he tells   Ms. Dobi e, because        I want to bring          you

 6 a birthday     gift , and then the next sentence is what                   I

 7 have a problem with      .    I need    you to    sign this thing ,

 8 Bill y Jo , because they have to have an authorization

 9 that the policy was received           , just the paper.

10           That's a reference     , I believe , to Trial 4 is the

11 facts of that case which would be t              o insurance      fraud .

12 They're talking about a policy           .    If the name Bill y Jo,

13 which is not     Ms. Dobie 's name.          She's telling       Ms. Dobi e

14 to sign a false name to an authorization form                ,

15 apparently related to an insurance policy.            It's got

16 nothing    to do with this trial.

17           It raises a question in the minds of the jury as

18 to what this is all about.             When I first raised this            ,

19 the government said      , without that        it wouldn't read

20 properly , but it reads perfectly properly.            It reads

21 people come by here at night           , so forth , inaudible , and

22 then it says :     But anyway , I'm on my way to class                ; I'm

23 stopping through there        , and then it's inaudible           .    Ms.

24 Martin says , because        I want to bring       you a birthday

25 gift.     Ms. Dobi e says , so I have to meet you at the




                                                                     Page 195
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 196 of 205



 1 school .     Then it reads perfectly clearly.

 2            I realize    it's in a direct reference to

 3 insurance fraud , but it's going to cause us a slight

 4 bit of confusion , at least a slight bit of confusion                   ,

 5 on the part of the jury        .     T hey're go ing to    wond er

 6 what's that all about.             It appears   to be something

 7 that's not straightforward            and aboveboard , and it's

 8 going t o raise a prejudicial negative in            ference    that

 9 there's something else going on here that's not proper.

10 It clearly has nothing to do with this case.              It can be

11 easily taken out , and I think it should be.

12            THE COURT:      Ms. Johnston.

13            MS. JOHNSTON:      I think it's rather innocuous in

14 what's written there.       There is nothing there that                says

15 there's anything about any kind of false insurance

16 policy.     It's merely that she needs to sign something                    .

17 Ms. Martin isn't just want           ing to bring her a birthday

18 gift .     She has another motive       .

19            THE COURT:      Mr. McKnett , I'm incline d to agree

20 with Ms. Johnston.       T his is in nocuous.

21            MR. MCKNETT :     Your Honor , the rule doesn't say

22 irrelevant     information     is in nocuous.     Y ou can leave it

23 in .

24            THE COURT:     I t's innocuous in the sense          that

25 it's not indicating some other area of criminal




                                                                   Page 196
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 197 of 205



 1 activity on its      face.     I t's part of the conversation             .

 2 It's con textual .     All they're     talk ing about is a policy

 3 being received     and just sign a paper.         It's not --         I

 4 don't see how this can produce any             prejudice to     any

 5 defendant in this case.

 6          MR. MCKNETT :       Part of the prejudice comes from

 7 the fact that     Ms. Martin     wants Ms. Dobie -- I believe

 8 it's Ms. Dobie .      I hope I have that -- want        s to sign

 9 somebody else's name to an authorization form.           It's

10 the government -- it's innocuous         .     I t doesn't advance

11 this case at all.     It's a simple thing to take it out

12 of there , and it avoids any confusion            and any negative

13 inference s in the minds of the jury.

14          THE COURT:     How , mechanically , could this be

15 taken out ?

16          MR. MCKNETT :       It could be whited out     , Your

17 Honor.   It could be -- this page could be reprinted.

18 It's in a computer.     All they     'd have to do is go to

19 that page , take out that sentence           , and print the page

20 and substitute it in the book for the jury.           It would

21 take ten minutes.

22          THE COURT:     P robably more than that.

23          MR. MCKNETT :       I'll volunteer to replace the

24 pages , Your Honor.

25          THE COURT:     Never volunteer.




                                                                   Page 197
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 198 of 205



 1          MR. MCKNETT :     I didn't say to do it      .   I said       I

 2 would volunteer      to replace the pages.

 3          THE COURT:      Ms. Johnston.

 4          MS. JOHNSTON:       Your Honor, as a practical -- it

 5 doesn't -- that sentence in there is not pertinent or

 6 relevant to the government's case in terms of

 7 establishing drug relationships.        It is part of the

 8 context of the conversation that goes to meeting at the

 9 school to show that they're going to meet.

10 Detective     Sakala is not going to just say anything

11 about that particular phrase.           I don't know that i       t

12 says she is to sign       Billy Jo 's name or if      Billy Jo is a

13 reference to who      the policy is for .      I certainly don't

14 think counsel or      I or anyone else should be touching

15 the juror s' book s to replace any kind of page in there                   .

16          Could my agents redact the telephone call            ?       I'm

17 sure that if     I asked them , they would figure out a way

18 to do that , although the        CD in evidence is probably a

19 CD that can't be rewritten        .   So , we may have to replace

20 it .

21          THE COURT:      I am going to overrule the

22 objection .

23          MR. WARD:     O kay .   W ell , I -- certainly , I have a

24 piece of the action as far as the objection.

25          THE COURT:     You are , as per my order , part of




                                                                Page 198
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 199 of 205



 1 the action on this.

 2            MR. WARD:    While    I certainly wish the         Court had

 3 rule d the other way , I certainly understand what the

 4 Court's    Order is.      I would ask that the witness be

 5 cautioned that when he's asked             , what do you make to

 6 that , that he not say this is part of an insur                ance

 7 fraud.

 8            THE COURT:     He's here   , and I think he knows how

 9 to hear    and knows that       I don't want to go into         the

10 fourth    part of this case on        the insurance     conspiracy .

11 So , we're not going to go there.

12            THE WITNESS:     Neither do       I, Your Honor.

13            MS. JOHNSTON:    Your Honor       , one of the things          I

14 am concerned about      , because we will finish these call               s

15 in rather short order tomorrow             , depending on     what time

16 we get started , since we did get a late start today                  .

17 It would be helpful to know what t             he anticipated     length

18 of cross-examination is          going to be     tomorrow .

19            Does the government need to have another witness

20 here tomorrow or should          we expect     the remainder of the

21 day is going to be set in --

22            THE COURT:     What is an estimate of the defense

23 in terms of cross-examination          ?

24            MR. MONTEMARANO :      Your Honor , at this point ,

25 although    I will be most of the night making the final




                                                                   Page 199
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 200 of 205



 1 decision    and figuring things out in light of             Your

 2 Honor's suggestion with regard to transcripts                and Ms.

 3 Johnston's very appropriate comments that those calls

 4 we intend to use need to be both identified               and

 5 transcripts need to be finalized           .

 6            At this point , I would anticipate merely

 7 crossing    Sergeant    Sakala on what he has testified to          ;

 8 and it would be my intention at this point to recall

 9 him in my case a nd as a defense adverse witness with

10 regard to other calls unplayed by the government.

11            That will enable me to finish isolating the

12 calls , because    Mr. McKnett       and I are coordinating which

13 calls we wish to use       and then that will give us time to

14 finalize transcripts before we put the good sergeant on

15 the stand.

16            THE COURT:    Is the short version of what you

17 just said that your       cross will be relatively brief?

18            MR. WARD:    That's a     relative     question -- a

19 relative term,     Your Honor .

20            THE COURT:    E verything is relative.          I mean , I

21 want to make sure that       Ms. Johnston is not sitting here

22 without a witness.

23            MR. MONTEMARANO :       F or me , an hour.

24            THE COURT:    Sounds like you intend to have more

25 fun with him on the defense case               and less fun tomorrow.




                                                                   Page 200
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 201 of 205



 1           MR. MONTEMARANO :     I'm guessing an hour or so

 2 tomorrow.

 3           THE COURT:     Ms. Johnston , plan accordingly.

 4           MS. JOHNSTON:      Your Honor, there's six other

 5 defense attorneys to       cross- examine him .

 6           MR. MARTIN:     I t's a sleeping graph.         I think

 7 each counsel after that will spend less time.                 I

 8 thought   I was going to need       --

 9           THE COURT:    If you plan it by order         , that will

10 be the case ; otherwise , you will be redun           dant.

11           MR. MARTIN:     A n hour, hour and 15 minutes           .       I'm

12 sure Mr. Montemarano       is going to touch upon different

13 guideposts    I will have touched .          M aybe 40, 45 minutes .

14 I, too , had anticipated calling             -- I keep calling        him

15 "special agent. "       I can't help it .        I had anticipate d

16 the good sergeant in my case in chief.

17           THE COURT:    He's very special        , but he's a

18 sergeant.

19           MR. MONTEMARANO :     Special agent .       He's kind of

20 like a special agent.

21           MR. MARTIN:     I guess between the two of us               ,

22 we 're talking two hours.

23           MR. MONTEMARANO :     Your Honor , I a ssume we're

24 going to be about another hour           .

25           THE COURT:     Y ou're going t o finish this book               ?




                                                                   Page 201
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 202 of 205



 1            MS. JOHNSTON:     I'm going to finish this book,

 2 yes.

 3            THE COURT:   Counsel , I have a 9 o'clock guilty

 4 plea tomorrow     which I will try to be efficient on.

 5            Did you anticipate any preliminary matters            ?    I

 6 don't want the jury s it ting here for half an hour               while

 7 we go through unanticipated matters           .

 8            MR. MITCHELL:     I do , Your Honor , perhaps.

 9            THE COURT:    What I want to tell you , then , is

10 everybody should be here at 9         :30 .

11            MR. MITCHELL:    L et me say , it may not really be

12 pertinent until the following day for what                 I'm hearing.

13 I understand , talking with         Ms. Johnston , they're going

14 to get to the search warrants of my client's house                ,

15 perhaps tomorrow or the next day         .    If so,   I have a 403

16 issue with some of the evidence that could be brought

17 in.

18            THE COURT:   Let me know what it is         .

19            MR. MITCHELL:     I'm going to get a -- my detailed

20 motion to the government        this evening .

21            THE COURT:   Do you have a written          one?

22            MR. MITCHELL:    Y es.

23            THE COURT:   All right.    Well    , the sooner , the

24 better .

25            MR. MITCHELL:    M ore things for you to read.




                                                                  Page 202
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 203 of 205



 1            MR. MONTEMARANO :       More things for        Mr. Krinsky

 2 to read.

 3            THE COURT:   Now, now , now .         He and I will review

 4 with great care the grand jury               redactions .

 5            All right.   Be here at 9         :30 , and you may listen

 6 to how eloquently       I do guilty pleas        .     Hopefully    I will

 7 be finished shortly after 9          :30 .     I f e ve rythin g goes off

 8 on time    and I can deal with any preliminary matter                  s,

 9 there's no question at 10 o'clock              , in walk s the jury.

10            MS. JOHNSTON:     Your Honor , just for scheduling

11 purposes .     Mr. Mitchell's aware of this             , but we have

12 two officers , Officer      Humble and Officer            Hubert , that

13 we need to get on by the end of the week because of

14 their vacation schedules       .     We anticipate calling them

15 this week , and probably       Moises        Uriarte    would be the

16 other witness.       I think that will cover the rest of the

17 week.

18            We also are still       awaiting discovery from           Mr.

19 Montemarano     concerning the records that he intends to

20 use in his case that were promised to us probably a

21 week or so ago.

22            MR. MONTEMARANO :       By Tuesday        anyway, yes.

23            MS. JOHNSTON:   If we could at least get those by

24 the end of the week      , we would appreciate it very much.

25            THE COURT:    Ms. Johnston , only you know the




                                                                       Page 203
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 204 of 205



 1 answer to this.     Are we on time on the government's

 2 timetable ?

 3          MS. JOHNSTON:       We will see if we get finished

 4 with Sergeant     Sakala    and these other witnesses that             I

 5 mentioned     by the end of the day        Friday , and we are on

 6 schedule , though     I didn't plan on the date that's

 7 required for your surgery        .     So , we are pretty close t          o

 8 be ing on schedule.

 9          THE COURT:       When   you anticipate -- when is your

10 target for when the government rests            ?

11          MS. JOHNSTON:       Our target for turning          over to

12 the defense     -- quite frankly , that's because we have a

13 for feiture    aspect .    When the jury reaches a verdict         ,

14 hope fully they will reach for feiture.             I would expect

15 we need to finish our case           -- we need the    Court to

16 address 404 (b) issues , and I would expect we would rest

17 sometime beginning the week ending July 11                 so we could

18 get into the defense case that week.

19          THE COURT:       All right.

20          MR. MONTEMARANO :       That 's the week after next?

21          MS. JOHNSTON:       T hat 's the week after next ,

22 depending on how fast we         get the searches in         and the

23 404 (b) evidence.

24          THE COURT:       Anything further     , Counsel?

25                   (Off the record       at 4: 42 p .m. )




                                                                  Page 204
     Case 8:04-cr-00235-DKC Document 1190 Filed 04/30/08 Page 205 of 205



 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 June 28, 2006.

11

12       I further certify that the foregoing            204 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this     2nd day of   April 2008.

19

20                              ___________________________
                                TRACY RAE DUNLAP, RPR , CRR
21                              OFFICIAL COURT REPORTER

22

23

24

25




                                                                Page 205
